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                                      No. 22-1877


                                       IN THE
                 United States Court of Appeals
                         FOR THE FEDERAL CIRCUIT



  EDWARDS LIFESCIENCES CORPORATION, EDWARDS LIFESCIENCES LLC,
                                                                 Plaintiffs- Appellants,
                                          v.
                  MERIL LIFE SCIENCES PVT. LTD., MERIL, INC.
                                                              Defendants – Appellees.


    APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF CALIFORNIA
                  CASE NO. 4:19-CV-06593-HSG



   CORRECTED OPENING BRIEF AND ADDENDUM OF
APPELANTS EDWARDS LIFESCIENCES CORPORATION AND
           EDWARDS LIFESCIENCES LLC

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November 7, 2022
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                     PATENT CLAIMS AT ISSUE

There are no patent claims at issue on this appeal.




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                         CERTIFICATE OF INTEREST

     Counsel for Plaintiffs-Appellants Edwards Lifesciences Corporation and
Edwards Lifesciences LLC certify the following:

      1.     The full name of every party represented by me is:               Edwards
Lifesciences Corporation, Edwards Lifesciences LLC

      2.     The name of the real party in interest (if the party named in the
caption is not the real party in interest) represented by me is: None.

      3.    All parent corporations and any publicly held companies that own 10
percent or more of the stock of the party represented by me are: None.

       4.    The name of all law firms and the partners or associates that appeared
for the party now represented by me in the trial court or are expected to appear in
this Court (and who have not or will not enter an appearance in this case) are:

     Stradling Yocca Carlson & Rauth, P.C.: Matthew Robert Stephens*
     Sheppard Mullin Richter & Hampton LLP: Michelle LaVoie Wisniewski,
and Anne-Marie D. Dao
     Knobbe Martens Olson & Bear LLP: Brian C. Horne, Ioanna Sophia Bouris,
and Adam Rolando Aquino*

      *No longer with the firm.

       5.     The title and number of any case known to counsel to be pending in
this or any other court or agency that will directly affect or be directly affected by
this court’s decision in the pending appeal: None.

      6.    Information required under Fed. R. App. P. 26.1(b) (organizational
victims in criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):
None.

Dated: November 7, 2022           By: /s/ Christy G. Lea
                                      Christy G. Lea

                                  Attorney for Plaintiffs-Appellants
                                  Edwards Lifesciences Corporation and
                                  Edwards Lifesciences LLC


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                       STATEMENT OF RELATED CASES

         Pursuant to Federal Circuit Rule 47.5(a), no other appeal in or from the same

civil action in the lower court was previously before this or any other appellate

court.

         Pursuant to Federal Circuit Rule 47.5(b), counsel is unaware of any other

pending cases that will directly affect, or will be directly affected by, the Court’s

decision in this appeal.




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                       JURISDICTIONAL STATEMENT

      The district court had jurisdiction in this patent infringement case under 28

U.S.C. §§ 1331 and 1338. This Court has jurisdiction over this appeal pursuant to

28 U.S.C. § 1295(a)(1).

      On May 18, 2022, the district court entered final judgment after previously

dismissing Edwards’ patent infringement claims on summary judgment. Edwards

timely filed its notice of appeal on June 1, 2022.




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                        STATEMENT OF THE ISSUES

      Whether the district court erred in granting summary judgment that Meril’s

alleged patent infringement for importing medical devices for use at a commercial

industry conference was exempt under the safe-harbor provision of 35 U.S.C.

§ 271(e)(1) where:

      (a)    the district court erroneously failed to credit contemporaneous

             evidence creating a triable issue of fact as to whether Meril imported

             the devices solely for uses reasonably related to U.S. FDA

             submissions,

      (b)    the district court erroneously failed to draw reasonable inferences in

             favor of the non-movant Edwards, relying instead on self-serving and

             uncorroborated declarations from Meril employees who lacked

             personal knowledge of the material facts declared, and

      (c)    while purporting to apply an objective standard to determine whether

             Meril imported the devices solely for uses reasonably related to U.S.

             FDA submissions, the district court erroneously relied on Meril’s

             alleged purpose for the importation?




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                           STATEMENT OF THE CASE

      Edwards filed its Complaint in the United States District Court for the

Northern District of California on October 14, 2019, alleging Meril infringed three

of Edwards’ patents: U.S. Patent Nos. 10,292,817, 9,393,110, and 9,119,716.

Appx27-28. The ’817 patent relates to methods of making implantable prosthetic

heart valves. Appx84-110. The ’110 patent relates to an assembly for implanting

the heart valves, including a delivery device and prosthetic heart valve. Appx111-

152. The ’716 patent relates to a delivery device for implanting a prosthetic heart

valve. Appx153-189. Edwards alleged that Meril infringed the ’817 patent under

35 U.S.C. § 271(g) and the ’110 and ’716 patents under 35 U.S.C. § 271(a) by

importing its Myval heart valve and delivery system (the “Myval Devices”) into

the United States.

      Meril moved to dismiss the patent infringement causes of action, arguing

that its importation was protected by the safe harbor of 35 U.S.C. § 271(e)(1). See

Appx29-30; Appx208-214. Section 271(e)(1) provides that “[i]t shall not be an act

of infringement to . . . import into the United States a patented invention . . . solely

for uses reasonably related to the development and submission of information

under a Federal law which regulates” drugs or medical devices. Meril alleged that

it imported the Myval Devices for display at a medical conference in order to

recruit clinical investigators to perform clinical studies. On February 18, 2020, the

district court denied Meril’s motion. Appx208-214. In denying Meril’s motion to

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dismiss, the Court held that “[n]ot all activities performed prior to FDA approval”

fall within the safe harbor exemption. Appx211 (citing Amgen Inc. v. Int’l Trade

Comm’n, 565 F.3d 846, 852 (Fed. Cir. 2009) (Amgen I) (question of fact as to

whether safe harbor applies where evidence suggests that some studies were

conducted at the request of the marketing department for brand recognition

purposes)). The district court also held that “commercial intent” may be probative

of whether an otherwise infringing act is “solely for uses reasonably related” to a

regulatory submission. Appx213 (citing Amgen Inc. v. Hospira, Inc., 944 F.3d

1327, 1340 (Fed. Cir. 2019) (Amgen II) (upholding jury’s finding that

manufacturing of batches for commercial inventory was not exempt under Section

271(e)(1)).

      On April 6, 2020, Edwards filed a First Amended Complaint alleging

infringement of two additional patents: U.S. Patent Nos. 6,878,168 and

10,053,256.    Appx215-252.      Both patents relate to methods of treating

bioprosthetic tissues used in heart valves to mitigate post-implantation

calcification. Appx190-198; Appx199-207. Edwards alleged that Meril infringed

both patents under 35 U.S.C. § 271(g) by importing its Myval heart valve into the

United States. Appx246-247.

      Shortly thereafter, Meril moved for summary judgment based on its § 271(e)

safe harbor defense. Appx272-293. Meril again claimed, through declarations,

that it imported the accused devices to use at a U.S. medical conference for the

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purpose of recruiting investigators (physicians) to perform clinical studies,

allegedly for submitting data to the United States Food and Drug Administration

(“FDA”). Appx294-296; Appx369-374. Edwards submitted contemporaneous

evidence that contradicted Meril’s alleged purpose and use, including: (a) evidence

that Meril imported the Myval Devices solely for use as commercial sales tools at a

trade show, unrelated to any clinical or regulatory efforts; and (b) evidence that the

clinical study planned by Meril at the time of importation was a post-approval

European study that was unrelated to FDA submissions.               See Appx568-592.

Nonetheless, on October 16, 2020, the district court granted Meril’s motion for

summary judgment of no infringement based on the safe harbor exemption.

Appx1-20. Following a settlement on all other causes of action in the case, the

district court entered final judgment on the patent infringement claims on May 18,

2022. Appx21-22.

      Edwards now appeals the district court’s grant of summary judgment on

Meril’s § 271(e)(1) safe harbor defense.




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                           STATEMENT OF FACTS

      Edwards is a leading innovator and supplier of medical devices for the

treatment of heart disease and is world renowned for its artificial heart valves.

Among its best-known products are its line of SAPIEN® transcatheter prosthetic

heart valves and related delivery systems. Edwards revolutionized the industry

when it developed and commercialized a prosthetic heart valve that could be

delivered via catheter while the heart is still beating. Edwards’ innovations have

saved hundreds of thousands of patients from having to undergo traumatic open-

heart surgery, which requires stopping the patient’s heart and placing the patient on

a heart-lung machine to keep them alive during the procedure.

      Meril attempted to capitalize on Edwards’ innovation and success by

copying the SAPIEN product design. Appx222-225. Meril’s transcatheter heart

valve, which it calls “Myval,” is nearly identical to Edwards’ SAPIEN valve:

      Edwards SAPIEN 3                                     Meril Myval




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Id. Meril makes its Myval transcatheter heart valve and the accompanying

Navigator delivery system (collectively “Myval Devices”) in India. Appx370.

Edwards brought this lawsuit to enforce its patent rights and protect its innovation

in the SAPIEN valves.

      On September 24, 2019, Meril imported two Myval Devices into the United

States and to San Francisco where the Transcatheter Cardiovascular Therapeutics

Conference (“TCT Conference”) was scheduled to begin on September 25, 2019.

Appx372. Two days after the conference had begun, on September 27, 2019, a

Meril employee named Nilay Lad carried the Myval Devices to the convention hall

at the TCT Conference. Appx370, Appx373-374. Meril claims that it never

removed the Myval Devices from the bag in which they were transported and that

it never showed the Myval Devices to any conference attendees. Appx374. On

September 28, 2019, Mr. Lad handed the bag containing the Myval Devices to

another Meril employee named Sanjeev Bhatt who transported them to Europe.

Appx374; Appx295-296.

      In moving for summary judgment under the safe harbor statute, Meril relied

on declarations from those two employees, Nilay Lad and Sanjeev Bhatt.

Appx369-374; Appx294-296.         Lad declared that Meril imported the Myval

Devices for display at the 2019 TCT Conference, where Meril allegedly intended

“to recruit clinical researchers for the clinical studies that would be necessary for

FDA approval” of the Myval Devices.            Appx371; Appx296.       However, the

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contemporaneous evidence discussed below contradicts that claim, and supports

the conclusion that Meril imported the Myval Devices solely as a commercial sales

tool. Moreover, the evidence supports the conclusion that the clinical study that

Meril references as part of its defense was a post-approval European study that was

unrelated to FDA approval.

I.    THE  MYVAL     DEVICES   HAD    ALREADY RECEIVED
      REGULATORY APPROVAL IN EUROPE BEFORE THEY WERE
      IMPORTED INTO THE UNITED STATES
      Meril began clinical trials for the Myval Devices in India in June 2017 and

received regulatory approval for the Indian market on October 31, 2018. Appx370.

As is typical with clinical trials for regulatory approval, Meril conducted a single-

arm clinical trial called Myval-1 in Indian hospitals. Appx657; Appx335. A

single-arm clinical trial is one involving a single device, without any comparison to

other devices. Appx452. Based on that same single-arm clinical trial, the Myval

Devices received CE certification in April of 2019, which allowed Meril to market

and sell the Myval Devices for use in Europe. Appx370. Thus, by the time Meril

imported the Myval Devices for the TCT Conference in September 2019, they had

already been approved for use by physicians in Europe. Id.

II.   MERIL IMPORTED THE MYVAL DEVICES TO THE TCT
      CONFERENCE AS COMMERCIAL SALES AND MARKETING
      TOOLS

      The TCT Conference is the leading conference in the field of interventional

cardiology. With over 11,500 attendees, including thousands of physicians from


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Europe and other countries outside the United States (Appx735-737), TCT

provides companies with “unparalleled marketing opportunities” to “increase

visibility of products and services”:




Appx730. The 2019 TCT Conference was held in San Francisco from September

25 to September 29. Appx729.

      Meril took advantage of the TCT marketing opportunities.               It sent

“invitations” drafted by Meril’s marketing personnel to over 3,000 TCT registrants

prior to the Conference, encouraging them to visit Meril’s tradeshow booth at TCT

and “Experience Meril’s technologies & hands-on simulation of Meril’s TAVR

system — Myval THV.” Appx884-886; Appx888; Appx616. As shown below,

the invitation did not mention any purported need for, or recruitment of, clinical

investigators:




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Appx885.

      Meril also engaged in other marketing efforts for Myval leading up to TCT.

On September 14, 2019, Meril sent an email blast to thousands of physicians and

industry professionals registered to receive such communications regarding TCT

2019, including hundreds based in Europe. Appx670; Appx889-893; Appx570;

Appx745-748. Like Meril’s earlier marketing invitation, it too invited recipients to

“have hands-on and VR sessions on Meril’s TAVR system – MyvalTM THV.”

Appx747; Appx890-892. This email blast touted the Myval Devices as “ensuring




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predictable clinical safety and efficacy outcomes,” and did not mention anything

about clinical trials or recruiting clinical investigators:




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Appx746-748. In contrast, less than two months later, Meril sent an e-blast to

attendees of the London Valves conference in Europe, in which it expressly

advertised “9 Landmark Trial investigator meetings.” Appx964-965.

      Meril’s marketing materials also advertised to thousands of TCT attendees

that Myval was “CE Approved,” meaning it could be sold commercially in Europe.

Appx570; Appx745-47; Appx889-891. Meril also updated its Myval brochure

specifically for the TCT conference, again touting its CE Approval and even

providing “Myval – THV Ordering Information.” Appx825-826, Appx852.

      In furtherance of its plan to sell Myval Devices to European physicians at

the TCT Conference, Meril executives, in consultation with its lawyers, drafted

and announced “Instructions for TCT 2019 for Myval THV System” to its twenty

employees who attended TCT. Appx632; Appx907-909.             With respect to the

Myval Devices imported to TCT, Meril instructed its employees at TCT as

follows:

      • “Do not make any sales or offers for sale at the conference, or while in

           the United States for the US market. You can make offer for other

           countries.” (Emphasis added.)

      • “Do not carry too many demo units.”



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Id. Meril employees were thus encouraged to make offers to sell Myval Devices

for commercial use in other countries where Myval Devices were approved. The

Instructions also refer to the imported Myval Devices as “demo units,” which

indicates that they were to be used as commercial sales tools by Meril’s

salesforce—not as recruiting tools by its clinical trial team. See infra Statement of

Facts § III. The relatively few Myval demo units thus supported Meril’s sales

efforts to hundreds, if not thousands, of physicians from “other countries.”

Appx909; Appx735-737. The Instructions for Myval also stated: “If possible,

refer discussions of pricing, delivery, and other commercial topics to

representatives outside the US for the US market.” Appx909. Most importantly,

Meril’s Instructions, like its invitation, email blast and brochure, did not mention a

single word about recruiting clinical investigators at TCT.            Appx907-909;

Appx882; Appx884-886; Appx890-893; Appx746-748; Appx825-853.

      Moreover, Mr. Lad testified that it was Meril’s marketing team that decided

they would do hands-on sessions with the Myval Devices using a simulator.

Appx640. Mr. Lad, an employee with no regulatory or other responsibilities

relating to Myval, brought the Myval Devices to the conference on September 27,

where the purported plan was for marketing personnel to demonstrate them with a

simulator. Appx612-613, Appx640; Appx373-374. The demonstrations were not

to be limited to any particular persons, and “anybody who wants to come can do

the hands-on session.” Appx640. However, according to Meril’s witnesses, Meril

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never displayed the Myval Devices at TCT because the simulator malfunctioned.

Appx374. Meril then allegedly opted not to show the Myval Devices without the

simulator, even though it had shown the Myval Devices, without a simulator, at

previous conferences. Appx570; Appx874-879; Appx614-615; Appx618-619.

III.   THE IMPORTATION OF MYVAL DEVICES WAS UNRELATED
       TO ANY RECRUITING OF CLINICAL INVESTIGATORS

       On the evening of September 26, 2019, Meril held a dinner at a restaurant

for prospective clinical investigators for its Landmark Trial. Appx618; Appx647.

It was the only meeting Meril held for clinical investigators at TCT 2019.

Appx647. Oddly, despite claiming that it imported the Myval Devices to recruit

clinical investigators, Meril never even planned to bring them to this meeting, and

did not do so. Appx618. In fact, Meril’s communications regarding this meeting

never mention any sample Myval Devices or hands-on sessions with Myval.

Appx571; Appx961; Appx774-783.

       In sum, while contemporaneous documentary evidence shows that Meril’s

importation of the Myval Devices was to support commercial sales efforts, no

contemporaneous evidence ties the importation to the recruitment of clinical

investigators, let alone clinical investigators for a study relating to FDA

submissions.




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IV.   MERIL PLANNED TO COMPARE THE MYVAL DEVICES WITH
      OTHER LEADING DEVICES IN EUROPE TO BOOST
      COMMERICAL SALES
      Shortly after receiving CE-mark regulatory approval in Europe in April

2019, Meril announced plans to conduct its “Landmark” Trial, a post-approval

comparative clinical trial in Europe. Appx298, 334 (Myval – Global Clinical

Program as of March 30, 2019; Appx588-589; Appx912 (Myval – Global Clinical

Program as of May 2019). Meril sought to compare Myval with the market

leading devices in Europe: Edwards’ SAPIEN valves and Medtronic’s CoreValve

Evolut valves. Appx657. A Meril brochure seized in May 2019 at the EuroPCR

industry conference in France included a slide on Meril’s “Myval – Global Clinical

Program,” including the planned Landmark Trial. Appx588-589; Appx912.1 As

shown, the Landmark Trial was to include clinical sites in the EU, Brazil,

Australia/New Zealand, and South Korea, but not the United States.




1
     The seizure was the result of a proceeding in France alleging that the Myval
Devices infringed Edwards’ European patents. Appx613.

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Appx912.    At the time it planned the Landmark Trial as an outside-the-U.S.

(“OUS”) study, Meril knew FDA approval would require U.S. trial sites.

Appx677; Appx716. Thus, the Landmark Trial was never an “FDA clinical trial”

as claimed by Meril. Appx372-373 (Lad Decl. ¶¶ 12, 15).

      In a brochure published in August 2020, long after Meril imported the

Myval Devices to the TCT Conference in the United States, Meril continued to

present the Landmark Trial as a comparative, three-arm trial to be conducted

entirely outside the United States, starting in late 2020. Appx591; Appx915.

Thus, Meril planned its Landmark Trial after the Myval Devices were approved in

Europe in April 2019, and never planned to include U.S. clinical sites in that post-

approval   trial.    Moreover,    no   contemporaneous      evidence    shows   any

communications with U.S. clinical investigators or clinical sites resulting from


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Meril’s purported “recruiting” efforts at TCT. Appx709; Appx961; Appx774-783;

Appx1218.

V.    MERIL’S RECRUITMENT OF CLINICAL INVESTIGATORS IN
      EUROPE DID NOT INCLUDE DEMONSTRATING THE MYVAL
      DEVICES

      Meril began marketing its Myval Devices for sale in Europe after CE

approval in April 2019. Appx370. In addition, Meril’s Senior Vice President,

Sanjeev Bhatt, traveled around Europe recruiting clinical investigators for the

Landmark Trial. Appx569; Appx719, 721-727. Bhatt’s primary recruitment tools

were PowerPoint presentations. He testified that “[t]he slide deck is the most

meaningful way to have a conversation with a clinician. It’s the best thing that you

can do.” Appx669. Notably, Bhatt admitted that he tries to avoid using sample

devices when recruiting clinical investigators, and he never used a simulator to

demonstrate a sample device to recruit an investigator. Id. Bhatt’s admission

further supports that Meril imported the Myval Devices not for use in recruiting

clinical investigators but for use as sales tools for its TCT marketing team.

Appx884-886; Appx616; Appx890-892; Appx372; Appx397-399; Appx907-909.

VI.   MERIL’S PRESENTATIONS ON THE LANDMARK TRIAL
      CONFIRM IT WAS TO TAKE PLACE OUTSIDE THE UNITED
      STATES
      Meril’s claim that it planned to recruit U.S. clinical investigators at TCT

2019 for the Landmark Trial is contradicted by a wealth of contemporaneous

evidence. Meril’s own TCT presentation reported that the Landmark Trial was to


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be conducted entirely outside the United States. Appx675; Appx923, 946, 953.

Later presentations, such as one dated November 17, 2019, also reported the

Landmark trial as an OUS study. Appx969, 996-997. Indeed, the brochure on

Meril’s website as of August 3, 2020 (which was continually updated) advertised

the Landmark Trial as an OUS study with 50+ sites in Europe, Australia, and New

Zealand. Appx591; Appx915-916. It acknowledged that the first patient would

not be enrolled in the trial until late 2020, at the earliest. Id. The evidence thus

supports the conclusion that the Landmark Trial was not reasonably related to FDA

regulatory approval, which Meril knew would require U.S. trial sites. Appx677;

Appx716.

VII. THE IMPORTATION OF MYVAL DEVICES WAS UNRELATED
     TO MERIL’S VOLUNTARY “PRESUBMISSION” TO THE FDA
      On August 23, 2019, a few months after the seizure at a European

conference, Meril consulted attorneys about importing Myval Devices to the

September 2019 TCT Conference in the United States. Appx610-612; Appx869-

873. From late August to early September, Meril consulted three different sets of

attorneys regarding the importation of Myval Devices for use at TCT 2019. Id.

      After starting those attorney consultations, Meril began communicating with

the FDA and with a regulatory consulting firm called CardioMed. On September

3, 2019, Meril inquired about the clinical data needed for an FDA presubmission.

Appx388. On September 5, 2019, Meril informed CardioMed that it was planning



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an OUS study (the Landmark Trial) with no plans for any investigation sites in the

United States. Appx1021-1022. Meril also sent a general email inquiry to the

FDA mentioning its planned OUS study and asking about the requirements for a

“Pre-submission.” Appx1015-1019. On September 9, 2019, the FDA responded

to Meril’s general inquiry that pre-submissions are entirely voluntary and merely

used to get FDA feedback on planned studies. Appx1015.

      On September 23, 2019, long after Meril advertised that it would

demonstrate Myval Devices at TCT, CardioMed advised Meril that the FDA

requires clinical trial sites in the United States, and would not approve a heart

valve based on an OUS study. Appx1025-1026; Appx1029-1030. CardioMed

recommended that Meril propose two studies: its OUS (Landmark) study and a

separate single arm study in the United States, but cautioned that Meril could only

perform a domestic study after receiving an Investigational Device Exemption

(IDE).   Appx1026; Appx1032.        No evidence suggests that Meril has ever

attempted to obtain an IDE from the FDA regarding the Myval Devices. Rather,

Meril admitted that it was nowhere near applying for the IDE, and did not have a

single U.S. investigation site lined up. Appx676-677, 691-692. At the time of its

importation of Myval Devices for TCT in September 2019, Meril had only

engaged in exploratory communications with the FDA and its consultant regarding

a presubmission.




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      On November 9, 2019, weeks after TCT, Meril informed CardioMed that it

was changing its clinical study strategy. Appx1036-1037. Rather than pursuing

the recommended two-study strategy, Meril would propose only its Landmark

study but would propose to include both OUS and domestic sites, with one third of

the study subjects in the United States. Id. CardioMed immediately advised that

the FDA would not accept a study design with less than 50-60% U.S. enrollment

and it did not want to risk its reputation signing a presubmission seeking guidance

on such a study.         Appx1036; Appx1047; see also Appx677; Appx716

(acknowledging that Meril knew that the FDA would require a significant cohort

of U.S. patients for any FDA clinical trial).

      Meril ultimately filed its presubmission on December 4, 2019, months after

the importation of Myval Devices for TCT. Appx374; Appx445-495. Against

CardioMed’s advice, Meril sought guidance on a proposed study with only one

third of the subjects in the United States. Appx459. As expected, the FDA

responded to Meril’s voluntary presubmission that the proposed clinical study

would not generate adequate evidence for the FDA because it included too few

domestic patients.    Appx1049-1050.        There is no evidence that Meril ever

submitted any filing required by the FDA for the approval of a medical device,

such as an application for an IDE or premarket approval (PMA)—and certainly no




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evidence of any such application submitted prior to TCT 2019. To the present day,

the Landmark Trial does not include U.S. clinical investigators or study locations.2

VIII. THE DISTRICT COURT’S SUMMARY JUDGMENT ORDER

      On October 16, 2020, the district court granted Meril’s motion for summary

judgment, holding that its importation of Myval Devices was exempt from patent

infringement under the safe harbor of 35 U.S.C. § 271(e)(1). Appx1-20. The

district court held that “the safe harbor inquiry focuses on acts or uses, and not on

purposes, intent or motive.” Appx7. It also held that the statute “extends even to

activities the ‘actual purpose’ of which may be ‘promotional’ rather than

regulatory, at least where those activities are ‘consistent with the collection of data

necessary for filing an application with the FDA.’” Appx7. The district court did

not explain how its holding squares with § 271(e)(1), which requires that the

infringing act be “solely for uses reasonably related to the development and

submission of information under a Federal law.” (Emphasis added.)

      The district court also held that the statute, despite stating “solely for uses,”

does not require an “actual use.” Appx8. The court held that as long as the

infringing importation is “reasonably related to obtaining FDA approval,” then the

2
  https://clinicaltrials.gov/ct2/show/NCT04275726?term=myval&draw=2&rank=2.
See, e g., Bryant v. Carleson, 444 F.2d 353, 357-58 (9th Cir. 1971) (taking judicial
notice of developments since the appeal, including relevant administrative action
of the Administrator of the United States Department of Health, Education and
Welfare); Kirby v. Pa. R.R. Co., 188 F.2d 793, 795 (3d Cir. 1951) (taking judicial
notice of a paper describing the operation of the Railroad Adjustment Board,
acknowledging that paper was “not in the record”).

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safe harbor applies. Appx8. The district court never explained how an importation

could be deemed “reasonably related to obtaining FDA approval” without

considering either the subjective intent of the importer or the importer’s actual use

of the device after importation.

      Citing this Court, the district court held that “demonstrations at medical

conferences are covered by the Section 271(e)(1) safe harbor” as a matter of law.

Appx8. And because “transporting a device to a medical conference is a necessary

and predicate act for displaying the device,” the district court reasoned that

importing the device for display at a medical conference is also exempt under the

safe harbor, regardless of intended purpose or actual use. Appx9.

      Crediting the testimony of Meril’s witnesses, the district court found that

“Meril had taken significant steps towards obtaining FDA approval.” Appx9. It

failed to credit Edwards’ contrary evidence showing that, by the time of the

importation, Meril had only engaged in exploratory communications regarding an

entirely voluntary presubmission that was for guidance only, was not required for

FDA approval, and did not even begin the FDA approval process. Appx1015-

1019. Instead, the district court found that Meril’s OUS Landmark trial was

reasonably related to FDA approval, because FDA approval can be supported by

clinical trials that include patients both within and outside the United States.

Appx9, n3.




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      Throughout its Order, the district court repeatedly credited Meril’s

declarations     and      deposition   testimony,    even   when     contradicted   by

contemporaneous documents and when reasonable inferences could be drawn in

favor of Edwards. The district court repeatedly stated that Edwards did not dispute

Meril’s facts, when the record shows otherwise. Edwards submitted 45 exhibits

that disputed Meril’s version of the facts. See Appx568-592. Edwards’ brief

contained entire sections disputing Meril’s version of the facts, including:

      A.       The Contemporaneous Evidence Shows that Meril’s Importations

               Were Not for the Purpose of Recruiting Clinical Investigators for

               FDA Approval,

      C.       The Landmark Trial Was Not an “FDA Clinical Trial,” and

      D.       After-the-Fact FDA Activities Cannot Manufacture a Safe Harbor

               Defense.

Appx556-560. The district court never addressed the documents submitted by

Edwards and cited in these sections, nor did it draw all reasonable inferences from

them in Edwards’ favor as the non-movant.

      Indeed, the district court placed heavy emphasis on its finding that Meril

“did not sell or offer to sell” its Myval Devices at TCT 2019—a fact it called

“undisputed.” Appx4-5, 10, 15. But as explained above, that very fact was refuted

by Meril’s own documents submitted by Edwards in opposition to Meril’s motion.

See, e.g., Appx907-909 (“You can make offer for other countries.”). And the

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separate infringing act of importation does not require a sale or offer to sell in any

event.

         The district court also held that Meril’s purpose for importing the Myval

Devices is irrelevant, but found that, if purpose were relevant, Meril’s purpose was

to support clinical trials to seek premarket approval from the FDA. Appx14.

Again, the district court failed to address any of the numerous documents Edwards

submitted showing that Meril’s purpose for bringing the Myval Devices to TCT

was solely to support commercial sales offers to European physicians, not to

recruit clinical investigators for an FDA trial. See Appx14-15.




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                      SUMMARY OF THE ARGUMENT

      The district court erred in three respects when granting summary judgment

in favor of Meril and holding that its importation of Myval Devices to TCT was

within the safe harbor defense. First, in determining that the importation was

solely for uses reasonably related to an FDA submission, the district court failed to

view the evidence in the light most favorable to Edwards by ignoring substantial

contemporaneous evidence from which a reasonable jury could conclude

otherwise. The contemporaneous evidence supported a reasonable conclusion that

Meril imported the Myval Devices solely for use as a commercial sales tool, and

not for use in recruiting clinical investigators. This contemporaneous evidence

includes:

      •      Marketing materials advertising the Myval Devices as “CE

             Approved” and inviting TCT attendees to “hands-on” demonstrations

             of the Myval Devices – without any mention of clinical trials or

             clinical investigators. Appx 372; Appx397-399; Appx570; Appx746-

             748; Appx881-882; Appx884-886; Appx890-893; Appx825-853.

      •      Instructions to Meril sales personnel attending TCT that they could

             use Myval “demo units” while offering to sell the Myval Devices for

             use outside the United States. Appx632; Appx907-909. Again, these

             Instructions, which are the most probative evidence of Meril’s



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            planned use for the imported Myval Devices, never mention clinical

            trials or clinical investigators.

      •     Meril’s admissions that it never planned to use the imported Myval

            Devices at its only investigator meeting at TCT, and that it rarely if

            ever used sample devices to recruit clinical investigators. Appx618;

            Appx669.

      Even if the importation of Myval Devices were somehow related to the

Landmark Trial, the district court compounded its error by also accepting Meril’s

argument that its Landmark Trial was reasonably related to FDA approval, despite

contrary evidence that:

      •     The Landmark Trial was a post-EU-approval study to be conducted in

            Europe to compare the Myval Devices to the leading devices in the

            European market. See Appx9 n.3.3

      •     When Meril planned the Landmark Trial as an OUS trial, Meril knew

            FDA approval would require a trial with U.S. sites.                Appx677;

            Appx716.




3
       As correctly noted by the district court, the Landmark Trial was primarily a
European trial, but with a few sites in other foreign countries. Post-approval and
foreign studies are not within the safe harbor absent “a clear indication that
[foreign clinical] work was submitted, or to be submitted, to the FDA.” NeoRx
Corp. v. Immunomedics, Inc., 877 F. Supp. 202, 208-209 (D.N.J. 1994) (foreign
clinical work); Amgen I, 565 F. 3d at 852-53 (post-approval comparative studies).

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      •     Meril first mentioned an FDA presubmission only after deciding to

            import Myval Devices to TCT and then consulting with its attorneys

            about the importation.   Appx884-886; Appx616; Appx1015-1016;

            Appx609-610; Appx869-873.

      •     Meril’s presubmission to the FDA was entirely voluntary and for

            guidance only, was not required for FDA approval, and did not even

            begin the FDA approval process. Appx1015-1019. Even assuming

            Meril’s FDA presubmission was bona fide, it was still years from

            requiring clinical investigators in the United States. See Appx676-

            677, 691-692.

This evidence thus supports the conclusions that Meril imported the devices for

reasons unrelated to the Landmark Trial, and that the Landmark Trial was not

reasonably related to seeking FDA approval.

      The district court also erred by improperly relying on self-serving

declarations of Meril employees who lacked personal knowledge of the facts

declared, and which are contradicted by the contemporaneous evidence. In ruling

that Meril’s importation of the Myval Devices “was related to the submission of

information to the FDA” the district court relied entirely on the Declaration of

Nilay Lad. Appx10 (citing only Appx372-374 (Lad Decl. ¶¶ 13-15, 17)). But Mr.

Lad’s job responsibilities had nothing to do with FDA or other regulatory

submissions, recruiting clinical investigators, selling Myval Devices, or

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transporting devices to trade shows. And Meril made the decision to import Myval

Devices for “hands-on demonstrations” at TCT long before Lad claimed the

importation decision was made.           Compare Appx881-882, Appx884-886

(invitations for “hands-on demonstrations), and Appx890-893, with Appx602-603.

Nevertheless, the district court credited Mr. Lad’s testimony that Meril imported

the Myval Devices to recruit clinical investigators for a so-called “FDA clinical

trial,” despite the contrary evidence that the importation had nothing to do with

clinical trials, and that the only clinical trial planned by Meril had nothing to do

with the FDA. Appx10 n.4.

      Finally, although the district court purported to apply an objective standard

to determine whether Meril’s importation was solely for uses reasonably related to

FDA submissions, it erroneously relied on Meril’s representations concerning its

alleged purpose for the importation. The district court held that Meril’s intent for

the importation was irrelevant, and thus purported to rely only on Meril’s actual

use of the Myval Devices. Appx 15. But lacking evidence of any actual use after

importation, the district court purported to consider only the importation itself.

The district court reasoned that “transporting a device to a medical conference is a

necessary and predicate act for displaying the device” to recruit clinical

investigators. Appx9. But the district court failed to recognize that importation is

not inherently within (or outside) the safe harbor, and because Meril never actually

used the Myval Devices at TCT, the only evidence connecting the importation to

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recruiting investigators was Lad’s declaration as to Meril’s intent.           Thus, the

district court necessarily relied on the very intent evidence it deemed irrelevant.

      The district court’s several errors individually and collectively warrant

reversal of its summary judgment Order and remand to allow a jury to resolve the

genuine issues raised by the evidence.




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                                    ARGUMENT

I.    STANDARD OF REVIEW AND MERIL’S BURDEN OF PROOF

      The Federal Circuit reviews a grant of summary judgment de novo. Ethicon

Endo-Surgery, Inc. v. US Surgical Corp., 149 F. 3d 1309. 1315 (Fed. Cir. 1998).

Summary judgment is appropriate only when there is no genuine issue as to any

material fact and the moving party is entitled to judgment as a matter of law. Id.,

citing Fed. R. Civ. P. 56(c). “In determining whether there is a genuine issue of

material fact, the evidence must be viewed in the light most favorable to the party

opposing the motion, with doubts resolved in favor of the opponent.” Chiuminatta

Concrete Concepts, Inc. v. Cardinal Indus., Inc., 145 F.3d 1303, 1307 (Fed. Cir.

1998). Thus, at the summary judgment stage, the non-movant’s version of any

disputed issue of fact is presumed correct. Eastman Kodak Co. v. Image Tech.

Servs., Inc., 504 U.S. 451, 456 (1992); see also Union Pac. Corp. v. United States,

5 F.3d 523, 525 (Fed. Cir. 1993) (in an appeal from a grant of summary judgment,

all facts are construed in favor of non-movant). Thus, the district court is not

permitted to weigh the evidence or make credibility determinations. Tolan v.

Cotton, 572 U.S. 650, 656 (2014).

II.   THE SECTION 271(e)(1) SAFE HARBOR DEFENSE

      Section 271(e)(1) creates a limited safe harbor defense to a patent

infringement claim, providing that “[i]t shall not be an act of infringement to . . .

import into the United States a patented invention . . . solely for uses reasonably

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related to the development and submission of information under a Federal law

which regulates the manufacture, use, or sale of drugs . . .” 35 U.S.C. § 271(e)(1)

(emphasis added). The safe harbor defense applies to medical devices as well as

drugs. Eli Lily & Co. v. Medtronic, Inc., 496 U.S. 661, 669-74, 679 (1990). The

safe harbor is an affirmative defense on which the accused infringer carries the

burden of proof. Ventrassist Pty Ltd. v. Heartware, Inc. 377 F. Supp. 2d 1278,

1286 (S.D. Fla. 2005); see Intermedics, Inc. v. Ventritex, Inc., 775 F. Supp. 1269,

1272 (N.D. Cal. 1991).

      The existence of some FDA-related activity at or near the time of the

infringement is insufficient to sweep every act of infringement into the safe harbor.

Amgen I, 565 F. 3d at 853. Rather, Meril has to prove that “each accused activity,

was for uses reasonably related to submitting information to the FDA.” Amgen II,

944 F.3d at 1339. The Supreme Court in Merck confirmed that “[e]ach of the

accused activities must be evaluated separately to determine whether the

exemption applies.” Merck KGaA v. Integra Lifesciences I, Ltd., 545 U.S. 193,

200 (2005).

      Consequently, in Amgen I, this Court reversed the ITC’s grant of summary

judgment under the safe harbor, which was based on a blanket assumption that all

activities conducted pending regulatory approval were exempt. 565 F.3d at 852.

This Court noted:




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      To the extent that the Commission held all importation and all uses
      exempt while FDA approval was pending, the safe harbor statute does
      not so provide. The factual questions of the purposes of the post-BLA
      and other challenged activities were improperly summarily decided
      adversely to Amgen. On remand the Commission shall consider the
      exempt status of each study for which question has reasonably been
      raised.

Id. at 853.

      The safe harbor defense is highly fact-dependent. See Integra Lifesciences I,

Ltd. v. Merck KGaA, 496 F.3d 1334, 1347 (Fed. Cir. 2007) (“The variety of

experimental activity that may apply to any specific biologic or physiologic

investigation reinforces the fact-dependency of the inquiry.”); Amgen II, 944 F.3d

at 1339-41 (upholding jury verdict that some acts of manufacturing were within the

safe harbor and others infringing). Of course, such fact-intensive inquiries are not

well suited to determination on summary judgment. For example, in Isis Pharm.,

Inc. v. Santaris Pharma A/S Corp., No. 11-cv-2214, 2014 WL 794811 (S.D. Cal.

Feb. 27, 2014), the court concluded that there was a triable issue of fact as to

whether it was “objectively reasonable” for an alleged infringer to “believe that

there was a decent prospect that the accused [infringing] activities would

contribute, relatively directly, to the generation of the kinds of information that are

likely to be relevant in the processes by which the FDA would decide whether to

approve the product in question.” Id. at *13, quoting Merck, 545 U.S. at 200-01.

The court found that the defendant was not entitled to a judgment of non-

infringement as a matter of law because the determination of what was

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“reasonable” involved questions of fact. Id. And in Chang v. Biosuccess Biotech

Co., 76 F. Supp. 3d 1022 (C.D. Cal. 2014), the patent holder presented evidence

that the accused infringer infringed by importing the accused pharmaceutical

compound for reasons unrelated to seeking FDA approval, including adding

indications for use and to generate information to support foreign patent

applications. Id. at 1036-37. Like here, the patent owner submitted evidence of

the infringer’s public presentations regarding the domestic uses of the imported

pharmaceutical product.     Id. at 1037.   The court found that, in view of this

evidence, “the present record shows that there is a triable issue of fact” as to

whether the importations were reasonably related to generating data for FDA

submissions. Id. 4

      Here too, the record shows that there are triable issues of fact which, coupled

with reasonable inferences in favor of the non-movant Edwards, preclude summary

judgment.




4
       See also Scripps Clinic & Research Found. v. Genentech, Inc., 666 F. Supp.
1379, 1396-97 (N.D. Cal. 1987) (denying summary judgment based on evidence
that sales and uses were not “solely for” meeting FDA requirements), aff'd in part,
rev'd in part, 927 F.2d 1565 (Fed. Cir. 1991), overruled on other grounds, Abbott
Labs. v. Sandoz, Inc., 566 F.3d 1282 (Fed. Cir. 2009).

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III.   THE DISTRICT COURT ERRED IN GRANTING SUMMARY
       JUDGMENT IN FAVOR OF MERIL UNDER SECTION 271(e)(1)

       A.    THE DISTRICT COURT ERRONEOUSLY DISREGARDED
             CONTEMPORANEOUS EVIDENCE AND FAILED TO VIEW
             THE EVIDENCE IN THE LIGHT MOST FAVORABLE TO
             EDWARDS

       The district court erroneously held that Meril’s importation of Myval

Devices to the TCT Conference was protected under the safe harbor statute

“because Meril is a sponsor ‘responsible for selecting qualified investigators and

providing them with the necessary information to conduct clinical testing.’”

Appx15. The Court simply accepted Meril’s representation that it imported the

Myval Devices to recruit clinical investigators at TCT, as alluded to in Meril’s

declarations. However, “at summary judgment, the judge must view the evidence

in the light most favorable to the nonmoving party: if direct evidence produced by

the moving party conflicts with direct evidence produced by the nonmoving party,

the judge must assume the truth of the evidence set forth by the nonmoving party

with respect to that fact.” T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors

Ass'n, 809 F.2d 626, 630-31 (9th Cir.1987); see also Eastman Kodak, 504 U.S. at

456 (at summary judgment, the non-movant’s version of any disputed issue of fact

is presumed correct); Tolan, 572 U.S. at 657-60 (vacating summary judgment

where court improperly weighed evidence, failed to credit non-movant’s

contradictory evidence, and resolved disputed issues in favor of the moving party).




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      Here, there is strong contemporaneous evidence from the time of the

importation from which a jury could reasonably conclude that Myval Devices were

imported exclusively for use as commercial sales tools. For instance, Meril’s

marketing personnel drafted the two marketing pieces widely distributed by Meril

before TCT inviting TCT participants to experience the Myval Devices “hands-on”

at TCT.     Appx616; Appx884-886; Appx670; Appx890-893; Appx746-748.

Meril’s marketing personnel drafted the first marketing piece planning the use of

imported Myval Devices before Meril ever even communicated with the FDA

about Myval. Compare Appx884-886, with Appx1015-1019. And notably, neither

of these invitations to experience the Myval Devices at TCT mentioned clinical

studies or Meril’s purported desire to recruit clinical investigators. Appx884-886;

Appx890-892; Appx746-748.

      Significantly, the evidence most directly related to the imported Myval

Devices instructed Meril’s sales personnel on how to sell the valves at TCT: “Do

not make any sales or offers for sale at the conference, or while in the United

States or the US market. You can make offer for other countries.” Appx907-909

(“Instructions for TCT 2019 for Mval THV System)” (emphasis added). The same

document instructs them: “Do not carry too many demo units” (id.), thus linking

the imported Myval Devices to commercial sales activity. 5 Ignoring this evidence,


5
      The Instructions for Myval also stated: “If possible, refer discussions of
pricing, delivery, and other commercial topics to representatives outside the US for

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the district court found “transportation of the Myval Samples to the TCT

Conference (with no sales or offers for sale) was an exempt act.” Appx15

(emphasis added). The district court’s finding that “no sales or offers for sale”

occurred at TCT is clearly rebutted by Meril’s Instructions to its TCT marketing

team to “make offer for other countries.” This finding alone, in view of the

contrary evidence that the district court was required to accept, warrants reversal.

      Significantly, Meril’s “Instructions for TCT 2019 for Myval THV System,”

like its TCT invitation and email blast, never mention the FDA or the recruitment

of clinical investigators. Appx907-909. Meril admitted that it planned and held

only one meeting with prospective clinical investigators at TCT, yet Meril did not

bring the imported Myval Devices to that meeting, and never even planned to.

Appx618; see Appx705. In fact, Meril never showed the Myval Devices to a

single clinical investigator at TCT. Appx373-374. Thus, the importation of the

Myval Devices did not facilitate, and was not in any way related to, any

recruitment activities of Meril.

      The evidence also reveals that Meril’s marketing personnel brought a

simulator to demonstrate Myval Devices at TCT.             Appx617, 625.       However,

Sanjeev Bhatt, Meril’s principal recruiter for clinical trials, testified that he rarely

uses sample devices and never used a simulator to recruit investigators. Appx669.

the US market.” Appx909. Thus, not only did Meril instruct its sales personnel
that they could make offers for other countries, they could even discuss U.S. sales,
while referring the detailed terms to representatives outside the U.S. Id.

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Nor did Meril’s head of clinical research, Dr. Ashok Thakar, use sample devices, at

medical conferences or otherwise. Appx705. Instead, Mr. Bhatt used PowerPoint

presentations as his primary recruiting tool. Appx669.

      From this evidence, a jury could reasonably conclude that Meril imported

the Myval Devices solely to support commercial sales, rather than to recruit

clinical investigators.   The contemporaneous evidence directly contradicts the

Meril declarations upon which the district court relied. Mr. Lad at best implied

that Meril imported its devices to recruit clinical investigators, but he never

expressly said so. He stated that TCT “provided a valuable opportunity for Meril

to expand its network and identify potential clinical researchers for the FDA

clinical trials . . ..” Appx372. He testified that he flew the devices to San

Francisco for TCT, but never connected that importation with “identifying

potential clinical researchers.”   Id.   The closest he came was stating, “Meril

considered showing the Myval System to potential clinical investigators at the

TCT conference,” but decided not to do so because of technical difficulties with a

simulator.     Appx374 (emphasis added).         And even the purported technical

difficulties with the simulator are unsupported by contemporaneous evidence.

Thus, Meril’s declarations stopped shy of saying that the importation was indeed

for use in recruiting clinical investigators. Yet the district court made that leap,

and did so despite the contrary evidence discussed above.




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      Meril’s argument that it was recruiting clinical investigators for its

“Landmark Trial” raises further material issues of fact for a jury to decide. This

Court and others have recognized that certain clinical studies are not protected,

including post-approval studies “conducted for marketing purposes, with the

objective of trying to distinguish” the device at issue from a competitive product.

Amgen I, 565 F.3d at 852-53. Further, otherwise infringing acts undertaken in

connection with foreign clinical investigations are not within the statute. NeoRx,

877 F. Supp.at 208-209 (denying summary judgment in part because “the lack of a

clear indication that [foreign clinical] work was submitted, or to be submitted, to

the FDA argues in favor of a determination that his studies were not reasonably

related to FDA submission”).

      Here, the evidence shows that Meril’s Landmark Trial was and is a

commercially motivated comparative study to be conducted exclusively outside the

United States.      See Appx912; Appx915-916; Appx926, 946-958.                 All

contemporaneous documents up to the time of Meril’s importation show that the

Landmark Trial was wholly unrelated to any FDA approval.              The evidence

contradicts Meril’s implication that its importation was related to plans to conduct

“clinical studies in the United States.”         Appx372-374.      At least seven

contemporaneous documents state that, around the time of the importation and

during TCT, Meril had no plans for domestic investigation sites for the Landmark




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Trial. Appx590 (citing Appx842; Appx912; Appx915-916; Appx926, 946-958;

Appx1013; Appx1015-1016; Appx1021-1022).

      From this evidence, a jury could reasonably conclude that the Landmark

Trial is entirely unrelated to generating clinical data for FDA submissions. Indeed,

this Court has recognized that clinical trials are sometimes performed for purposes

that are not protected under the safe harbor, such as a marketing study to

distinguish a product from its competitors. Amgen I, 565 F.3d at 852-53 (denying

summary determination of safe harbor defense and requiring factual inquiry into

purpose of clinical studies); see also Classen Immunotherapies, Inc. v. Biogen

IDEC, 659 F.3d 1057, 1070 (Fed. Cir. 2011) (safe harbor does not apply to the

studies that were not mandated by the FDA and were not for the purpose of

“expedit[ing] development of information for regulatory approval”); Amgen II, 944

F.3d at 1340 (sustaining jury verdict rejecting defense where expert had “testified

that [the accused infringer] was not required to manufacture additional batches

after it made its 2012 batches” for FDA approval) (emphasis added).

      Where the evidence permits a jury to conclude that the alleged infringing

conduct is solely for commercial uses, the infringing conduct does not fall within

the safe harbor. For instance, in Amgen II, Amgen sued Hospira for infringing

Amgen’s patented process for making a drug substance. Id. at 1332-33. Hospira

manufactured twenty-one batches of the substance, and the jury found that the

manufacturing of seven batches was protected under the safe harbor, while the

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manufacturing of the other fourteen was not. Two of the protected batches were

used for qualifying Hospira's manufacturing process and some alternate equipment,

and five were used for a mandatory pre-approval inspection by the FDA. Id. at

1339. The jury found that all other batches were not exempted by the safe harbor

in part because evidence showed they were manufactured to build commercial

inventory. Hospira argued that its commercial intent was irrelevant, but the court

disagreed, stating that, while Hospira’s “decision to manufacture its . . .

‘commercial inventory’ was not dispositive of the Safe Harbor defense, . . . this

evidence was probative of whether Hospira's use of Amgen’s patented process was

reasonably related to seeking FDA approval.” Id. at 1340.

      In granting summary judgment here, the district court dismissed the

extensive evidence that Meril imported the Myval Devices for commercial uses.

Rather, it erroneously found, based exclusively on Meril’s litigation declarations,

that the importation “was reasonably related to the submission of information to

the FDA.” Appx10. The district court appeared to reason based on this Court’s

Abtox decision that, once an otherwise infringing act is determined to be

reasonably related to obtaining FDA approval, Meril’s intent or alternative uses for

the importation were irrelevant. Appx14-16, 16 n.7 (citing Abtox, Inc. v. Exitron

Corp. 122 F.3d 1019, 1330 (Fed. Cir. 1997)).             But in making the initial

determination that the importation was reasonably related to obtaining FDA

approval, the district court failed to draw all reasonable inferences in favor of

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Edwards, the non-moving party. Indeed, the district court failed even to consider

that evidence because it relegated it to “alternative uses,” when, in fact, all the

contemporaneous evidence supports that selling the Myval Devices was the only

use for which Meril imported them. Moreover, the district court ignored the

evidence of Meril’s commercial intent, even though this Court had determined that

such evidence is at least “probative of whether [the alleged infringement] was

reasonably related to seeking FDA approval.” Amgen II, 944 F.3d at 1340.

      The district court thus failed to properly acknowledge key evidence offered

by Edwards, and hence “the court below neglected to adhere to the fundamental

principle that at the summary judgment stage, reasonable inferences should be

drawn in favor of the nonmoving party.” Tolan, 572 U.S. at 660.

      B.    THE DISTRICT COURT RELIED INSTEAD ON
            DECLARATIONS FROM MERIL EMPLOYEES WHO
            LACKED PERSONAL KNOWLEDGE
      In considering Meril’s motion for summary judgment, the district court was

required to view any inferences reasonably drawn from the evidence in the light

most favorable to Edwards. Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 587-88 (1986). It failed to do so, and instead, it appears the Court

principally relied on self-serving declarations from Meril employees who often

lacked personal knowledge of the facts declared. Specifically, the district court

erred by crediting Meril’s uncorroborated declaration testimony as the sole basis

for finding that Meril’s importation “was reasonably related to the submission of


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information to the FDA,” and thus, “Meril’s transportation of non-commercial

Myval Samples to the TCT Conference is exempt under the safe harbor.” Appx10

(citing only Appx372-374 (Lad Decl. ¶¶ 13-15, 17)).

      As a threshold matter, the district court’s binary statement that the Myval

Samples were “non-commercial,” apparently based on the fact that Myval Devices

were not approved for sale in the United States, ignores the undisputed evidence

that they were approved for sale in Europe, and that the TCT Conference was a

huge international marketing opportunity. See supra Statement of Facts §§ I-II.

The district court also appeared to overlook at least the following bases for a

reasonable inference that Meril’s importation was to support its sales efforts

entirely unrelated to any clinical recruiting or FDA-related activities:

      (1)      the fact that Meril’s marketing personnel drafted Meril’s promotional

materials for TCT, inviting physicians to experience the Myval Devices “hands-

on” at TCT, and the absence of any reference to clinical recruitment in these

materials, even though similar invitations for other trade shows specifically

mention Landmark Trial investigator meetings (compare Appx616, Appx884-886,

Appx670, Appx890-892, and Appx746-748, with Appx964-965 (e-blast sent to

London Valves conference attendees advertising “9 Landmark Trial investigator

meetings”));

      (2)      the explicit permission to “make offer for other countries” and the

absence of any reference to recruiting clinical investigators for FDA submissions

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in the contemporaneous Instructions to all Meril employees attending TCT

(Appx907-909);

      (3)    the evidence that Meril never even planned to bring the imported

Myval Devices to its only meeting with potential clinical investigators at TCT

(Appx618; see Appx705);

      (4)    Meril’s principal clinical recruiter’s testimony that he used

PowerPoint presentations rather than actual demonstration valves to recruit

investigators (Appx669);

      (5) the fact that Meril never used or demonstrated the imported devices at

TCT at all (Appx373-374);

      (6)    the fact that the imported devices were physically transported by

Meril’s employee Nilay Lad, whose job functions are entirely unrelated to clinical

trials or clinical recruiting (Appx370, 372-374; Appx612-613);

      (7)    the fact that the Landmark Trial was a post-EU-approval trial to

establish market credibility against competing devices, rather than a single-arm

trial typical for regulatory approval (Appx370; Appx588-589; Appx912; Appx591;

Appx915; Appx923, 946, 953; Appx969, 996-997; Appx657);

      (8)    the fact that Meril’s only contemporaneous written references to the

Landmark Trial did not involve any U.S. sites that Meril knew would be required

for FDA submissions (Appx1021-1022; Appx1015-1016; Appx946, 953;

Appx677; Appx716);

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      (9)    the fact that Meril first contacted the FDA after it had already decided

to import its Devices to TCT, after the same devices had been seized for alleged

patent infringement at a prior trade show in France, and after Meril consulted with

its attorneys about its plan to import the devices to TCT (Appx884-886; Appx616;

Appx1015-1019; Appx547; Appx609-613; Appx869-873); and

      (10) the fact that Meril routinely ignored its own FDA consultant and FDA

guidance regarding the voluntary presubmission and study design, signaling it had

no genuine plans to convert the Landmark Trial to one that could be used for FDA

approval (Appx1036; Appx1047; Appx1049-1050).6

      All of the foregoing support the inevitable conclusion that factual issues

abound as to two major factual issues. First, whether Meril imported the Myval

Devices to recruit clinical investigators, given the extensive contemporaneous

evidence that it planned to use the imported Myval Devices solely as commercial

sales tools. In contrast, no documentary evidence connected the imported Myval

Devices to “recruiting clinical investigators.” Second, there was a triable issue of

fact as to whether it was “objectively reasonable” for Meril to “believe that there

was a decent prospect that the [importation] would contribute, relatively directly,

to the generation of the kinds of information that are likely to be relevant in the

6
       In all public presentations about the Landmark Trial, both before and after
importing Myval Devices for TCT, Meril presented it as an entirely OUS trial.
Appx588-589; Appx910, Appx912; Appx923, Appx946, Appx953; Appx969,
Appx996-997;                                                                  see
https://clinicaltrials.gov/ct2/show/NCT04275726?term=myval&draw=2&rank=2.

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processes by which the FDA would decide whether to approve the product in

question.” Isis Pharm., 2014 WL 794811 at *13 (quoting Merck, 545 U.S. at 200-

01) (emphasis added).

      Here, the evidence supports a finding that it was not objectively reasonable

for Meril to believe that importing devices, allegedly to recruit clinical

investigators for a post-EU-approval OUS trial, would contribute “relatively

directly” to generating relevant information for the FDA to approve the Myval

Devices. Indeed, Meril knew that the FDA would require a trial with mostly U.S.

subjects and did not believe that sample devices were useful recruiting tools in any

event. The district court also failed to consider the preliminary and voluntary

nature of Meril’s FDA presubmissions. See Appx9. Moreover, to the extent the

district court held that Meril believed that importing the Myval Devices would

contribute relatively directly to FDA approval and that its belief was “objectively

reasonable,” it did so solely based on the declaration of Mr. Lad. But Mr. Lad had

no experience in that area, and his declaration was completely lacking in

establishing a foundation for his purported knowledge. Appx612-613; Appx370.

      It is well-settled that a court should not grant summary judgment based

solely on an uncorroborated, self-serving declaration (particularly in light of

contradicting contemporary evidence), just as it cannot deny summary judgment

based solely on an uncorroborated, self-serving declaration. Villiarimo v. Aloha

Island Air, Inc., 281 F.3d 1054, 1059 n.5, 1061 (9th Cir. 2002) (holding that the

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district court properly disregarded a declaration that included facts beyond

the declarant's personal knowledge and did not indicate how she knew the facts to

be true) (citing Kennedy v. Applause, Inc., 90 F.3d 1477, 1481 (9th Cir. 1996));

Hopkins v. Andaya, 958 F.2d 881, 888 (9th Cir. 1992) (a single contemporaneous

medical record was sufficient to overturn summary judgment in favor of defendant,

which the district court granted based on the defendant’s self-serving and

uncorroborated deposition testimony).

      Lad’s declaration, insofar as it purports to support a safe harbor defense, also

concerns matters on which he clearly lacks personal knowledge. His job

responsibilities in August and September of 2019 had nothing to do with

regulatory submissions, recruiting clinical investigators, selling Myval Devices, or

transporting devices to trade shows. Appx612-614. Lad lacks any experience

related to FDA submissions or clinical trials, and his only role with respect to the

Myval Devices was managing litigation. Id. Yet his declaration purports to

explain the FDA approval process for heart valves and its requirements with

respect to OUS and domestic clinical trials. Appx370-373. And the district court

accepted that explanation despite contrary evidence that the Landmark Trial was

unrelated to FDA submissions. See Appx9.

      Further, Lad was not involved in Meril’s announcements concerning its

intention to bring Myval Devices to TCT for hands-on demonstrations. Appx616,




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619-620.7    Indeed, Lad’s only involvement with Myval was managing litigation.

Appx612-613.

      Accordingly, the district court erroneously credited the Lad Declaration,

failed to acknowledge the contradicting contemporaneous evidence, and neglected

to draw reasonable inferences from that evidence in favor of Edwards. These

errors warrant reversal of the district court’s grant of summary judgment.

      C.     THE DISTRICT COURT PURPORTED TO APPLY AN
             OBJECTIVE STANDARD YET RELIED ON MERIL’S
             ALLEGED SUBJECTIVE INTENT FOR THE IMPORTATION
      The district court purported to apply an objective standard to determine

whether Meril’s importation was solely for uses reasonably related to FDA

submissions, noting that “consistent with the language of the statute, the safe

harbor inquiry focuses on acts or uses, and not on purposes, intent or motive.”

Appx7. As acknowledged by the district court, the safe harbor statute delineates

several potentially infringing acts – i.e., making, using, offering to sell, selling, or

importing – that might fall within the safe harbor if certain conditions are met.

Appx8. However, in describing those conditions the statute separately refers to

“uses” of the accused devices. 35 U.S.C. § 271(e)(1) (“It shall not be an act of

infringement to make, use, offer to sell, or sell within the United States or import


7
       Lad testified that he and Mr. Bhatt did not decide to import Myval Devices
until a few days before TCT, but Meril’s TCT invitations and email blast show that
the decision was made much earlier. Appx602-603; Appx882; Appx884-886;
Appx890-893. This is yet another factual dispute that the district court overlooked.

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into the United States a patented invention . . . solely for uses reasonably related to

the development and submission of information under Federal law . . .”) (emphasis

added).   This distinction is significant because the infringing acts, such as

importation or manufacture, are not inherently related, nor unrelated, to submitting

information to the FDA. See, e.g., Amgen II, 944 F.3d at 1340 (finding some

manufacturing activities protected and others infringing); Chang, 76 F. Supp. 3d at

1035 (holding that defendant had “not presented evidence sufficient to establish

that this importation of TPA was for the sole purpose of developing information to

submit to the FDA”). However, the dichotomy in the statutory language has led

one district court to stress that “the availability of the exemption turns on actual

uses.” Intermedics, 775 F. Supp. at 1275. “[Courts are] to focus on conduct

(‘uses’) that actually has occurred (as opposed to uses to which a party might put

its product in the future).” Id. at 1278 (emphasis added). “[W]e simply ask: are

these actual uses ‘solely . . . reasonably related to the development and submission

of information’ to the FDA.” Id. at 1280. This Court has also held that “[t]he

statute . . . does not look to the underlying purposes or attendant consequences of

the activity . . . as long as the use is reasonably related to FDA approval.” Abtox,

122 F.3d at 1030 (emphasis added).

      Here, the district court appeared to overlook the statute’s distinction between

the potentially infringing conduct (make, use, offer to sell, sell, import), on the one

hand, and the uses that may bring that conduct within the safe harbor (uses

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reasonably related to an FDA submission), on the other hand. It concluded that

“importation by itself (without actual use) can fall within the safe harbor.” Appx8.

The district court quoted Abtox in further holding that “‘[Meril’s] intent or

alternative uses are irrelevant to its qualification to invoke the section 271(e)(1)

shield.’” Abtox, 122 F.3d at 1030. Accordingly, Defendants’ underlying purposes

are not relevant to the safe harbor inquiry.” Appx15. This holding misreads Abtox

and ignores Amgen II, which confirmed that evidence of commercial intent is at

least probative of whether use of the patented process was reasonably related to

seeking FDA approval. 944 F.3d at 1340. Indeed, because there was no actual

post-importation use, evidence of Meril’s intent appears to be the only probative

evidence on applicability of the safe harbor.

      The district court ignored the critical part of this Court’s holding, namely

that “As long as the activity is reasonably related to obtaining FDA approval,

[the accused infringer’s] intent or alternative uses are irrelevant to its qualification

to invoke the section 271(e)(1) shield.” See Appx15 (quoting only a portion of

Abtox, 122 F.3d at 1030 (emphasis added)). Thus, before Meril’s intent and

alternative uses can be deemed irrelevant, a determination must be made that “the

activity is reasonably related to obtaining FDA approval.” Given there was no

actual use after importation, the only activity to be examined is the importation

itself, and the only evidence connecting the importation to obtaining FDA approval

is evidence of Meril’s subjective intent.       However, that evidence (principally

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Meril’s self-serving declarations) is disputed by other evidence of Meril’s solely

commercial intent.      The district court thus erred in deeming Meril’s intent

irrelevant in the absence of evidence of a protected use.

      Regardless of whether the safe harbor statute requires an actual use in

addition to the infringing act, the district court erred in granting summary

judgment. To the extent an actual use is required, there was no actual use beyond

mere importation. To the extent no actual use is required, the only evidence that

connects Meril’s importation to a use that falls within the safe harbor is the

disputed evidence of Meril’s subjective intent. That extensive evidence creates

genuine issues of fact, particularly when all reasonable inferences are drawn in

favor of Edwards.

      It is undisputed that Meril never actually used the imported Myval Devices

at TCT. Appx373-374; Appx618. Meril never showed them to anyone and never

removed them from the bag used to transport them. Id. Accordingly, to the extent

the safe harbor statute requires an “actual use,” there was none. Indeed, if the

statute requires actual use, and intent is irrelevant, the district court erred because it

relied solely on evidence of Meril’s alleged intent to use the Myval Devices to

recruit investigators. And again, importation itself cannot be inherently exempt

under the safe harbor because some “generic” acts of infringement (manufacturing,

importation, etc.) are covered, and some are not. Amgen II, 944 F.3d at 1340

(manufacturing); Chang, 76 F. Supp. 3d at 1036 (importation).

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      On the other hand, if Meril’s intended use for the imported devices is

relevant (including because there was no actual use), a wealth of contemporaneous

evidence contradicts any implied finding by the district court that Meril intended to

import the Myval Devices for recruiting clinical investigators to develop FDA-

related data. A fact-finder considering that evidence could reasonably conclude

that Meril’s purpose in importing its valves to TCT was solely commercial in

nature. Again, it was Meril’s marketing personnel, not its clinical personnel, who

invited TCT attendees to experience “hands-on” Myval sessions at TCT.

Appx882; Appx884-886; Appx890-893; Appx616, 619-620; Appx670.                     These

invitations never mentioned clinical investigators or clinical trials.         Appx882;

Appx884-886; Appx890-893. Meril admitted it never even planned to bring its

devices to its only meeting with potential clinical investigators at TCT. Appx618.

And its principal recruiter for clinical trials testified that he uses PowerPoint

presentations rather than sample devices for recruiting purposes. Appx669. Thus,

the evidence at least supports, if not requires, the inference that Meril’s purpose for

importing the Myval Devices to TCT was solely for use as a commercial sales tool,

and not for any use reasonably related to generating information for the FDA.

      Finally, the district court also erred in holding that “demonstrations at

medical conferences are covered by the Section 271(e)(1) safe harbor,” regardless

of actual use or intended use. Appx8-9. In the cases cited by the district court, it

was undisputed that at least one purpose of the accused infringer’s actual use was

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recruitment of clinical investigators for an FDA-sanctioned clinical trial. See

Telectronics Pacing Sys., Inc. v. Ventritex, Inc., 982 F.2d 1520, 1522-23 (Fed. Cir.

1992) (undisputed that the defendant also demonstrated the device to clinical

investigators); see also Intermedics, 775 F. Supp. at 1287 (patent owner did not

dispute that defendant’s actual demonstrations were, in part, reasonably related to

obtaining FDA approval). Moreover, the defendants in both cases already had

IDEs, so unlike Meril they were actually permitted to conduct clinical trials in the

United States. Telectronics, 982 F.2d at 1521; Intermedics, 775 F. Supp. at 1276.

      Here, by contrast: (a) there was no actual demonstration of the Myval

Devices to clinical investigators, or any other use, (b) Meril was and still is

nowhere near obtaining the IDE approval required for domestic clinical trials, and

(c) it is very much disputed based on the contemporaneous evidence that recruiting

clinical investigators for FDA approval was Meril’s purpose for importing its

devices. Moreover, the evidence supports an inference that Meril’s sole purpose

for importing Myval Devices was to support its commercial sales efforts, and the

importation was wholly unrelated to recruiting clinical investigators and wholly

unrelated to any FDA submission.

      In sum, the district court erred in granting safe harbor protection on

summary judgment to Meril’s infringing act of importing the Myval Devices. The

district court acknowledged that Meril did not use the Myval Devices once

imported, yet erroneously found that Meril’s actual use reasonably related to FDA

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submissions. In doing so, it erroneously relied on Meril’s declarants’ stated intent

for the importation—the recruitment of clinical investigators for a non-existent

FDA trial. But Meril’s own documents and admissions would permit a reasonable

fact-finder to conclude that Meril imported the Myval Devices for its marketing

employees to use as commercial sales tools at TCT. Thus, the grant of summary

judgment cannot stand.

                   CONCLUSION AND RELIEF SOUGHT

      Edwards respectfully submits that the Court should reverse the Judgment

and the district court’s Order granting summary judgment, and direct the district

court that Meril’s safe harbor defense should be decided at trial, if trial of

Edwards’ patent infringement claims is otherwise appropriate.



DATED: November 7, 2022           By: /s/ Christy G. Lea
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                  INDEX TO APPENDED MATERIALS

1.   Summary Judgment Order dated October 16, 2020 (Appx1-20);

2.   Judgment dated May 18, 2022 (Appx21-22);

3.   U.S. Patent No. 10,292,817 (Appx84-110);

4.   U.S. Patent No. 9,393,110 (Appx111-152);

5.   U.S. Patent No. 9,119,716 (Appx153-189);

6.   U.S. Patent No. 6,878,168 (Appx190-198);

7.   U.S. Patent No. 10,053,256 (Appx199-207).
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                                  5                                     NORTHERN DISTRICT OF CALIFORNIA

                                  6
                                  7        EDWARDS LIFESCIENCES                             Case No. 19-cv-06593-HSG
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                                  9                                                         GRANTING IN PART AND DENYING
                                                   v.                                       IN PART MOTIONS TO SEAL
                                  10
                                           MERIL LIFE SCIENCES PVT. LTD., et al.,           Re: Dkt. No. 67
                                  11
                                                          Defendants.
                                  12
Northern District of California
 United States District Court




                                  13            Pending before the Court is Defendants Meril Life Sciences PVT. LTD (“Meril Life

                                  14   Sciences”) and Meril, Inc. (collectively, “Defendants,” or “Meril”) Motion for Summary

                                  15   Judgment, for which briefing is complete. Dkt. Nos. 67 (“Mot.”), 82 (“Opp.”), and 90 (“Reply”).

                                  16   The parties have also filed administrative motions to seal (“Motions to Seal”) portions of their

                                  17   briefs and exhibits related to the Motion. See Dkt. Nos. 66, 81, 87, 89. On September 24, 2020,

                                  18   the Court held a hearing on the Motion. Dkt. No. 96. For the reasons below, the Court GRANTS

                                  19   Defendants’ Motion for Summary Judgment, and GRANTS IN PART and DENIES IN PART

                                  20   the Motions to Seal.

                                  21       I.   BACKGROUND1

                                  22            Meril Life Sciences is an India-based, global medical device company that was founded in

                                  23   2007. Declaration of Nilay Lad (Dkt. No. 67-3, “Lad Decl.”) ¶ 2. Meril, Inc. is a wholly owned

                                  24   subsidiary of Meril Life Sciences. Id. Meril created a “Myval” branded transcatheter heart valve,

                                  25   which is designed to be used with a “Navigator” delivery system (collectively, the “Myval

                                  26   System”). Id. ¶ 3; Declaration of Sanjeev Bhatt (Dkt. No. 67-1, “Bhatt Decl.”) ¶ 3. Edwards

                                  27

                                  28   1
                                           The following facts are undisputed unless otherwise noted.



                                                                               Appx1
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                                  1    Lifesciences Corporation (“Plaintiff” or “Edwards”) is a supplier of medical devices for the

                                  2    treatment of heart disease, including artificial heart valves. Among its best-known products are its

                                  3    “SAPIEN®” transcatheter prosthetic heart valves.

                                  4           The Myval System is intended to treat severe symptomatic native aortic valve stenosis, a

                                  5    condition where the aortic valve narrows and restricts normal blood flow. Id. In 2016, Meril’s

                                  6    experimentation with the Myval System led up to a cadaver procedure “to determine the feasibility

                                  7    of implanting the Myval transcatheter heart valve into human subjects” at the University of

                                  8    Washington (“UW”) in January 2017. Bhatt Decl. ¶ 4. In January 2017, Meril shipped six

                                  9    samples of the Myval System to UW to conduct these pre-clinical investigations on cadavers, and

                                  10   to determine whether the Myval transcatheter heart valve could be safely implanted in future

                                  11   clinical studies. Id. Members of the UW team successfully implanted the Myval transcatheter

                                  12   heart valve in cadavers, which enabled Meril to plan its clinical studies with human subjects. Id.2
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                                  13          Meril first began conducting clinical trials for its Myval System in India in June 2017, and

                                  14   received approval from the Drug Controller General of India on October 31, 2018. Lad Decl. ¶ 4.

                                  15   In April 2019, the Myval System was granted the CE marking, which certifies its conformance to

                                  16   health and safety standards for products sold within the European Economic Area. Id. In the

                                  17   United States, the Myval System is considered a “Class III” medical device subject to strict

                                  18   regulatory standards. Id. ¶ 5; 21 U.S.C. § 360c(a)(1)(C) (classifying a Class III device as “for use

                                  19   in supporting or sustaining human life or for a use which is of substantial importance in preventing

                                  20   impairment of human health”). Therefore, Meril may not lawfully market or sell the Myval

                                  21   System in the United States without first receiving mandatory premarket approval from the United

                                  22   States Food and Drug Administration (“FDA”). Lad Decl. ¶ 5; 21 U.S.C. § 360c; 21 C.F.R. §

                                  23
                                  24   2
                                         Around this time, Meril also began planning a preclinical animal study for Myval with the CRF
                                  25   Skirball Center for Innovation in New York (“Skirball Study”). Dkt. No. 87-6 (“Stephens Decl.”)
                                       Ex. 13 at 4:23-28. The Skirball Study was to investigate the feasibility of implanting the Myval
                                  26   System into humans, and whether Meril could do so safely in clinical studies. Id. In 2016, Meril
                                       sent three samples of the Myval transcatheter heart valve (“THV”) and the Myval System for the
                                  27   Skirball Study, and six Myval Samples to UW. Bhatt Decl. ¶ 4; Stephens Decl. Ex. 13 at 4:23-28.
                                       The Skirball Study occurred on January 27, 2017, and the results were documented in a written
                                  28
                                       report. Dkt. No. 90-1 (“Mayer Reply Decl.”) Ex. 15.
                                                                                        2


                                                                              Appx2
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                                   1   812.20; 21 C.F.R. § 812.42.

                                   2          To receive premarket approval from the FDA, Meril must first apply for and obtain an

                                   3   investigational device exemption (“IDE”) from the FDA, identify clinical investigators to implant

                                   4   the device in human subjects, collect data from those subjects, and then submit the data to the

                                   5   FDA. Lad Decl. ¶ 5; Bhatt Dec. ¶ 5. IDE applications require sponsors to describe all preclinical

                                   6   testing and include reports of prior investigations. Dkt. No. 67-15, Declaration of Melanie Mayer

                                   7   (“Mayer Decl.”), Ex. 4 at MERIL00000542.

                                   8          The premarket approval process can be lengthy and difficult to navigate, and Meril began

                                   9   preparations ahead of its planned IDE application. First, Meril began preparing for a pre-

                                  10   submission to the FDA, which allows device manufacturers to request formal regulatory feedback

                                  11   on the device before officially engaging in the premarket approval process. Lad Decl. ¶¶ 6-7;

                                  12   Mayer Decl., Ex. 1 at MERIL00000404. The pre-submission program allows device makers like
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                                  13   Meril to obtain guidance from the FDA about its premarket submissions, which in turn improves

                                  14   the quality of submissions and shortens total review times. Lad Decl. ¶ 6; Mayer Decl., Ex. 1 at

                                  15   MERIL00000404.

                                  16          In May 2019, Meril imported a number of Myval System devices to a large conference in

                                  17   France called EuroPCR. Dkt. No. 84-1, Ex. A (“Lad Depo.”) at 76-78. Edwards appears to have

                                  18   anticipated this importation, and filed a proceeding in France authorizing the seizure of the Myval

                                  19   Devices based on the alleged infringement of Edwards’ European patents. Id. A brochure was

                                  20   seized that included an updated new slide on Meril’s Global Clinical Program, with the first

                                  21   mention of a “Landmark Trial.” See Stephens Decl. ¶ 82; Ex. 34. This “Landmark Trial” was to

                                  22   be a three-arm trial comparing the Myval System with the market leading devices in Europe,

                                  23   Edwards’ SAPIEN valves and Medtronic’s CoreValve Evolut valves. Dkt. No. 84-2, Ex. B

                                  24   (“Bhatt Depo.”) at 50-51.

                                  25          In late August 2019, Meril contacted the FDA to inquire about the Landmark Trial and the

                                  26   preliminary requirements for filing a pre-submission. Lad Decl. ¶ 7, Exs. A, B. In early

                                  27   September 2019, Meril also contacted CardioMed LLC, a medical device consulting company that

                                  28   provides regulatory and clinical trial consulting services, including for premarket approval
                                                                                        3


                                                                             Appx3
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                                  1    submissions, and sought its help in preparing a pre-submission filing to the FDA for the Myval

                                  2    System. Id. ¶ 8, Ex. C.

                                  3            Meril then sought out potential clinical researchers at the 2019 Transcatheter

                                  4    Cardiovascular Therapeutics Conference in San Francisco (“TCT Conference”)—an annual

                                  5    scientific symposium hosted by the Cardiovascular Research Foundation (“CRF”) featuring the

                                  6    latest developments in interventional cardiovascular medicine, and attended by leading researchers

                                  7    and clinicians. Id. ¶ 10; Mayer Decl., Ex. 3. In advance of the TCT Conference, Meril provided

                                  8    CRF a digital flyer containing information about Meril’s booth and its agenda at the conference.

                                  9    Id. ¶ 11. CRF then distributed this flyer to individuals and organizations who had subscribed to

                                  10   receive email updates about the TCT Conference. Id. It is undisputed, however, that the Myval

                                  11   System was never shown to anyone after it was imported into the United States. Id. ¶ 17; Lad

                                  12   Depo. at 95-96.
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                                  13           Nilay Lad, a Meril employee, traveled to San Francisco on September 24, 2019 to attend

                                  14   the TCT Conference. Lad Decl. ¶ 13. He carried with him two Myval THV’s, Myval THV’s with

                                  15   rubber leaflets, and two Navigator delivery systems (collectively, “Myval Samples”) on his flight

                                  16   into San Francisco International Airport. Id. The Myval Samples were contained in a bag, and

                                  17   accompanied by a written declaration stating:

                                  18                  This is to inform you that the demo samples carried by Mr. Nilay Lad
                                                      is for the demonstration purpose only.
                                  19
                                                      It is consist [sic] of Demo samples of Medical devices. They have no
                                  20                  commercial value & hence it is not used for any sales purpose. The
                                                      demo samples are NON-STERILE. NOT FOR HUMAN USE. NOT
                                  21                  FOR SALE. NOT APPROVED FOR SALE IN UNITED STATES.
                                                      FOR DEMO PURPOSE ONLY AT TCT 2019, SAN FRANCISCO.
                                  22   Id., Ex. F.

                                  23           Meril had a booth at the TCT Conference from September 26 to September 28, and

                                  24   provided information on its cardiovascular systems, including the Myval System, in the form of

                                  25   visual displays and presentations to attending physicians. Id. ¶ 14, Exs. G-H. For the Myval

                                  26   System, Meril exhibited patient case studies, information on the Myval System and its use in a

                                  27   clinical trial, and information about the placement of the Myval System in patients. Id. Meril

                                  28   stated to conference attendees that the Myval System was not yet approved by the FDA, and that it

                                                                                         4


                                                                              Appx4
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                                  1    was not available for sale in the U.S. Id. Meril also discussed the details of the Myval System

                                  2    with several U.S. doctors to identify potential clinicians for its premarket approval application. Id.

                                  3    ¶ 15.

                                  4            Meril considered showing the physical Myval System in conjunction with a simulation

                                  5    system that would provide potential clinicians with a hands-on opportunity to interact with the

                                  6    physical devices. However, because of alleged technical difficulties with the simulation system,

                                  7    Meril did not show the physical Myval samples at the TCT Conference. Id. ¶ 17. Meril also did

                                  8    not offer for sale or sell the Myval System to any non-U.S. customers at the TCT Conference. Id.

                                  9    ¶ 15. Because Meril did not exhibit the physical Myval Samples, Mr. Lad maintained the samples

                                  10   overnight in a bag in a storage room at the TCT Conference. The samples were never taken out of

                                  11   the bag or displayed to any conference attendees. Id.

                                  12           On September 28, Mr. Lad gave the Myval Samples to another Meril employee, Sanjeev
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                                  13   Bhatt, to take to Europe on September 30. Id.; Bhatt Decl. ¶ 6. For a short period of time after

                                  14   Meril attended the TCT Conference, Meril’s LinkedIn page stated that 2,000 people visited its

                                  15   booth at the TCT Conference and that Meril had exhibited the Myval System at its booth. Lad

                                  16   Decl. ¶ 18. Meril later removed the LinkedIn post. Id.

                                  17    II.    LEGAL STANDARD
                                  18           Summary judgment is proper when a “movant shows that there is no genuine dispute as to

                                  19   any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

                                  20   A fact is “material” if it “might affect the outcome of the suit under the governing law.” Anderson

                                  21   v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). And a dispute is “genuine” if there is evidence

                                  22   in the record sufficient for a reasonable trier of fact to decide in favor of the nonmoving party. Id.

                                  23   But in deciding if a dispute is genuine, the court must view the inferences reasonably drawn from

                                  24   the materials in the record in the light most favorable to the nonmoving party, Matsushita Elec.

                                  25   Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587–88 (1986), and “may not weigh the evidence

                                  26   or make credibility determinations,” Freeman v. Arpaio, 125 F.3d 732, 735 (9th Cir. 1997),

                                  27   overruled on other grounds by Shakur v. Schriro, 514 F.3d 878, 884–85 (9th Cir. 2008). If a court

                                  28   finds that there is no genuine dispute of material fact as to only a single claim or defense or as to
                                                                                          5


                                                                               Appx5
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                                  1    part of a claim or defense, it may enter partial summary judgment. Fed. R. Civ. P. 56(a).

                                  2    III.   DISCUSSION
                                  3           Defendants contend that they did not infringe Plaintiff’s patents because (1) Meril did not

                                  4    use or exhibit Myval samples during the TCT Conference, and (2) Meril’s transportation of its

                                  5    Myval-branded transcatheter heart valve system to UW in 2017 and to the TCT Conference was

                                  6    reasonably related to its premarket submissions to the FDA, and is thus protected by the safe

                                  7    harbor exemption under 35 U.S.C. § 271(e)(1).

                                  8           A.     Safe Harbor Application
                                  9           Congress enacted 35 U.S.C. § 271(e)(1) to address issues created by the legal requirements

                                  10   for pre-market FDA approval of drugs and medical devices, particularly those involving patented

                                  11   inventions. Eli Lilly & Co. v. Medtronic, Inc., 496 U.S. 661, 669-70 (1990). One of these issues

                                  12   was that third parties wishing to sell the patented product upon patent expiration had to engage in
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                                  13   a lengthy FDA approval process, essentially creating a de facto extension of the patent while FDA

                                  14   approval was pending. Id. at 670.

                                  15          To address this problem, Congress enacted the safe harbor of Section 271(e)(1), which

                                  16   provides that “[i]t shall not be an act of infringement to make, use, offer to sell, or sell within the

                                  17   United States or import into the United States a patented invention . . . solely for uses reasonably

                                  18   related to the development and submission of information under a Federal law which regulates the

                                  19   manufacture, use, or sale of drugs or veterinary biological products.” Put differently, Section

                                  20   271(e)(1) allows competitors, before the expiration of a patent, to engage in otherwise infringing

                                  21   activities if the use is “reasonably related to” obtaining regulatory approval. Courts routinely

                                  22   decide the applicability of the safe harbor at the summary judgment stage. See, e.g., Genentech,

                                  23   Inc. v. Insmed Inc., 436 F. Supp. 2d 1080, 1095 (N.D. Cal. 2006); Classen Immunotherapies, Inc.

                                  24   v. Biogen IDEC, 659 F.3d 1057, 1059 (Fed. Cir. 2011).

                                  25          Section 271(e)(1) undisputedly can apply to medical devices like the Myval System. Eli

                                  26   Lilly, 496 U.S. at 661. Section 271(e)(1) “provides a wide berth for the use of patented

                                  27   [inventions] in activities related to the federal regulatory process.” Merck KGaA v. Integra

                                  28   Lifesciences I, Ltd., 545 U.S. 193, 202 (2005); see also Med. Diagnostic Labs., L.L.C. v.
                                                                                           6


                                                                               Appx6
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                                  1    Protagonist Therapeutics, Inc., 298 F. Supp. 3d 1241, 1247 (N.D. Cal. 2018). The Supreme Court

                                  2    has explained that “[Section] 271(e)(1)’s exemption from infringement extends to all uses of

                                  3    patented inventions that are reasonably related to the development and submission of any

                                  4    information under the FDCA [Federal Food, Drug, and Cosmetic Act],” which “necessarily

                                  5    includes preclinical studies.” Merck KGaA, 545 U.S. at 202 (emphasis in original). The safe

                                  6    harbor also applies regardless of the phase of research, and even if the information is never

                                  7    ultimately submitted to the FDA as part of an approval application. Id. at 202, 205 (“There is

                                  8    simply no room in the statute for excluding certain information from the exemption on the basis of

                                  9    the phase of research in which it is developed or the particular submission in which it could be

                                  10   included.”); see also Abtox, Inc. v. Exitron Corp., 122 F.3d 1019, 1027 (Fed. Cir. 1997) (finding

                                  11   the safe harbor applicable where, “[a]t the time of this litigation, [defendant] had neither filed an

                                  12   application for approval with the FDA nor otherwise marketed the device”).
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                                  13          As the Supreme Court explained, an activity is “reasonably related” to federal regulatory

                                  14   activities if an accused manufacturer has a reasonable basis for believing that a device may work

                                  15   to achieve a particular result, and uses the device in research that, if successful, would be

                                  16   appropriate to include in a submission to the FDA. Merck KGaA, 545 U.S. at 207; see also

                                  17   Intermedics, Inc. v. Ventritex, Inc., 775 F. Supp. 1269, 1280 (N.D. Cal. 1991) (“Intermedics I”)

                                  18   (proper inquiry is whether “it [would] have been reasonable, objectively, for a party in defendant's

                                  19   situation to believe that there was a decent prospect that the ‘use’ in question would contribute . . .

                                  20   to the generation of [] kinds of information … likely to be relevant in the processes by which the

                                  21   FDA would decide whether to approve the product”).

                                  22          Similarly, consistent with the language of the statute, the safe harbor inquiry focuses on

                                  23   acts or uses, and not on purposes, intent or motive. See 35 U.S.C. § 271(e)(1) (extending

                                  24   protection to “uses reasonably related”). The Federal Circuit has explained that “[t]he breadth of

                                  25   the exemption [under Section 271(e)(1)] extends even to activities the ‘actual purpose’ of which

                                  26   may be ‘promot[ional]’ rather than regulatory, at least where those activities are ‘consistent with

                                  27   the collection of data necessary for filing an application with the [FDA].’” Momenta Pharm., Inc.

                                  28   v. Teva Pharm. USA Inc., 809 F.3d 610, 619 (Fed. Cir. 2015) (citing Abtox, 122 F.3d at 1027).
                                                                                          7


                                                                               Appx7
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                                  1           Plaintiff contends that the safe harbor requires an “actual use.” Opp. at 16. However, as

                                  2    noted, the safe harbor provides that “[i]t shall not be an act of infringement to make, use, offer to

                                  3    sell, or sell within the United States or import into the United States a patented invention . . .

                                  4    solely for uses reasonably related to the development and submission of information” to the FDA.

                                  5    35 U.S.C. § 271(e)(1). The statute lists each of the possibly infringing acts (making, using,

                                  6    offering to sell, selling, and importing) separately, making clear that importation by itself (without

                                  7    actual use) can fall within the safe harbor. The clause “solely for uses reasonably related to the

                                  8    development and submission of information” to the FDA also does not require an “actual use.” As

                                  9    the Federal Circuit has explained, the safe harbor applies “[a]s long as the [allegedly infringing]

                                  10   activity [e.g., making, using, selling, offering for sale, and importing] is reasonably related to

                                  11   obtaining FDA approval.” Abtox, 122 F. 3d at 1030.

                                  12          Here, Defendants contend that there can be no genuine dispute that all the accused
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                                  13   activities were directed at furthering Meril’s clinical investigation of its Myval System for future

                                  14   FDA approval and thus fall squarely within the scope of the safe harbor. Plaintiff alleges two acts

                                  15   of infringement: (1) Meril “imported” the Myval System into the United States in 2017 so that

                                  16   UW could conduct a pre-clinical cadaver study (Dkt. No. 51 ¶ 40); and (2) Meril “imported” and

                                  17   “exhibited” at least one Myval System at the 2019 TCT Conference. Id. ¶ 39.

                                  18               i.   2019 TCT Conference
                                  19          Meril contends that the shipment of samples to the TCT Conference falls within the safe

                                  20   harbor because Meril did not exhibit the Myval System during the TCT Conference. Lad Dec. ¶

                                  21   17. Meril states that although it transported a number of Myval Samples to the TCT Conference

                                  22   planning to demonstrate the physical device to potential clinical researchers, it had technical

                                  23   difficulties with the simulation system, with the result that the Myval Samples remained stored

                                  24   away during the time they were in San Francisco and were not shown to any conference attendees.

                                  25   Id. Accordingly, Meril contends that there can be no infringement.

                                  26          According to the Federal Circuit, demonstrations at medical conferences are covered by

                                  27   the Section 271(e)(1) safe harbor. Intermedics, Inc. v. Ventritex Co., No. 92-1076, 1993 WL

                                  28   87405, at *3 (Fed. Cir. Feb. 22, 1993) (“Intermedics II”) (“Assuming that these nonsale
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                                                                               Appx8
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                                  1    demonstrations at medical conferences constitute an infringing use, we have held they are an

                                  2    exempt use that is reasonably related to procuring FDA approval of the device.”); Chartex Intern.

                                  3    PLC v. M.D. Personal Products Corp., 5 F.3d 1505, 1993 WL 306169, at *4 (Fed. Cir. 1993)

                                  4    (affirming summary judgment of non-infringement because exhibition of device at trade show was

                                  5    either a non-infringing act under 35 U.S.C. § 271(a) or exempt under the Section 271(e)(1) safe

                                  6    harbor). And transporting a device to a medical conference is a necessary and predicate act for

                                  7    displaying the device, such that the transportation of an accused device into a country for display

                                  8    at a medical conference is also exempt under the safe harbor. See Bio-Tech. Gen. Corp. v.

                                  9    Genentech, Inc., 80 F.3d 1553, 1564 (Fed. Cir. 1996) (importing accused product into the U.S.

                                  10   “for use in clinical trials in support of . . . application for FDA approval” is non-infringing

                                  11   activity); Merck KGAa, 545 U.S. at 202 (the safe harbor extends to “all uses” reasonably related to

                                  12   the development of any information for FDA purposes).
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                                  13          It is undisputed that as of the time of TCT Conference, Meril had taken significant steps

                                  14   towards obtaining FDA approval for the Myval System, including: (1) preparing a formal clinical

                                  15   trial synopsis for its Landmark Trial, Mayer Reply Decl. Ex. 9;3 (2) preparing a draft

                                  16   presubmission to seek FDA input on its clinical trial, Dkt. No. 84-4 (“Nair Depo.”) at 33:3-24; (3)

                                  17   communicating with the FDA regarding Meril’s proposed clinical study and its presubmission,

                                  18   Lad Decl. Exs. A, B; and (4) hiring an FDA consultant to help with the FDA presubmission. Lad

                                  19   Decl. ¶¶ 8-9; Nair Depo. at 57:10-58:15. Plaintiff does not dispute these facts, and instead

                                  20   contends that because Meril never actually used the devices after their importation, its safe harbor

                                  21   defense fails as a matter of law.

                                  22
                                  23   3
                                         The Landmark Trial appears to be a post-EU-approval study to be conducted in Europe to
                                       compare the Myval System to other leading devices in the European market. Lad Decl. ¶¶ 12, 15.
                                  24
                                       Plaintiff contends that the Landmark Trial is not an “FDA clinical trial” because Meril’s early
                                  25   documents describe it as an “outside the US” trial. Opp. at 17. However, it is undisputed that
                                       FDA approval can be supported by clinical trials that include patients both within and outside of
                                  26   the US. Mayer Reply Decl. Ex. 14 at 1, 4; Lad Decl. Ex. A at MERIL00000442-443. Therefore,
                                       even if the Landmark Trial was an entirely “OUS” study at the time of the TCT Conference, and
                                  27   even if Meril was only identifying investigators at the TCT Conference for this OUS trial, and
                                       even if it was commercially motivated in part, the Landmark Trial was reasonably related to FDA
                                  28
                                       approval.
                                                                                         9


                                                                               Appx9
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                                  1            The Court finds that the undisputed evidence gives rises to no genuine dispute of fact as to

                                  2    whether Meril’s transportation of non-commercial Myval Samples to the TCT Conference is

                                  3    exempt under the safe harbor. Lad Decl. ¶¶ 13-15, 17.4 It is undisputed that Meril transported the

                                  4    medical device to the TCT Conference, which was attended by a large number of potential clinical

                                  5    trial investigators. Lad Decl. ¶ 14. It is also undisputed that Meril did not sell or offer to sell its

                                  6    medical device at the medical conference. Id. ¶ 15. Therefore, Meril’s transportation of the

                                  7    Myval Samples to the TCT Conference, where Meril did not sell or offer to sell the device, was

                                  8    reasonably related to the submission of information to the FDA, including educating the

                                  9    investigators at the TCT about the Myval System. See id. ¶¶ 13, 15; Telectronics II, 982 F.2d at

                                  10   1523 (nonsale “demonstrations constitute an exempt use reasonably related to FDA approval”);

                                  11   Intermedics II, 1993 WL 87405, at *3 (nonsale demonstrations at medical conferences are

                                  12   reasonably related to FDA approval and exempt under the safe harbor); see also Proveris
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                                  13   Scientific Corp. v. Innovasystems, Inc., 536 F.3d 1256, 1263 (Fed. Cir. 2008) (“demonstrating an

                                  14   implantable defibrillator at medical conference was ‘reasonably related’ to FDA approval because

                                  15   it facilitated the selection of clinical trial investigators”).

                                  16               ii.   University of Washington Study
                                  17           Meril similarly contends that its shipment of Myval Samples to UW for preclinical

                                  18   investigations was protected under the safe harbor. It is undisputed that the UW preclinical study

                                  19   investigated whether the Myval System could be safely implanted in human subjects in future

                                  20   clinical studies. Bhatt Decl. ¶ 4. Plaintiff appears to agree that the UW study was performed by

                                  21   “an internationally respected interventional cardiologist,” who successfully implanted the Myval

                                  22   THV in cadavers and documented the entire procedure on video. Opp. at 20; Bhatt Decl. ¶ 4;

                                  23
                                       4
                                  24      Plaintiff objects to portions of the Lad Declaration and contends that Mr. Lad lacks personal
                                       knowledge of “Meril’s purpose for importing the Myval Device.” Opp. at 15. However, it is
                                  25   undisputed that Mr. Lad personally transported the Myval Samples to the TCT Conference, and he
                                       testified that he consulted with counsel and Mr. Bhatt about bringing the Myval System to the
                                  26   TCT Conference. Lad Decl. ¶ 13; Lad Depo. at 34:8-34:17; 60:2-61:7. In addition, Mr. Lad and
                                       Mr. Bhatt explain that Meril brought the Myval samples to the TCT Conference to identify FDA
                                  27   clinical trial investigators. See Bhatt Depo. at 64:1-65:1, 65:21-66:10; Lad Depo. at 83:16-84:1;
                                       see also Bhatt Decl. ¶ 5; Stephens Decl. Ex. 13 at 6:8-11. Accordingly, Plaintiff’s objections to
                                  28   the Lad Declaration are overruled, and Mr. Lad’s declaration adequately establishes personal
                                       knowledge. See Fraser v. Goodale, 342 F.3d 1032, 1036 (9th Cir. 2003).
                                                                                          10


                                                                                Appx10
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                                  1    Bhatt Depo. at 40:11-20.

                                  2           The Supreme Court has made clear that preclinical studies appropriate for submission to

                                  3    the FDA during the regulatory process are protected under the safe harbor, even if the results are

                                  4    never ultimately submitted. Merck KGaA, 545 U.S. at 202, 205 (“There is simply no room in the

                                  5    statute for excluding certain information from the exemption on the basis of the phase of research

                                  6    in which it is developed or the particular submission in which it could be included.”). Meril

                                  7    presents undisputed evidence that the Myval Samples were related to determining the feasibility

                                  8    and safety of using the Myval System to implant the Myval transcatheter valve in live human

                                  9    subjects, which Meril needed to confirm before it could conduct clinical trials. Id. at 193 (safe

                                  10   harbor exempts preclinical studies pertaining to device safety and efficacy in humans); Genentech,

                                  11   Inc. v. Insmed Inc., 436 F. Supp. 2d at 1095 (applying safe harbor where third-party consultant

                                  12   research using the accused compound “was for FDA purposes” and where, “[w]ithout FDA
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                                  13   approval, Defendants could not sell their drug on the market”); Intermedics I, 775 F. Supp. at 1285

                                  14   (where safety certification by a third party was required to conduct FDA clinical tests, such testing

                                  15   was protected by safe harbor).

                                  16          It is also undisputed that the UW clinicians used the Myval System to place a Myval THV

                                  17   in a cadaver. Bhatt Decl. ¶ 4. And Meril used the data collected during this investigation to

                                  18   understand the mechanics of positioning the Myval transcatheter valve in a human body. Id.

                                  19   There is also no dispute that, to receive premarket approval for Myval, Meril needed to first obtain

                                  20   an IDE from the FDA, and that the FDA requires the IDE application to include a “report of prior

                                  21   investigations [that] must include reports of all prior clinical, animal, and laboratory testing of the

                                  22   device.” Lad Decl. ¶ 5; Mayer Decl. Ex. 4 at MERIL00000542; see Opp. at 19. Therefore, the

                                  23   Court finds that there is no genuine dispute that the UW preclinical study produced (and was

                                  24   therefore reasonably related to) the types of information that are relevant to the FDA approval

                                  25   process.

                                  26          Plaintiff nevertheless contends that “Meril did not submit any information from this study

                                  27   in connection with either of its FDA pre-submissions.” Opp. at 20. Meril counters that Plaintiff

                                  28   misunderstands the FDA process, and that Meril is only at the presubmission stage of the FDA
                                                                                         11


                                                                              Appx11
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                                  1    process, during which it is getting FDA input on certain information it plans to submit in its later

                                  2    IDE. Bhatt Depo. at 128:25-129:12; Mayer Reply Decl. Ex. 12. When Meril reaches the IDE

                                  3    stage, the FDA rules require Meril to submit the UW cadaver study video as part of its IDE.

                                  4    Mayer Decl. Ex. 4 at MERIL00000542. In any event, the Supreme Court has made clear that the

                                  5    safe harbor applies to preclinical studies even if the data is not ultimately submitted to the FDA, so

                                  6    Plaintiff’s argument fails as a matter of law. Merck, 545 U.S. at 207 (safe harbor “does not

                                  7    become more attenuated (or less reasonable) simply because the data from that experiment are left

                                  8    out of the submission . . . to the FDA”).

                                  9            Plaintiff also contends that Meril did not describe “what information the cadaver study

                                  10   would generate that is relevant to an IDE or PMA.” Opp. at 19. However, Meril explained that it

                                  11   used the data collected during the UW preclinical study to understand the mechanics of

                                  12   positioning the Myval THV in the human body and to determine the feasibility of safely
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                                  13   implanting the valve in live human subjects. Bhatt Decl. ¶ 4. Plaintiff does not dispute this, and it

                                  14   is undisputed that the UW study data must be submitted to FDA. In the end, Plaintiff’s argument

                                  15   is unpersuasive, and no more is required for the safe harbor to apply on this record.5

                                  16           Lastly, leaving no potentially saving angle unexplored, Plaintiff also asserts that there were

                                  17   a number of additional importations as to which Defendants did not move for summary judgment.

                                  18   Opp. at 18-19. Defendants also appear to move for summary judgment as to the Skirball Study

                                  19   only in their Reply, as there is no mention of the study in the motion. Reply at 6.

                                  20           However, none of these “additional” importations or acts of infringement, including the

                                  21   Skirball Study, are mentioned by Plaintiff in its Amended Complaint, which only addresses the

                                  22   UW study and the TCT Conference. See, e.g., Dkt. No. 51 at ¶¶ 38-40. Although Plaintiff did

                                  23   include boilerplate language saying that “Plaintiffs believe that the factual contentions set forth in

                                  24
                                       5
                                  25     That Meril discussed the UW preclinical study in a Continuing Medical Education presentation
                                       in Kolkata, India two years later does not alter the applicability of the safe harbor. See Bhatt Dec.,
                                  26   Ex. AA. The Federal Circuit has repeatedly explained that subsequent disclosure or use of
                                       information from preclinical or clinical studies—even for commercial purposes—does not negate
                                  27   application of the safe harbor. See Classen Immunotherapies, Inc. v. Elan Pharm., Inc., 786 F.3d
                                       892, 898 (Fed. Cir. 2015) (“subsequent disclosure or use of information obtained from an exempt
                                  28   clinical study, even for purposes other than regulatory approval, does not repeal [the safe harbor]
                                       exemption of the clinical study”).
                                                                                          12


                                                                              Appx12
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                                  1    this claim for relief will likely have further evidentiary support after a reasonable opportunity for

                                  2    further investigation or discovery,” id. at ¶¶ 86, 94, this is insufficient to properly plead some

                                  3    unspecified number of additional unnamed potential acts of infringement. Therefore, it is

                                  4    immaterial whether Defendant sought summary judgment as to these unasserted theories.

                                  5    Accordingly, while the Court declines to grant summary judgment as to these acts based on an

                                  6    argument first raised in Defendant’s reply, the Court finds that the additional purported acts of

                                  7    infringement are not presently before the Court in this action. Hauschild v. City of Richmond, No.

                                  8    C 15-01156 WHA, 2016 WL 3456620 at *5 (N.D. Cal. June 14, 2016) (disregarding “Plaintiff’s

                                  9    new theory” in a motion for summary judgment where the complaint did not put defendants on

                                  10   notice about the evidence it would need to defend against plaintiff's new allegations) (citing

                                  11   Pickern v. Pier 1 Imports (U.S.), Inc., 457 F.3d 963, 969 (9th Cir. 2006) (affirming grant of

                                  12   summary judgment in favor of defendant where “the complaint gave the Appellees no notice of
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                                  13   the specific factual allegations presented for the first time in [plaintiff’s] opposition to summary

                                  14   judgment.”)); see also Bell v. F.D.I.C., No. C09-0150RSL, 2011 WL 2011497 at *3 (W.D. Wash.

                                  15   May 23, 2011) (“This claim was not asserted in the Amended Complaint, however, and cannot be

                                  16   added to this litigation in response to a summary judgment motion.”); Gilmour v. Gates,

                                  17   McDonald and Co., 382 F.3d 1312, 1314–15 (11th Cir. 2004) (“[T]he Supreme Court has

                                  18   mandated a liberal pleading standard for civil complaints … This standard however does not

                                  19   afford plaintiffs with an opportunity to raise new claims at the summary judgment stage … At the

                                  20   summary judgment stage, the proper procedure for plaintiffs to assert a new claim is to amend the

                                  21   complaint in accordance with Fed.R.Civ.P. 15(a).”).6

                                  22
                                       6
                                  23     In any event, Plaintiff only relies upon a customs declaration for the simulator that lists
                                       “Navigator.” Reply at 14; Stephens Decl. Ex. 26. This “Navigator” refers to a modified device
                                  24   that is built into the simulator and that is missing the balloon portion. Mayer Reply Decl. ¶ 34.
                                       The Court fails to see the relevance of Plaintiff’s argument when the referenced “Navigator” lacks
                                  25   an “inflatable balloon” as required by Plaintiff’s patent claims. As to the Skirball Study, it is
                                       undisputed that the study was a preclinical study to investigate Myval System’s performance and
                                  26   to inform the feasibility of future clinical trials in live human subjects. Opp. at 4; Stephens Decl.
                                       Ex. 13 at 4:8-15; Bhatt Depo. at 84:15-20. And it is clear that Defendants provided the relevant
                                  27   discovery surrounding the Skirball Study. Mayer Reply Decl. ¶ 31. Accordingly, it appears that
                                       the safe harbor would also apply to the Skirball Study for the same reasons the Court has found it
                                  28   applies to the UW study, namely that the FDA requires Meril to submit all Myval preclinical
                                       studies—including the Skirball study—with Meril’s IDE.
                                                                                            13


                                                                              Appx13
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                                              B.    Commercial Purpose
                                   1
                                              Plaintiff contends that the safe harbor also does not apply because Meril had a commercial
                                   2
                                       purpose when it brought the Myval samples to the UW and to the TCT Conference. Defendants
                                   3
                                       contend that Plaintiff’s argument fails for two reasons: (1) Defendants’ purported purpose is
                                   4
                                       irrelevant to whether the accused use falls within the scope of Section 271(e)(1), and (2) even if
                                   5
                                       Defendants’ purpose was relevant, Meril’s purpose in transporting the samples into the U.S. in
                                   6
                                       2017 and 2019 was to support future clinical trials to seek premarket approval from the FDA.
                                   7
                                              As discussed above, whether the safe harbor applies turns on the objective question of
                                   8
                                       whether the actions taken with respect to a device are reasonably related to FDA approval, and the
                                   9
                                       only relevant acts are those that would otherwise constitute patent infringement under Section 271.
                                  10
                                       Eli Lilly, 496 U.S. at 663 (inquiry is whether the safe harbor “renders activities that would
                                  11
                                       otherwise constitute patent infringement noninfringing”). If Defendants’ otherwise infringing act
                                  12
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                                       is reasonably related to FDA approval, the safe harbor applies regardless of the purported purpose
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                                  13
                                       behind the use. Momenta Pharm., 809 F.3d at 619.
                                  14
                                              In Abtox, the Federal Circuit affirmed the grant of summary judgment of non-infringement,
                                  15
                                       even though plaintiff asserted that the infringing activity was driven by commercial purposes. 122
                                  16
                                       F.3d at 1027. The plaintiff alleged that the safe harbor did not apply because the defendant’s
                                  17
                                       actual purpose behind the testing was to “promote the [device] and other equipment to potential
                                  18
                                       customers” and to offer it for sale. Id. The Federal Circuit rejected this argument, explaining that
                                  19
                                       “section 271(e)(1) requires only that the otherwise infringing act be performed ‘solely for uses
                                  20
                                       reasonably related to’ FDA approval.” Id. at 1030. “The statute, therefore, does not look to the
                                  21
                                       underlying purposes or attendant consequences of the activity . . . , as long as the use is reasonably
                                  22
                                       related to FDA approval.” Id. Because the device testing (the allegedly infringing act there) was
                                  23
                                       reasonably related to obtaining FDA approval, the safe harbor applied, regardless of defendant’s
                                  24
                                       intent or purpose. Id. Therefore, the court’s safe harbor analysis focused on uses, not “purposes”
                                  25
                                       or “motives.” Id. at 1278, 1280 (“Congress did not intend the availability of the exemption to turn
                                  26
                                       on findings about a party’s ‘purposes’ or ‘motives’”); see also Genentech, 436 F. Supp. 2d at 1095
                                  27
                                       (even if accused experiments were conducted in part for “commercial reasons,” the safe harbor
                                  28
                                                                                        14


                                                                              Appx14
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                                  1    applied because “the experiments would produce information that would be given to the FDA in

                                  2    order to get FDA approval”).

                                  3           Similarly, Plaintiff contends that Amgen Inc. v. Hospira, Inc., 944 F.3d 1327 (Fed. Cir.

                                  4    2019), stands for the proposition that that commercial intent can be probative of whether an

                                  5    activity is “reasonably related” to regulatory uses. Opp. at 12. In Amgen, a jury instruction

                                  6    correctly instructed the jury to focus on the allegedly infringing activity and whether that activity

                                  7    was reasonably related to the development and submission of information to the FDA. 944 F.3d at

                                  8    1338-39 (“The jury instructions properly asked whether . . . each accused activity[] was for uses

                                  9    reasonably related to submitting information to the FDA.”). Hospira objected to part of the jury

                                  10   instruction, which stated that “[i]f Hospira has proved that the manufacture of a particular batch

                                  11   was reasonably related to developing and submitting information to the FDA in order to obtain

                                  12   FDA approval, Hospira’s additional underlying purposes for the manufacture and use of that batch
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                                  13   do not remove that batch from the Safe Harbor defense.” Id. at 1338. In finding no legal error

                                  14   with this jury instruction, the Federal Circuit in Amgen affirmed that “underlying purposes do not

                                  15   matter as long as Hospira proved that the manufacture of any given batch of drug substance [the

                                  16   accused activity] was reasonably related to developing information for FDA submission.” Id. at

                                  17   1339 (emphasis added).

                                  18          Given this guidance from the Federal Circuit, the safe harbor inquiry here focuses only on

                                  19   Meril’s allegedly infringing acts, specifically (1) shipping the Myval Samples to UW; and (2)

                                  20   transporting the Myval Samples to the TCT Conference. As discussed above, both acts fall

                                  21   squarely within the safe harbor. Transportation of the Myval Samples to UW was an exempt act

                                  22   because it generated preclinical data to support Meril’s clinical trials. Likewise, transportation of

                                  23   the Myval Samples to the TCT Conference (with no sales or offers for sale) was an exempt act

                                  24   because Meril is a sponsor “responsible for selecting qualified investigators and providing them

                                  25   with the necessary information to conduct clinical testing.” Telectronics II, 982 F.2d at 1523

                                  26   (citing 21 C.F.R. § 812.40). “[Meril’s] intent or alternative uses are irrelevant to its qualification

                                  27   to invoke the section 271(e)(1) shield.” Abtox, 122 F.3d at 1030. Accordingly, Defendants’

                                  28   underlying purposes are not relevant to the safe harbor inquiry, and the Court finds that
                                                                                         15


                                                                              Appx15
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                                  1    Defendants’ transportation of the Myval System and Myval Samples to UW and the TCT

                                  2    conference fell within the safe harbor, such that there is no infringement.7

                                  3            C.   Rule 56(d) Motion
                                  4            Plaintiff contends that there is an incomplete record regarding Meril’s purportedly

                                  5    infringing acts, and that Meril’s witnesses testified regarding plans surround the Landmark Trial,

                                  6    while Meril refused to produce documents relevant to this purported plan from earlier than May

                                  7    2019.

                                  8            A party seeking relief under Rule 56(d) must show “(1) that they have set forth in affidavit

                                  9    form the specific facts that they hope to elicit from further discovery, (2) that the facts sought

                                  10   exist, and (3) that these sought-after facts are essential to resist the summary judgment motion.”

                                  11   State of Cal., on Behalf of Cal. Dept. of Toxic Substances Control v. Campbell, 138 F.3d 772, 780

                                  12   (9th Cir. 1998). Plaintiff must have also diligently pursued the requested discovery. See Conkle v.
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                                  13   Jeong, 73 F.3d 909, 914 (9th Cir. 1995).

                                  14           In December 2019, Plaintiff served its first set of written discovery seeking broad

                                  15   categories of documents relating to all clinical trials for Myval. Mayer Reply Decl. ¶ 12. In April

                                  16   2020, Plaintiff served a second set of written discovery, this time seeking broad categories of

                                  17   documents relating to the Landmark Trial. Id. ¶ 19. The parties met and conferred in late June,

                                  18   but it appears Plaintiff waited until July 27 to provide Meril with a draft motion to compel, which

                                  19   it filed after business hours on July 30, one business day before the first scheduled deposition. Id.

                                  20   Magistrate Judge Westmore denied Plaintiff’s motion, holding that it was “unreasonable” to

                                  21   expect the Court to resolve the dispute on the “eve of deposition.” Dkt. No. 77.

                                  22           Plaintiff’s failure to diligently pursue discovery is a sufficient basis to deny the Rule 56(d)

                                  23   motion. Zamora v. City of Oakland, No. 12-cv-02734 NC, 2013 WL 4103109, at *4 (N.D. Cal.

                                  24   Aug. 12, 2013) (plaintiff’s failure to timely move to compel is ground for denying Rule 56(d)

                                  25   motion). Plaintiff contends that the majority of Meril’s document production came after Meril

                                  26
                                       7
                                  27    Because intent and alternative uses are not relevant to the application of the safe harbor once it is
                                       determined that the allegedly infringing acts were reasonably related to FDA approval, the Court
                                  28   need not reach the issue of Meril’s alleged commercial intent. See Abtox, 122 F.3d at 1030;
                                       Amgen, 944 F.3d at 1339.
                                                                                        16


                                                                              Appx16
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                                  1    moved for summary judgment, Opp. at 21, 25, but this appears to be a result of the Court’s

                                  2    adoption of Plaintiff’s proposed briefing schedule, which provided for subsequent written

                                  3    discovery after Meril moved for summary judgment. See Dkt. Nos. 52, 60; Mayer Reply Decl. ¶

                                  4    22. Finally, the timing of Meril’s five document productions prior to the depositions also appears

                                  5    to be due, in part, to Plaintiff’s delay. For example, on May 27, 2020, Meril disclosed the date

                                  6    ranges Meril used to search ESI and informed Plaintiff that Meril did not agree with Plaintiff’s

                                  7    proposed date ranges. Mayer Reply Decl. ¶ 25, Ex. 23. Plaintiff did not raise this issue with Meril

                                  8    until July 15, 2020. Dkt. No. 72.

                                  9           Accordingly, the Court DENIES Plaintiff’s Rule 56(d) motion.

                                  10          D.        Motions to Seal
                                  11          Meril seeks to seal a number of documents because they contain, characterize, or refer to

                                  12   highly confidential business information. In the Ninth Circuit, a party seeking to file documents
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                                  13   under seal in connection with a dispositive motion must establish compelling reasons for doing so

                                  14   to rebut the presumption against public access. See Foltz v. State Farm Mut. Auto. Ins. Co., 331

                                  15   F.3d 1122, 1136 (9th Cir. 2003). The Court will address each request briefly in turn.

                                  16               i.      Dkt. No. 66
                                  17          Meril seeks to seal certain limited portions of Exhibits A and B to the Lad Declaration; the

                                  18   entirety of Exhibits C, D, I, and K to the Lad Declaration; certain limited portions of Meril’s

                                  19   Corrected Memorandum of Law in support of the Summary Judgment Motion; and certain limited

                                  20   portions of the Lad Declaration. These documents contain sensitive proprietary information

                                  21   concerning Meril’s clinical and regulatory strategies for the Myval System. The Court finds that

                                  22   this information is proprietary and meets the standard to file under seal. See, e.g. Lucas v. Breg,

                                  23   Inc., No. 15-cv-00258-BASNLS, 2016 WL 5464549, at *2 (S.D. Cal. Sept. 28, 2016) (sealing

                                  24   510(k) premarket submission to the FDA addressing safety and effectiveness of device); United

                                  25   States ex rel. Ruhe v. Masimo Corp., No. 10-cv-08169-CJC(VBKx), 2013 WL 12131173, at *2

                                  26   (C.D. Cal. Aug. 26, 2013) (internal research studies and clinical tests for developing the accused

                                  27   device, and non-public data submitted to the FDA in the course of regulatory approval, were

                                  28   “confidential, proprietary, and [ ] valuable”); In re Incretin-Based Therapies Prods. Liab. Litig.,
                                                                                        17


                                                                             Appx17
                                          Case: 22-1877           Document: 27          Page: 82        Filed: 11/07/2022

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                                  1    No.13md2452 AJB (MDD), 2015 WL 11658712, at *3 (S.D. Cal. Nov. 18, 2015) (sealing

                                  2    confidential and proprietary information relating to the “development, testing, and regulation” of

                                  3    proposed drugs, the disclosure of which would result in “significant competitive harm”); Biovail

                                  4    Labs., Inc. v. Anchen Pharm., Inc., 463 F. Supp. 2d 1073, 1083 (C.D. Cal. 2006) (“indisputable”

                                  5    that information contained in abbreviated new drug application to the FDA constituted trade

                                  6    secrets, the disclosure of which to a competitor would be “extremely damaging”). Accordingly,

                                  7    the Motion to Seal (Dkt. No. 66) is GRANTED.

                                  8               ii.   Dkt. Nos. 81 and 87
                                  9           Plaintiff also seeks to file under seal certain information designated by Meril as “HIGHLY

                                  10   CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” under the Protective Order

                                  11   applicable in this case. Specifically, Plaintiff seeks to file under seal certain limited portions of

                                  12   Edwards’ Opposition brief; certain limited portions of the Declaration of Matthew Stephens in
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                                  13   Support of Edwards’ Opposition; and the entirety of Exhibits A-E, K, 10, 13, 19, 21-23, 25-26, 29,

                                  14   36-38, 40, 43-44, 47-48, 50, 51, 53, 55, and 57-59 to the Declaration of Matthews Stephens in

                                  15   Support of Edwards’ Opposition. Plaintiff requests that the Court grant this administrative motion

                                  16   to the extent Defendants’ information qualifies as “privileged, protectable as a trade secret, or

                                  17   otherwise entitled to protection under the law.” However, the parties’ designations alone are

                                  18   insufficient to meet the compelling reasons standard, and the Court therefore DENIES this request

                                  19   to seal. Dkt. No. 81.

                                  20          In light of this, Defendants filed a motion to seal (Dkt. No. 87) to identify the limited items

                                  21   it seeks to seal, and to provide a revised proposed order and redacted documents reflecting these

                                  22   changes. Meril seeks to now seal the entirety of Exhibits A, B, C, E, K, 29, 36, 38, 43-44, 47-48,

                                  23   50-51, 53, 55, 57-59 to the Declaration of Matthew Stephens In Support of Plaintiff’s Opposition

                                  24   (“Stephens Declaration”; Dkt. No. 82-1). Meril contends that these documents contain sensitive

                                  25   proprietary information concerning Meril’s clinical and regulatory strategies for its Myval System

                                  26   and its business strategies concerning trade shows. Meril also moves to file the following items

                                  27   under seal with more limited redactions than proposed in the prior motion to seal: certain limited

                                  28   portions of Exhibit D and 13 to the Stephens Declaration, and certain limited portions of
                                                                                          18


                                                                              Appx18
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                                  1    Plaintiff’s Opposition brief and the Stephens Declaration that describe or reference the

                                  2    confidential documents as summarized above. These documents also contain sensitive proprietary

                                  3    information concerning Meril’s clinical and regulatory strategies for its Myval System and its

                                  4    business strategy for trade conferences.

                                  5           For the foregoing reasons, the Court finds that this information is proprietary and meets the

                                  6    standard to file under seal, and the Motion to Seal (Dkt. No. 87) is GRANTED.

                                  7              iii.   Dkt. No. 89
                                  8           Finally, Meril seeks to seal certain limited portions of Exhibits 5, 7 and 8 to the Mayer

                                  9    Reply. Decl., the entirety of Exhibits 9-12 and 15 to the Mayer Reply Declaration, and certain

                                  10   limited portions of Meril’s Reply. Meril contends that these documents contain sensitive

                                  11   proprietary information concerning Meril’s clinical and regulatory strategies for the Landmark

                                  12   Trial, a clinical trial for Meril’s proprietary Myval transcatheter heart valve and delivery system.
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                                  13          Exhibit 9 is an internal draft of Meril’s trial synopsis for the Landmark Trial; Exhibits 10

                                  14   and 11 are communications with clinical investigators regarding the design of the Landmark Trial;

                                  15   Exhibit 12 is Meril’s supplemental presubmission to the FDA for the Landmark Trial as part of its

                                  16   process of receiving FDA approval for the Myval System; and Exhibit 15 is a report for a pre-

                                  17   clinical study for the Myval System. Exhibits 5, 7, and 8 are excerpts of deposition testimony that

                                  18   also describe Meril’s confidential strategies for obtaining FDA approval for the Myval System.

                                  19   Exhibits 5, 7, and 8 also contain confidential business strategies for engaging clinicians at trade

                                  20   shows, which also meet the Foltz standard.

                                  21          For the foregoing reasons, the Court finds that this information is proprietary and meets the

                                  22   standard to file under seal, and the Motion to Seal (Dkt. No. 89) is GRANTED.

                                  23
                                  24

                                  25
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                                                                             Appx19
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                                       IV.    CONCLUSION
                                  1
                                              For the reasons discussed above, the Court GRANTS Defendants’ Motion for Summary
                                  2
                                       Judgment, and GRANTS IN PART and DENIES IN PART the Motions to Seal.
                                  3
                                              The claim construction hearing set for November 6, 2020 is VACATED. The Court
                                  4
                                       SETS a further case management conference for November 3, 2020 to discuss the plan for
                                  5
                                       promptly resolving the remaining causes of action. The parties shall file a case management
                                  6
                                       statement, including a proposed case schedule, no later than October 27, 2020.
                                  7
                                  8
                                              IT IS SO ORDERED.
                                  9
                                       Dated: October 16, 2020
                                  10
                                                                                      ______________________________________
                                  11                                                  HAYWOOD S. GILLIAM, JR.
                                                                                      United States District Judge
                                  12
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 8
                               UNITED STATES DISTRICT COURT
 9
                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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11
   EDWARDS LIFESCIENCES                        Case No. 4:19-cv-06593 (HSG)
12 CORPORATION, a Delaware Corporation;        Hon. Haywood S. Gilliam, Jr.
   EDWARDS LIFESCIENCES LLC, a
13 Delaware Limited Liability Company,         JUDGMENT
14               Plaintiffs,

15         v.
                                               Complaint filed:   October 14, 2019
16 MERIL LIFE SCIENCES PVT. LTD., an           Trial Date:        May 9, 2022
   India private limited company; and MERIL,
17 INC., a Delaware corporation,

18               Defendants.

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 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
 2          WHEREAS Plaintiffs Edwards Lifesciences Corporation and Edwards Lifesciences LLC

 3 and Defendants Meril Life Sciences Pvt. Ltd. and Meril, Inc. have settled their dispute regarding
 4 Edwards’ claims for statutory and common law trademark infringement, unfair competition under
 5 the Lanham Act, and unfair competition under California law (See Dkt. 51, Counts VI, VII and

 6 VIII) and have stipulated to dismiss them with prejudice.
 7          GOOD CAUSE APPEARING, JUDGMENT IS HEREBY ENTERED against Plaintiffs

 8 Edwards Lifesciences Corporation and Edwards Lifesciences LLC and in favor of Defendants

 9 Meril Life Sciences Pvt. Ltd. and Meril, Inc. on Plaintiffs’ Counts I, II, III, IV, and V for Patent

10 Infringement consistent with the Court’s Order re: Summary Judgment (Dkt. 98) pursuant to 28

11 U.S.C. § 1291 and Federal Rules of Civil Procedure 54 and 58.
12
     Date: May 18, 2022
13                                              Honorable Haywood S. Gilliam, Jr.
                                                United States District Judge
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                                                 -1-                               4:19-cv-06593 (HSG)
                                         [PROPOSED] JUDGMENT


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                                                                                                   USOO6878168B2

(12) United States Patent                                                        (10) Patent No.:     US 6,878,168 B2
       Carpentier et al.                                                         (45) Date of Patent:     Apr. 12, 2005

(54) TREATMENT OF BIOPROSTHETIC TISSUES                                                        OTHER PUBLICATIONS
        TO MITIGATE POST IMPLANTATION
        CALCIFICATION                                                         Carpentier, Sophie et al., Heat Treatment Mitigates Calcifi
                                                                              cation of Vulvular Bioprostheses, Annals of Thorcic Sur
(75) Inventors: Sophie M. Carpentier, Paris (FR);                             gery, vol. 66, No. 6 suppl, Dec. 1998 pp. s264-266.*
                Alain F. Carpentier, Paris (FR)                               "Separation of glutaraldehyde and Some of its aidol conden
                                                                              sation products by hydroxylaidehyde group affinity chroma
(73) Assignee: Edwards Lifesciences Corporation,                              tography,” L. Holmquist, M. Lewin, Biochem. Bioph Meth,
                Irvine, CA (US)                                               vol. 22 (1991) pp. 321-329.
                                                                              “The impurities in commercial glutaraldehyde and their
(*) Notice: Subject to any disclaimer, the term of this                       effect on the fixation of brain.” E. A. Robertson, R. L.
                      patent is extended or adjusted under 35                 Schultz, J. Ultrastructure Research, vol. 30 (1970) pp
                      U.S.C. 154(b) by 427 days.                              275-287.
                                                                              "Weighing the choices in radiation Sterilization: Electron
(21) Appl. No.: 10/039,367                                                    -Beam and Gamma,” J. Williams, Medical Device & Diag
                                                                              nostic Industry, (Mar. 1995) pp 68–72.
(22) Filed:     Jan. 3, 2002                                                  “Continuing Improvements in Valvular Bioprostheses,” Car
(65)                  Prior Publication Data                                  pentier, et al. Journal Of Thoracic Cardiovascular Surgery,
                                                                              (Jan. 1982) pp. 27-42.
        US 2003/0125813 A1 Jul. 3, 2003
                                                                              * cited by examiner
(51) Int. Cl." ............................ D01C3/00; A61L 27/00              Primary Examiner Margaret Einsmann
(52) U.S. Cl. ........................................... 8/94.11; 600/36     (74) Attorney, Agent, or Firm-Rajiv Yaday
(58) Field of Search ............................. 8/94.11, 94.1 R,
                        8/94.15, 94.2; 600/36, 2.13, 915, 23.72               (57)                     ABSTRACT
(56)                     References Cited                                     Bioprosthetic tissues are treated by immersing or otherwise
                                                                              contacting fixed, unfixed or partially fixed tissue with a
                 U.S. PATENT DOCUMENTS                                        glutaraldehyde Solution that has previously been heat
       4,239,492 A       12/1980 Holman et al.                                treated or pH adjusted prior to its contact with the tissue. The
       4,597,762 A        7/1986 Walter et al.                                prior heat treating or pH adjustment of the glutaraldehyde
       4,713,446 A       12/1987 DeVore et al.                                Solution causes its free aldehyde concentration to decrease
       4,798,611 A        1/1989 Freeman, Jr.                                 by about 25% or more, preferably by as much as 50%, and
       4.885,005 A       12/1989 Nashef et al.                                allows a “stabilized” glutaraldehyde Solution to be obtained
       4,976,733 A       12/1990 Girardot                                     at the desired concentration and pH for an optimal fixation
       5,264.214. A      11/1993 Rhee et al.                                  of the tissue at high or low temperature. This treatment
              FOREIGN PATENT DOCUMENTS                                        results in a decrease in the tissue's propensity to calcify after
                                                                              being implanted within the body of a human or animal
EP                O O65 827 A1       12/1982                                  patient. The heat-treated or pH adjusted glutaraldehyde
EP                O 103 946 A2         3/1984                                 Solution may, in Some cases, also be used as a terminal
EP                O 103 947 A2         3/1984
EP                O 347 496 A1         6/1988
                                                                              Sterilization Solution Such that the calcification-decreasing
EP                O 347 496 B1         6/1988                                 treatment with the previously treated glutaraldehyde and a
SU                  1651890 A1         5/1991                                 terminal Sterilization may be carried out Simultaneously
WO           WO 84/O1879 A1   5/1984                                          and/or in a single container.
WO           WO 89/06945 A1   8/1989
WO           WO 96/04028 A1 * 2/1996                                                         28 Claims, 2 Drawing Sheets


                                                         PROVIDEHEAT-TREATED
                                                       STABLED GLUTARALDEHYDE



                                                         CONTACT HEAT-TREATED
                                                      GLUTARALDEHYDE WITH FIXED,
                                                        PARTIALLY FIXED OR UNFIXED
                                                                      TSSUE



                                                        STORE IN GLUTARALDEHYDE
                                                       (HEAT TREATED OR NOT) OR IN
                                                     ANOTHERSTORAGE SOLUTIONOR
                                                                CRYOPRESERVE




                                                                  Appx190
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                            FIGURE I




           PROVIDE HEAT-TREATED
        STABILIZED GLUTARALDEHYDE



              CONTACT HEAT-TREATED
       GLUTARALDEHYDE WITH FIXED,
         PARTIALLY FIXED OR UNFIXED
                               TSSUE




          STORE IN GLUTARALDEHYDE
        (HEAT TREATED OR NOT) OR IN
      ANOTHER STORAGE SOLUTION OR
            CRYOPRESERVE




                                    Appx191
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                                    FIGURE 2

   PREPARE GLUTARALDEHYDE                    HARVEST AND PREPARE TISSUE
   SOLUTION BUFFERED TO pH                     FROM ANIMAL OR HUMAN
   7.4 WITH PHOSPHATE BUFFER                         CADAVER


     HEAT GLUTARALDEHYDE                         FIXTSSUE N 0.625%
   SOLUTION TO 70°C+/- 5°C UNTL             GLUTARALDEHYTDE SOLUTION OR
         pH DROPS TO 6.3                       OTHER SUITABLE FIXATIVE


      FILTER GLUTARALDEHYDE                  RNSE FIXED TISSUE IN SALNE
             SOLUTION                                SOLUTION



                   IMMERSE FIXED TISSUE IN PRE-HEAT
                  TREATED GLUTARALDEHYDE SOLUTION
                  AND MANTAN AT 50°C+/- 5°C FOR 7 TO 10
                                     DAYS


                 RNSE GLUTARALDEHYDE TREATED TISSUE
                          IN SALNESOLUTION


                  PERFORM FIRST BIOBURDEN REDUCTION


                RINSE IN SALINE OR GLUTARALDEHYDE
                SOLUTION


                 FABRICATE AND ADD/ASSEMBLE ANY NON
                         BIOLOGICAL COMPONENTS


                 PERFORMSECOND BIOBURDEN REDUCTION


                RINSE IN SALNE OR GLUTARALDEHYDE
                SOLUTION



                    STORE IN TERMINAL GLUTARALDEHYDE
                SOLUTION AND HEAT TREAT FOR ENHANCED
                            STERILIZATION




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   TREATMENT OF BOPROSTHETIC TISSUES                               by the tissue of lipoproteins and calcium binding proteins.
     TO MITIGATE POST IMPLANTATION                                 Extrinsic calcification follows the adhesion of cells (e.g.,
             CALCIFICATION                                         platelets) to the bioprosthesis and leads to the development
                                                                   of calcium phosphate-containing Surface plaques on the
                                                                   bioprosthesis.
               FIELD OF THE INVENTION
                                                                      The factors that affect the rate at which fixed tissue
   This invention pertains generally to biomaterials and           bioprostheses undergo calcification have not been fully
more particularly to methods for mitigating the post               elucidated. However, factors thought to influence the rate of
implantation calcification of bioprosthetic materials and the      calcification include the patient's age, the existence of
bioprosthetic devices and articles produced by Such meth           metabolic disorders (i.e., hypercalcemia, diabetes, etc.),
ods.                                                               dietary factors, the presence of infection, parenteral calcium
                                                                   administration, dehydration, in Situ distortion of the biopros
         BACKGROUND OF THE INVENTION                               thesis (e.g., mechanical stress), inadequate anticoagulation
   Implantable biological tissues can be formed of human therapy during the initial period following Surgical implan
tissues preserved by freezing (i.e., cryopreserving) the So 15 tation and immunologic host-tissue responses.
called homograft tissues, or of animal tissueS preserved by        Various techniques have heretofore been proposed for
chemically fixing (i.e., tanning) the So called bioprosthesis mitigating the in Situ calcification of glutaraldehyde-fixed
(Carpentier, Biological Tissues in Heart Valve Replacement, bioprostheses or for otherwise improving the glutaraldehyde
Butterworth (1972), Ionescu editor). The type of biological fixation process. Included among these are the methods
tissues used as bioprostheses include cardiac valves, blood described in U.S. Pat. No. 4,729,139 (Nashef) entitled
vessels, Skin, dura mater, pericardium, Small intestinal Sub Selective Incorporation of a Polymer into Implantable Bio
mucosa (“SIS tissue"), ligaments and tendons. These bio logical Tissue to Inhibit Calcification; U.S. Pat. No. 4,885,
logical tissues typically contain connective tissue proteins 005 (Nashefet al.) entitled Surfactant Treatment of Implant
(i.e., collagen and elastin) that act as the Supportive frame 25 able Biological Tissue To Inhibit Calcification; U.S. Pat. No.
work of the tissue. The pliability or rigidity of each biologi 4,648,881 (Carpentier et al.) entitled Implantable Biological
cal tissue is largely determined by the relative amounts of Tissue and Process For Preparation Thereof; U.S. Pat. No.
collagen and elastin present within the tissue and/or by the 4,976,733 (Girardot) entitled Prevention of Prosthesis Cal
physical Structure and configuration of its connective tissue cification; U.S. Pat. No. 4,120,649 (Schechter) entitled
framework. Collagen is the most abundant connective tissue Transplants; U.S. Pat. No. 5,002,566 (Carpentier) entitled
protein present in most tissues. Each collagen molecule is Calcification Mitigation of Bioprosthetic Implants; EP
made up of three (3) polypeptide chains intertwined in a           103947A2 (Pollock et al.) entitled Method For Inhibiting
coiled helical configuration.                                      Mineralization of Natural Tissue During Implantation, and
   The techniques used for chemical fixation of biological U.S. Pat. No. 5,215,541 (Nashef et al.) entitled Surfactant
tissues typically involve the exposure of the biological tissue 35 Treatment of Implantable Biological Tissue to Inhibit Cal
to one or more chemical fixatives (i.e., tanning agents) that cification. Recently a new technique of calcium mitigation
form cross-linkages between the polypeptide chains within by high temperature fixation of the tissue in glutaraldehyde
a given collagen molecule (i.e., intramolecular has been developed and was described in U.S. Pat. No.
crosslinkages), or between adjacent collagen molecules (i.e., 5.931,969 (Carpentier et al.) entitled Methods And Appara
intermolecular crosslinkages).                               40 tus For Treating Biological Tissue To Mitigate Calcification.
   Examples of chemical fixative agents that have been Although Some of these techniques have proven to be
utilized to croSS-link collagenous biological tissues include:    efficient in reducing calcification, there remains a need in the
formaldehyde, glutaraldehyde, dialdehyde Starch, hexam art for further improvements of the existing techniqueS or for
ethylene diisocyanate and certain polyepoxy compounds. Of the development of new calcification-mitigating techniques
the various chemical fixatives available, glutaraldehyde has 45 to lessen the propensity for post-implantation calcification of
been the most widely used since the discovery of its anti fixed bioprosthetic tissues.
immunological and antidegenerative effects by Dr. Carpen
tier in 1968. See Carpentier, A., J. Thorac. Cardiovascular                    SUMMARY OF THE INVENTION
Surgery, 58: 467-69 (1969). In addition, glutaraldehyde is
one of the most efficient Sterilization agents. Glutaraldehyde 50 The present invention provides methods for treating tissue
is used as the fixative and the Sterilant for many commer to inhibit post implant calcification whereby fixed, unfixed
cially available bioprosthetic products, Such as porcine bio or partially fixed tissue is immersed in or otherwise con
prosthetic heart valves (e.g., the Carpentier-Edwards(E) tacted with a pre-treated glutaraldehyde Solution. In a pre
Stented porcine Bioprosthesis), bovine pericardial heart ferred embodiment of the present invention, the glutaralde
valves (e.g., Carpentier-Edwards(R) Pericardial 55 hyde Solution is heat-treated prior to its contact with the
Bioprosthesis) and Stentless porcine aortic valves (e.g., tissue. Preferably, the glutaraldehyde Solution is heated to a
Edwards PRIMA Plus(R) Stentless Aortic Bioprosthesis), all first temperature for a first period of time. The temperature
manufactured and sold by Edwards LifeSciences LLC, of the glutaraldehyde Solution is then adjusted to a Second
Irvine, Calif.                                                    temperature (preferably lower than the first temperature),
   One problem associated with the implantation of many 60 before contacting the bioprosthetic tissue.
bioprosthetic materials is that the connective tissue proteins       The first temperature to which the glutaraldehyde solution
(i.e., collagen and elastin) within these materials can become is heated is Sufficiently high, and is maintained for Suffi
calcified following implantation within the body. Such cal ciently long, to cause the free aldehyde content and pH of the
cification can result in undesirable Stiffening or degradation glutaraldehyde Solution to fall by a predetermined amount.
of the bioprosthesis. Two (2) types of calcification-intrinsic 65 Preferably, the prior heat treating of the glutaraldehyde
and extrinsic-are known to occur in fixed collagenous Solution causes the free aldehyde concentration of the Solu
bioprostheses. Intrinsic calcification follows the adsorption tion to decrease by about 25%, preferably by about 50%.



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The glutaraldehyde solution may be buffered so that the pH          The method of the present invention results in a decrease
is initially in the range of about 7.2 to 7.8, preferably about in the tissue's propensity to calcify after being implanted
7.4. After the heating has been carried out, the pH of the within the body of a human or animal patient. Prior to,
solution will typically have fallen to approximately 5.0 to concurrently with, or after undergoing treatment with the
7.0, preferably 6.0. Due to the preheating of the glutaralde pre-treated glutaraldehyde, the tissue may be chemically
hyde Solution, the Solution does not significantly change its fixed by exposing the tissue to one or more chemical
chemical characteristics when used to treat the tissue later in  fixatives or cryopreserved by freezing the tissue in accor
the procedure.                                                   dance with well known techniques.
   In a preferred embodiment, the glutaraldehyde Solution is        Further in accordance with the invention, there are pro
heated to a first temperature of at least 20° C., but preferably Vided  bioprosthetic devices or articles that are formed,
not more than 90° C. More preferably, the glutaraldehyde wholly          or partially, of tissue that has been treated in accor
                                                                 dance with the various embodiments of the method of the
solution is heated to a temperature between about 60° C. to present invention. Examples of biological tissueS of human
80 C., and most preferably about 70+5 C. The glutaral or animal origin which may be used in bioprosthetic devices
dehyde Solution may become Somewhat yellow in color or articles of the present invention include, but are not
during this heat-treatment Step. The time period during necessarily limited to: heart Valves, venous valves, blood
which the first temperature must be maintained will typically 15 vessels, ureter, tendon; dura mater, skin; pericardium; car
vary inversely with the first temperature (i.e., lower tem        tilage (e.g., meniscus); ligament, bone; intestine (e.g., intes
peratures will require a longer period of time to cause a         tinal wall); small intestinal submucosa (“SIS tissue"), and
decrease in free aldehyde content and/or a fall in pH).         perioStium.
Preferably, the glutaraldehyde is heated to the first tempera      Further in accordance with the present invention, there are
ture for a period of time between about one hour and Six provided
months, and more preferably about 1 day to 2 months. mammalianmethods                 for treating diseases and disorders of
                                                                              patients, by implanting bioprosthetic materials
Thereafter, the Solution is filtered and adjusted to a Second that have undergone the calcification mitigating treatment of
temperature before adding the tissue. Preferably, this Second the various embodiments of the method of the present
temperature may be in the range of about 30 to 70° C., invention. Such treatment methods include, but are not
preferably about 40-60 C., and more preferably about 50 25 limited to, a) the Surgical replacement of diseased heart
C.-5.
                                                                valves with bioprosthetic heart valves that have been treated
   In another embodiment of the present invention, glutaral with glutaraldehyde in accordance with the present
dehyde solution is not heat treated but the pH of the invention, b) the repair or bypassing of blood vessels by
glutaraldehyde Solution is adjusted to a pH within the range implanting biological vascular grafts that have been treated
of about 5.0 to 7.0, and preferably to about 6.0. The with glutaraldehyde in accordance with the present
pretreated glutaraldehyde Solution, whether by preheating or invention, c) the Surgical replacement or repair of torn or
pH adjustment, is then used to treat the tissue, preferably at deficient ligaments by implanting bioprosthetic ligaments
a temperature in the range of about 30 to 70° C., more that have been treated with glutaraldehyde in accordance
preferably at a temperature between about 40 to 60° C., and with the present invention and, d) the repair, reconstruction,
most preferably, at a temperature of about 50 C.t5 C. In 35 reformation, enhancement, bulking, ingrowth, reconstruc
a preferred embodiment, the tissue is treated for a period of tion or regeneration of native tissues by implanting one or
time between about one hour to Six months, and more             more biopolymeric or bioprosthetic tissue Scaffolds that
preferably for about one day to two months. For example, at have been treated with glutaraldehyde in accordance with
a temperature of about 50 C., the preferred period of time the present invention (e.g., tissue engineering with a natural
is between about 5 days to 10 days, and most preferably, for 40 tissue or biopolymeric scaffold).
about Seven dayS.                                                  Still further in accordance with this invention, the various
   The heat-treated or pH adjusted glutaraldehyde Solution embodiments          of the method of mitigating post-implantation
may, in Some cases, also be used as a terminal Sterilization calcification     of bioprosthetic tissueS offer significant advan
                                                                tages over previous practices wherein glutaraldehyde was
Solution Such that the calcification-decreasing treatment heated
with previously treated glutaraldehyde and a terminal Ster 45 allows inthethedesirable
                                                                               presence of the tissue, as the present invention
                                                                                         features of the heat treatment to be
ilization may be carried out Simultaneously with the same achieved prior to any contact between the glutaraldehyde
Solution and/or in a Single container.                          Solution and the tissue, and also allows the temperature of
   The heat-treated glutaraldehyde Solutions may also con the glutaraldehyde Solution to be lowered to about 30 to 70
tain other chemicals to enhance its efficacy, Such as Surfac C., preferably about 40 to 60° C., or most preferably at about
tants (e.g., Tween 80), alcohol (e.g., ethanol) and/or alde 50 50° C. prior to any contact with the tissue. This lessens the
hydes (e.g., formaldehyde).                                     potential for untoward or undesirable reactions to the bio
   In another embodiment of the method of the present prosthetic tissue due to exposure to high free aldehyde
invention, the tissue is heat treated in a preheated Solution concentrations and/or long term heat treatment at tempera
other than glutaraldehyde, for example, any other fixative tures above 60° C. It also allows for treatment of the tissue
Solution or a Surfactant Solution (e.g., Tween 80 with or 55 within realistic manufacturing time frames.
without ethanol and/or formaldehyde), or a physiologic              Still further in accordance with this invention, the method
Solution (e.g., Saline or a balanced Salt Solution). The pre of preheating the Solution, and/or heating the tissue, offer
heating of the Solution is carried out at a temperature better      sterilization of both the Solution and the tissue at the
between about 20 to 90° C., more preferably between about different    Stages of the manufacturing process, including the
37 and 60° C., and most preferably about 45 C., for one 60 terminal    Stage. Further aspects and advantages of the present
hour to Six months, preferably one day to two months. In the inventionart,will become apparent to those skilled in the
preheated Solution, the tissue is heat treated between about relevant       upon reading and understanding the “Descrip
30 and 70° C., and more preferably about 50° C., for about tion of Exemplary Embodiments' set forth herebelow.
one day to two months. In another embodiment, the tissue is        BRIEF DESCRIPTION OF THE DRAWINGS
heat treated in a non-preheat treated physiologic Solution 65 FIG. 1 is a flow diagram of one embodiment of the
wherein the pH has been adjusted between 5.0 and 7.0, method for mitigating calcification of a bioprosthetic
preferably 6.0.                                              material, in accordance with the present invention.



                                                       Appx194
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                            S                                                                   6
  FIG. 2 is a flow diagram of another embodiment of the           concentration may be adjusted, if desired, prior to addition
method for preparing a bioprosthetic device in accordance         of the tissue. It is believed that glutaraldehyde concentra
with the method of the present invention.                         tions of as little as 0.1% and as much as 25% or more may
                                                                  be used during the heat-treating Step. Reduced glutaralde
            DESCRIPTION OF EXEMPLARY                              hyde concentrations of 0.6% to 2.5% have, to date, been
                  EMBODIMENTS                                     Successfully obtained and used by Applicant, and those
   The following examples are provided for the purpose of         skilled in the art will recognize that higher or lower con
describing and illustrating a few exemplary embodiments of        centrations of glutaraldehyde may indeed prove to be advan
the invention only. One skilled in the art will recognize that    tageous during the heat-treating Step of the process. The
other embodiments of the invention are possible, but are not      preferred concentration for use during the heat-treating Step
described in detail here. Thus, these examples are not (FIG.         1) is 1.0-2.0%. This heat-treating of the glutaralde
                                                               hyde may be accomplished by heating of the Solution until
intended to limit the Scope of the invention in any way.
   It has previously been reported that croSS-linked bioproS the free   aldehyde content of the solution has fallen about
thetic tissue post-treated in 0.625% glutaraldehyde phos 15 25%     or more and remains stable at that level (e.g., a Solution
                                                               of 1.8% falls to about 0.6% or less). Initially, the solution
phate solution for 2 months at 50 C., with fluid movement containing glutaraldehyde may be buffered to a pH of 7.4
(e.g., Shaking), exhibited less calcification in the rat Subcu with a phosphate buffer, a non-phosphate buffer Such as a
taneous and rabbit intramuscular implant models than con HEPES buffer, or other Suitable buffered Solutions, and, in
trol cross-linked bioprosthetic tissue fixed in 0.625% glut Such cases, heating of the Solution to cause the free aldehyde
araldehyde phosphate Solution under typical conditions (i.e.,
room temperature for 1-14 days). See 66 Ann. Thoracic content          to fall will also cause the pH of the solution to fall.
                                                               In another embodiment of the present invention, rather than
Surgery 264-6 (1998). Tissues treated under these condi heat treating the glutaraldehyde Solution, the pH may be
tions exhibited a characteristic tan to brown appearance. The adjusted from 7.4 to a pH within the range of about 5.0 to
heated 0.625% glutaraldehyde phosphate solution also dark 7.0, preferably 6.0.
ened to an amber-brown color and the aldehyde concentra 25 The heat-treating of the glutaraldehyde may be accom
tion within that solution dropped to about 0.3%.               plished by any Suitable means. In this example, the glut
   Since the above publication, the Applicant has discovered araldehyde is pre-heated to and maintained at a temperature
that it is advantageous to conduct the heating Step on the between about 20–90° C., preferably between about 60°
glutaraldehyde Solution prior to its contact with the tissue.  C-80° C., and most preferably 70+5° C. for sufficient
The heat-treated glutaraldehyde may then be cooled to a period of time to cause the free aldehyde concentration to
lower temperature and the tissue may then be added to the decrease by at least 25% and to stabilize at a pH of
cooled glutaraldehyde Solution under conditions of reduced approximately 6.0 (i.e., the pH of 6.0 corresponds to a free
Severity, greater convenience, or both (e.g., shorter time,       aldehyde concentration of about 0.3-0.7%). Depending on
lower temperature, or both). By heat-treating the glutaral          the temperature used, the Step of heat treating the glutaral
dehyde Solution in the absence of the tissue, higher 35 dehyde may take anywhere from one hour to six months or
temperatures, concentrations or both can be used during the more depending on the temperature used. The preferred
heat-treating process without risking or causing any adverse method is to heat the glutaraldehyde Solution to approxi
effect on the tissue. In another embodiment, the glutaralde mately 70+5 C., for approximately 1 day to 2 months or
hyde Solution can be buffered by adjusting the pH of the until the desired fall of at least 25% or more in free aldehyde
solution to within a range of about 5.0 to 7.0, preferably 40 concentration and a pH of approximately 6.0, are observed.
about 6.0. Applicants have found that the buffered glutaral            After the heat-treatment of the glutaraldehyde has been
dehyde Solution has a similar, although slightly less, advan completed the Solution is cooled to a Second temperature
tageous effect as the heat-treated glutaraldehyde Solution.         that does not cause damage to the tissue (e.g., about 30 to
   The mechanism by which the heat-treated glutaraldehyde 70° C., preferably about 40 to 60° C., or most preferably at
mitigates post-implantation calcification is not presently 45 about 50° C.). An unfixed, partially-fixed, or fixed tissue is
known with certainty. However, Applicants postulate that then contacted with the heat-treated glutaraldehyde. Tissue
this calcification mitigating effect is due at least in part to the that has been “fully fixed” in this regard means that the
leaching of lipoproteins and calcium binding proteins and in tissue has been fixed to an extent Suitable for use as an
part to the formation of a calcification mitigating chemical implant, while “partially fixed” means that the tissue has
or moiety within the glutaraldehyde Solution that acts to 50 been fixed to some extent short of being fully fixed. This
limit or inhibit the fixation of calcium into the tissue, either    tissue treatment Step is preferably accomplished by immerS
by way of a physical barrier effect (i.e., by retarding diffu ing fixed, partially fixed or unfixed tissue in the heat-treated
Sion at the boundary layer) and/or by chemically modifying glutaraldehyde Solution while maintaining the Solution at
the Structure and the Surface charge of the tissue and thus its about 30 to 70° C., preferably about 40 to 60° C., or most
affinity to attract calcium ions. Heat-treated glutaraldehyde 55 preferably at about 50 C. It is preferable that the pH of the
can also be used to enhance Sterilization by leaving the tissue solution be left at about 6.0 prior to placement of the tissue
in the heat-treated glutaraldehyde or by heating the tissue within the solution. Thereafter, the temperature of the solu
within the previously heat treated glutaraldehyde Solution to tion is maintained at approximately 50° C. with the tissue
temperatures between about 37 and 60° C.                            immersed in the Solution to allow the heat-treated glutaral
A. General Method for Mitigating Calcification of Biopros 60 dehyde solution to interact with or modify the tissue. The
thetic Material                                                     tissues Susceptibility to post-implant calcification will be
   FIG. 1 is a flow diagram that generally illustrates one Significantly reduced after immersion for as little as one hour
embodiment of the method of the present invention. As to as much as six months or more (depending primarily on
shown in FIG. 1, the first step of the process is to heat treat the temperature used), but typically occurs within 1 to 15
glutaraldehyde solution in the absence of tissue. It will be 65 days at 50° C.
appreciated that the concentration of glutaraldehyde in the            In another embodiment of the method of the present
Starting Solution may be varied. Thereafter, the Solution invention, the tissue may be heat treated in a Surfactant



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solution (e.g., Tween 80 with or without ethanol and/or by immersing the tissue in a solution of 0.625% by weight
formaldehyde) or in a physiologic Solution (e.g. Saline or a glutaraldehyde buffered to a pH of approximately 7.4 by a
balanced salt solution) at a temperature between about 37           suitable buffer such as a phosphate buffer, for 1-14 days at
C. and 60° C., preferably about 45 C., for about one hour ambient temperature. In order to enhance fixation or Steril
to six months, preferably about one to 15 days, and then heat ization other chemical compounds Such as Surfactants (e.g.
treated in a glutaraldehyde Solution as described above.            Tween 80) and/or ethanol and/or formaldehyde can be added
    Prior to, concurrently with or after the tissue treatment to the glutaraldehyde. It will be appreciated, however, that
Step, the tissue may be cryopreserved or otherwise various                   other fixatives may be used, Such as aldehydes (e.g.,
                                                                    formaldehyde, glutaraldehyde, dialdehyde Starch) or polyg
preserved, i.e. by fixation.
B. An Example of a Method for Manufacturing a Fixed lycidylorethers                  (e.g., Denacol 810), or heterologous bifunc
Heterologous Heart Valve Bioprosthesis Having Mitigated tional                 multifunctional crosslinkers.
                                                                    Rinsing of Tissue
Propensity for Post-implantation Calcification                         After it has been removed from the fixative Solution, the
    FIG. 2 is a flow diagram of a specific process for tissue               is thoroughly rinsed with Saline Solution, basic Salt
manufacturing a bioprosthetic device, Such as a Stented or
StentleSS porcine heart Valve or bovine pericardial heart 15 Solution         or free glutaraldehyde Solution or Some other Suit
                                                                    able washing Solution.
valve of the type referred to herein. The following is a               3. Treatment of Tissue with Heat-treated Glutaraldehyde
description of the exemplary process shown in FIG. 2.               to  Mitigate Post-implantation Calcification
    1. Heat-treating of Glutaraldehyde                              Immersion of Tissue in Heat-treated Glutaraldehyde Solu
Prepare Glutaraldehyde Solution                                     tion
    Initially, an aqueous Solution of 1.8% by weight glutaral          After the fixed tissue has been rinsed, it is treated with the
dehyde is prepared in a clean, inert vessel (e.g., a vessel pre-heat            treated glutaraldehyde Solution. The pre-heat
made of stainless Steel, plastic or borosilicate glass) and Such
solution is then buffered to the pH of a approximately 7.4 by treated        glutaraldehyde Solution is placed in a vessel Such as
                                                                    a stainleSS Steel bath, cooled to and maintained at preferably
adding phosphate buffered Saline Solution.                          50°  C.t5 C. The fixed/rinsed tissue is then immersed in the
Preheat Glutaraldehyde Solution in Absence of Tissue             25
                                                                    heat-treated    glutaraldehyde Solution and the Solution is
   The glutaraldehyde in the solution is then preheated. Such
preheating of the glutaraldehyde is accomplished by heating continually            maintained at 50° C.t5 C. with the tissue
                                                                    immersed in the Solution with or without fluid movement.
of the solution to about 70° C.t5 C. and maintaining such The tissue's Susceptibility to post-implant calcification will
temperature until the pH of the Solution falls to approxi be significantly reduced after immersion for as little as one
mately 6.0. At this point, the color of the solution can be
colorless to golden or brown. The fall of the solution pH to hour         to as much as six months or more (depending primarily
6.0 and the accompanying change in color to golden or days attemperature
                                                                    on  the                used), but typically occurs within 6 to 8
brown indicates that the preheating treatment has been Solution. The tissue is typicallythebrown
                                                                             50   C.t5.   Thereafter,     tissue is removed from the
                                                                                                                 in color at this time.
completed. This preheating Step is typically completed after Rinsing of Tissue
1-14 days, preferably 6-8 days, of maintaining the Solution 35 After it has been removed from the heat-treated glutaral
at the 70+5 C. temperature. Higher temperatures ranging
up to approximately 90° C. may be used, and the use of such dehyde           Solution, the tissue is thoroughly rinsed with Saline
higher temperatures will typically Speed the desired fall in Solution,
                                                                    Solution.
                                                                               basic Salt Solution or Some other Suitable Washing
free aldehyde concentration and accompanying change in                 4. Poststerilization, Assembly/Fabrication and Storage of
pH (e.g., a Solution having a starting pH adjusted to 7.4 will 40 Bioprosthesis
fall to a pH of about 6.0 after approximately 1-3 days at 90
C.). Lower temperatures, ranging downward to approxi First                 Bioburden Reduction (BREPI)
                                                                       After the tissue has been fixed, treated with the heat
mately 20 C., may also be used, and the use of such lower treated glutaraldehyde and rinsed, it is Subjected to a first
temperatures will typically cause the desired free aldehyde bioburden             reduction treatment immersed in or otherwise
content and pH changes to take longer. After the heat 45 contacted with a mixture containing i) a crosslinking agent,
treatment of the Solution has been carried out the Solution is
filtered.                                                           ii) a denaturing agent and iii) a Surfactant (i.e., a CDS
Optional Neutralization of pH of Heat-treated Glutaralde solution).              One preferred CDS solution (described in U.S.
                                                                    Pat. No. 4.885,005 and U.S. Pat. No. 4,648,881) is a mixture
hyde Solution                                                       of i) formaldehyde, ii) ethanol and ii) Surfactant (e.g., Tween
   After the glutaraldehyde has been heat-treated, the Solu 50 80TM        Surfactant, available from ICI Americas, Brantford,
tion is allowed to cool to about 50 C. and its pH may be Ontario).             Such preferred CDS solution may also be referred
adjusted at Step 24 back to approximately 7.4 by adding to by the acronym                  “FETS' and has a preferred formulation
phosphate buffered saline or some other suitable buffer.            as follows:
   2. Harvesting, Preparation and Fixation of Tissue:
Harvesting/Preparation of Biological Tissue                      55
   The desired biological tissue is harvested from a human
cadaver or animal donor, and prepared for Subsequent fixa                    Formaldehyde               4.0 + 0.4% by weight
tion and treatment. The tissue is typically harvested by                     Ethanol                   22.0 + 2.2% by weight
                                                                             Tween 8O                   1.2 + 0.2% by weight
Surgical cutting or removal from its host animal. Thereafter,
it is typically trimmed or cut to Size and washed with Sterile 60
water, basic Salt Solution, Saline or other Suitable washing The tissue is preferably immersed in the CDS solution for 2
Solution.                                                           hours to 7 days and typically about 2 hours. During this
Fixation of Biological Tissue                                       immersion period, the CDS Solution is maintained at a
   The biological tissue may be fixed prior to, during or after temperature of 4-50 C., and preferably at about 20-37 C.
its treatment with the heat-treated glutaraldehyde. In this 65 Those skilled in the art will appreciate that various
example, the tissue is fixed prior to undergoing the treatment alternative chemical compounds or Solutions may be Sub
with heat-treated glutaraldehyde. This fixation is carried out stituted for each component of the CDS solution, as follows:



                                                           Appx196
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                                                   US 6,878,168 B2
                                                                                             10
Potential Alternative Crosslinking Agents                         mechanical ventricular assist devices (e.g., the Novacor
A. Aldehyde S: formaldehyde, glutaraldehyde,                      N-100PC model), all available from Edwards Lifesciences
   paraformaldehyde, glyceraldehyde, glyoxal acetaldehyde         LLC, Irvine, Calif.
  or acrolein                                                     Second Bioburden Reduction (BREP II)
B. Epoxides: any of the various Denacols and their indi              After the bioprosthesis has been fabricated and assembled
  vidual reactive species, including mono, di, tri, and multi     it is Subjected to a Second bioburden reduction that is
  functionalized epoxides                                         essentially a repeat of the first bioburden reduction described
C. Carbodiimides                                                  above, however, in this Second bioburden reduction Step, the
D. Mixed multifunctional molecules (e.g. aldehyde-epoxide         solution is preferably maintained at about 37 C. for
  combination)                                                    approximately 2 hours to 10 days, preferably about 9 hours.
Potential Alternative Denaturing Agents                           Terminal Heating and Storage
A. Alcohols/Solvents: e.g., ethanol, isopropyl alcohol               After completion of the second bioburden reduction, the
B. Acidified Ethers: e.g., Sulfuric acid/ether mixture,
                                                                 tissue (or bioprosthesis) is rinsed with a Suitable rinsing
  acetone, ethers of Small alkyl size (methyl, ethyl, etc. but solution   (such as isotonic saline or 0.625% glutaraldehyde
                                                                 Solution) and then placed in a terminal Solution for Storage
  probably not beyond butyl)                                  15
                                                                 and Sterilization. The preferred terminal Solution is a glut
C. Ketones: e.g., methyl ethyl ketone (MEK)                      araldehyde Solution having a concentration of about 0.2 to
D. Commercial Solvent Systems: e.g., Genesolve TM (Allied 1.0% by weight glutaraldehyde, and most preferably about
  Signal, Inc., Morristown, N.J.)                                0.625% by weight glutaraldehyde. This solution has a strong
E. Glycols: glycerol ethylene glycol, polyethylene glycol,        Sterilizing effect that can be enhanced by a terminal heating
   low molecular weight carbowax                                  of the Solution.
F. Chaotropic Agents: e.g., urea, guanidine hydrochloride,           In this terminal Sterilization step, the tissue (or
   guanidine thiocyanate, potassium iodide                        bioprosthesis) is immersed in or contacted with the terminal
G. High Concentration Salt Solutions: e.g., lithium chloride,    Solution and heated for a period of time Sufficient to ensure
  Sodium chloride, cesium chloride.                              sterility of the bioprosthesis until the time of implantation.
Potential Alternative Surfactants                             25 The period of heating varies depending upon the tempera
(these Surfactant compounds can be used individually or in periodture utilized, i.e., the lower the temperature the longer the
mixtures Such as deoxycholate/Triton or commercially                      of time. For example, from 1 or 2 hours to 1 month
available mixtures such as Micro-80/90.)                         for temperatures between about 50° C. and 20° C., respec
A. Anionic Surfactants: e.g., esters of lauric acid, including tively.   Preferably, the period of time is 1 to 6 days at 37 C.
   but not limited to sodium laurel sulfate (also called or         6 hours to 2 days at 50 C., but one of skill in the art will
                                                                 recognize that these temperature or time values can be
   Sodium dodecyl Sulfate)
B. Alkyl sulfonic acid salts: e.g., 1-decanesulfonic acid modified  In order
                                                                            within the scope of the invention.
                                                                              to avoid additional transfer and manipulation, the
   Sodium Salt                                                   terminal heating is preferably carried out in the Sealed
C. Non-ionic compounds: e.g., compounds based on the Storage container or package in which the bioprosthesis will
   polyoxyethylene ether structures, including Triton X-100, 35 be shipped and stored until the time of implantation. The
  114, 405, N-101 (available commercially from Sigma              tissue (or bioprosthesis) is aseptically deposited in the
  Chemical, St. Louis, Mo.) and related structures; Pluronic      storage container that has been pre-filled with the 0.625%
  and Tetronic Surfactants (available commercially from           glutaraldehyde acqueous solution buffered to a pH of 7.4 with
  BASF Chemicals, Mount Olive, N.J.)                              Sodium hydroxide, Such that the tissue (or bioprosthesis) is
D. Alkylated Phenoxypolyethoxy Alcohols: e.g., NP40, 40 fully immersed in the buffered glutaraldehyde solution.
  Nonidet P40, Igepal, CA630, hydrolyzed/functionalized Thereafter, the container is Sealed and placed at room
  animal and plant compounds including Tween 80, Tween temperature for at least 7 days, or in an oven at 37 C. for
  20, octyl-derivatives, octyl b-glucoside, octyl 24 hours, or at 50° C. for 6 hours to enhance the sterilization
  b-thioglucopyranoside, deoxycholate and derivatives power of glutaraldehyde. Thereafter, the container is cooled
  thereof, Zwitterionic compounds, 3-(cholamidopropyl 45 to room temperature and shipped to the hospital or other
  dimethyl amino)-1-propanesulfonate (CHAPS),                     location(s) where it is stored until the time of use of the
  3-(cholamidopropyl)-dimethyl amino)-2-hydroxy-1-                bioprosthesis.
  propanesulfonate (CHAPSO) (available from Pierce Bio               In another embodiment, the terminal heating is carried out
  tec Company, Rockford, Ill.).                                   before placing the tissue or bioprosthesis in the Storage
Fabrication/Assembly                                          50 container.
   After the first bioburden reduction has been completed,          In Some cases, glutaraldehyde that has been heat-treated
the tissue maybe again rinsed with a Suitable rinsing Solution in accordance with this invention may be used as the
Such as isotonic Saline or 0.625% glutaraldehyde and trans terminal Solution and, in Such cases, it may be possible to
ported into a clean room or aseptic environment. Thereafter, Shorten or completely eliminate the previous Step of immerS
the tissue may be further trimmed or shaped (if necessary) 55 ing the tissue in previously heat-treated glutaraldehyde,
and attached to or assembled with any non-biological com opting instead to accomplish Some or all of the treatment of
ponents (e.g., Stents, frames, Suture rings, conduits, Seg the tissue by heat-treated glutaraldehyde until the last Step of
ments of polyester mesh to prevent Suture tear-through, etc.) Storage, i.e., concurrently with the terminal Sterilization Step.
to form the desired bioprosthetic device. Examples of bio          While the foregoing is a complete description of the
prosthetic devices that are assembled of both biological 60 preferred embodiments of the invention, Various
tissue and non-biological components include Stented por alternatives, modifications, and equivalents may be used.
cine bioprosthetic heart valves (e.g., the Carpentier Moreover, it will be obvious that certain other modifications
Edwards(R Bioprosthesis), and bovine pericardial heart may be practiced within the Scope of the appended claims.
valves (e.g., Carpentier-Edwards(R) Pericardial                 What is claimed is:
Bioprosthesis), Stentless porcine aortic valves that incorpo 65 1. A method for mitigating post-implantation calcification
rate fabric reinforcements (e.g., Edwards PRIMA Plus(R) of a bioprosthetic material, Said method comprising the Steps
Stentless Aortic Bioprosthesis), and conduit valves for bio of:



                                                        Appx197
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                                                    US 6,878,168 B2
                             11                                                            12
  (a) heating a glutaraldehyde Solution having a pH of             thereafter immersing the tissue in the glutaraldehyde
     between 7.2-7.8 to a first temperature above 20° C. for          Solution in Step (c) while maintaining the temperature
     a first period of time of at least one hour until the pH         of the solution in the range of about 40 C. to 60° C. for
     of the glutaraldehyde Solution has been reduced to                about 1 day to two months.
    between 5-7, and                                                15. A method according to claim 14 further comprising
  (c) contacting a quantity of biological tissue that contains   the Step of Subjecting the tissue to a bioburden reduction
     connective tissue protein with the pH-reduced glutaral      proceSS.
     dehyde Solution for a Second period of time of at least        16. A method according to claim 15 wherein the step of
     one hour.
  2. A method according to claim 1, wherein the first            Subjecting the tissue to a bioburden reduction process com
temperature is maintained for a period of time until the         prises contacting the tissue with a bioburden reduction
glutaraldehyde Solution further exhibits                         Solution containing a Surfactant, an aldehyde and an alcohol.
  a decrease of about 25% or more in the free aldehyde              17. A method according to claim 16 wherein the biobur
      content of the Solution.                                   den  reduction Solution comprises:
   3. A method according to claim 2 wherein the first 15 Formaldehyde 2-10% by weight;
temperature is no more than about 90° C.                            Ethanol 10-45% by weight; and,
   4. A method according to claim 2 wherein the first               Tween 80 (polyoxyethylene (20) Sorbitan monooleate)
temperature is about 60-80 C.                                          0.1-10% by weight.
   5. A method according to claim 2 wherein the first               18. A method according to claim 1, wherein the first
temperature is about 70+5 C.                                     temperature is maintained for a period of time until the pH
   6. A method according to claim 2 further including the of        the glutaraldehyde Solution has been reduced to 6.0.
Step of                                                             19. A method according to claim 18, wherein the pH of the
   (b) prior to step (c), adjusting the temperature of the glutaraldehyde Solution is initially about 7.4.
      glutaraldehyde Solution to a Second temperature leSS 25 20. A method according to claim 1, wherein the first
      than the first temperature.                                temperature is maintained for a period of time until the pH
   7. A method according to claim 6 wherein the Second of            the glutaraldehyde Solution has been reduced by about
temperature is about 30–70 C.
   8. A method according to claim 6 wherein the Second 20%.        21. A method according to claim 20, wherein the pH of the
temperature is about 40-60 C.                                    glutaraldehyde  Solution is initially about 7.4.
   9. A method according to claim 6 wherein the second
temperature is about 50+5 C.                                       22. A method according to claim 1 wherein the first period
   10. A method according to claim 1 wherein the second of time is one hour to six months.
temperature is between about 40-60 C.                              23. A method according to claim 22 wherein the first
   11. A method according to claim 1 wherein the tissue is 35 period of time is one day to two months.
fully fixed prior to the performance of Step (c).                  24. A method according to claim 22 wherein the first
   12. A method according to claim 11 wherein the tissue is period of time is 1-14 dayS.
fixed by immersing the tissue in a Solution of glutaraldehyde      25. A method according to claim 22 wherein the first
for 1-14 days.                                                   period of time is 6-8 days.
   13. A method according to claim 1 wherein the glutaral 40 26. A method according to claim 22 wherein the Second
dehyde Solution in Step (c) is moving relative to the tissue. period of time is shorter than the first period of time.
   14. A method according to claim 1 wherein the method            27. A method according to claim 22 wherein the Second
comprises:                                                       period of time is between 1 to 15 days.
   preparing a Solution of 0.1-25% by weight glutaralde            28. A method according to claim 27 wherein the second
      hyde;                                                   45 period of time is between 6 to 8 days.
   heating the glutaraldehyde solution to about 20-90° C. in
     Step (a); and                                                                     k   k   k   k   k




                                                        Appx198
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                                                                      TOMMUNO UNA NUO 10METARA
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                                                                                                US010053256B2

(12) United States Patent                                                 (10) Patent No.: US 10 ,053,256 B2
     Carpentier et al.                                                    (45) Date of Patent:                           Aug. 21, 2018
(54 ) TREATMENT OF BIOPROSTHETIC TISSUES                               (58 ) Field of Classification Search
      TO MITIGATE POST IMPLANTATION                                          CPC ............. A61L 27/3683 ; A61L 27 /3687; A61L
      CALCIFICATION                                                                        27 /3691; A61L 27 /3604 ; A61L 2400 /02;
                                                                                                                       B65B 63 /08
(71 ) Applicant: Edwards Lifesciences Corporation ,                          See application file for complete search history.
                  Irvine, CA (US )                                     (56 )                 References Cited
(72 ) Inventors: Sophie M . Carpentier , Paris (FR );
Ê                                                                                    U . S. PATENT DOCUMENTS
                  Alain F . Carpentier, Paris (FR )                          5 ,931, 969 A *      8/ 1999 Carpentier et al. ............ 8 /94 . 11
                                                                             6 , 203,755 B1 *     3 / 2001 Odland                ... ..... .... 422 / 22
( 73 ) Assignee : Edwards Lifesciences Corporation ,                     2001/0032024 Al * 10 /2001 Cunanan et al. .......... 623/23.72
                  Irvine , CA (US)
                                                                                    FOREIGN PATENT DOCUMENTS
( * ) Notice : Subject to any disclaimer, the term of this
                  patent is extended or adjusted under 35              W O              96 /004028 AL         2 /1996
                  U .S .C . 154 (b ) by 175 days.
                                                                                          OTHER PUBLICATIONS
(21) Appl.No.: 14/158,667                                              S . Carpentier et al., “ Annals of Thoracic Surgery ” , vol. 66 , No. 6
(22 ) Filed :    Jan . 17, 2014                                        Suppl., S264 -266 ( 1998 ), XP002243892 .
(65 )              Prior Publication Data                              * cited by examiner
      US 2014 /0130456 A1 May 15 , 2014                                Primary Examiner — Amina S Khan
                                                                       (74 ) Attorney, Agent, or Firm — Michelle C . Kim ; Darren
                                                                       M . Franklin ; Pui Tong Ho
              Related U . S . Application Data                         (57)                    ABSTRACT
(60 ) Continuation of application No. 13 /352 ,027, filed on           Bioprosthetic tissues are treated by immersing or otherwise
      Jan . 17 , 2012 , now Pat. No. 8,632,608 , which is a            contacting fixed , unfixed or partially fixed tissue with a
      continuation of application No. 10 / 992, 563 , filed on          glutaraldehyde solution that has previously been heat
      Nov . 18 , 2004 , now abandoned , which is a division of         treated or pH adjusted prior to its contact with the tissue . The
      application No. 10 /039,367, filed on Jan . 3, 2002,             prior heat treating or pH adjustment of the glutaraldehyde
      now Pat. No . 6 ,878 , 168.                                      solution causes its free aldehyde concentration to decrease
                                                                       by about 25 % or more , preferably by as much as 50 % , and
(51) A61L
     Int. CI27136
             .                                                         allows a “ stabilized ” glutaraldehyde solution to be obtained
                                ( 2006 .01)                            at the desired concentration and pH for an optimal fixation
      B65B 63 /08               ( 2006 .01 )                           of the tissue at high or low temperature. This treatment
(52 ) U .S . CI.                                                       results in a decrease in the tissue's propensity to calcify after
      CPC ...... ... B65B 63/08 (2013 .01); A6IL 27/3604               being implanted within the body of a human or animal
                   ( 2013 .01); A6IL 27 /3687 (2013 .01 ); A61L        patient.
                                               2400 /02 (2013 .01 )                 20 Claims, 2 Drawing Sheets




                                                             Appx199
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                           PROVIDE HEAT- TREATED
                        STABILIZED GLUTARALDEHYDE


                                CONTACT HEAT- TREATED
                       GLUTARALDEHYDE WITH FIXED ,
                        PARTIALLY FIXED OR UNFIXED
                                       TISSUE

                  -    PIDODO           m       e   rcedementom   .

                           STORE IN GLUTARALDEHYDE
                          (HEAT TREATED OR NOT OR IN
                      ANOTHER STORAGE SOLUTION OR
                                   CRYOPRESERVE




                                      Appx200
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   atent                  Aug. 21, 2018              Sheet 2 of 2                           US 10,053,256 B2
                                                   FIGURE 2
        G   lowww   ..      .   . ..   .
                                                                                             WWW          .       HANDLER

PREPARE GLUTARALDEHYDE                                    HARVEST AND PREPARE TISSUE
SOLUTION BUFFERED TO PH                                                 FROM ANIMAL OR HUMAN
7 . 4 WITH PHOSPHATE BUFFER                                                        CADAVER
                          IP                              P        O     SODICA


  HEAT GLUTARALDEHYDE                                                        FLX TISSUE IN 0 .625 %
SOLUTION TO 70°C + /- 5°C UNTIL                               GLUTARALDEHYDE SOLUTION OR
       PH DROPS TO 6 .3                                            OTHER SUITABLE FIXATIVE

                                                                                                              A        NAVAL


   FILTER GLUTARALDEHYDE                                         RINSE FIXED TISSUE IN SALINE
           SOLUTION                                                               SOLUTION
                                                                                                   TITE           h         as




                           IMMERSE FLXED TISSUE IN PRE-HEAT
                          TREATED GLUTARALDEHYDE SOLUTION
                          AND MAINTAIN AT 50°C - 5°C FOR 7 TO 10
                                                   DAYS
                          wwwwww




                         RINSE GLUTARALDEHYDE TREATED TISSUE
                                             IN SALINE SOLUTION

                          PERFORM FIRST BIOBURDEN REDUCTION
                                                              TELARNA                ULID


                    RINSE IN SALINE OR GLUTARALDEHYDE
                         SOLUTION


                         FABRICATE AND ADD /ASSEMBLE ANY NON
                                           BIOLOGICAL COMPONENTS

                         PERFORM SECOND BIOBURDEN REDUCTION


                     RINSE IN SALINE OR GLUTARALDEHYDE
                     SOLUTION

                           STORE IN TERMINAL GLUTARALDEHYDE
                         SOLUTION AND HEAT TREAT FOR ENHANCED
                                                STERILIZATION



                                                 Appx201
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                                                       US 10 ,053,256 B2
    TREATMENT OF BIOPROSTHETIC TISSUES                                   PRIMA Plus® Stentless Aortic Bioprosthesis ), all manufac
      TO MITIGATE POST IMPLANTATION                                      tured and sold by Edwards Lifesciences LLC , Irvine , Calif.
              CALCIFICATION                                                One problem associated with the implantation of many
                                                                        bioprosthetic materials is that the connective tissue proteins
                 RELATED APPLICATIONS                                 5 (i. e ., collagen and elastin ) within these materials can become
                                                                        calcified following implantation within the body. Such cal
    The present application is a continuation of U . S . patent cification can result in undesirable stiffening or degradation
application Ser. No . 13 /352 ,027 , filed Jan . 17 , 2012 now of the bioprosthesis . Two ( 2 ) types of calcification — intrinsic
U . S . Pat. No. 8,632 ,608 , which is a continuation of U .S4 . 10 and  extrinsic — are known to occur in fixed collagenous
                                                                    bioprostheses. Intrinsic calcification follows the adsorption
patent application Ser. No. 10 /992,563 , filed Nov . 18 , 2004,        by the tissue of lipoproteins and calcium binding proteins.
now abandoned , which is a divisional of U .S . patent appli
cation Ser. No. 10 /039, 367, filed Jan . 3 , 2002, now U .S . Pat.      Extrinsic calcification follows the adhesion of cells ( e. g .,
                                                                         platelets ) to the bioprosthesis and leads to the development
No . 6 ,878 , 168 , all of which are expressly incorporated              of calcium phosphate containing surface plaques on the
herein by reference .                                                 15 bioprosthesis .
              FIELD OF THE INVENTION                                        The factors that affect the rate at which fixed tissue
                                                                         bioprostheses undergo calcification have not been fully
   This invention pertains generally to biomaterials and           elucidated .However, factors thought to influence the rate of
                                                                   calcification include the patient' s age , the existence of
more particularly to methods for mitigating the post -implan - 20 metabolic disorders (ie. hypercalcemia . diabetes, etc . ).
tation calcification of bioprosthetic materials and the bio dietary factors , the presence of infection, parenteral calcium
prosthetic devices and articles produced by such methods.                administration , dehydration , in situ distortion of the biopros
                                                                         thesis ( e . g ., mechanical stress ), inadequate anticoagulation
          BACKGROUND OF THE INVENTION                           therapy during the initial period following surgical implan
                                                             25 tation and immunologic host -tissue responses.
   Implantable biological tissues can be formed of human           Various techniques have heretofore been proposed for
tissues preserved by freezing (i.e ., cryopreserving ) the so mitigating the in situ calcification of glutaraldehyde -fixed
called homograft tissues, or of animal tissues preserved by              bioprostheses or for otherwise improving the glutaraldehyde
chemically fixing (i.e ., tanning) the so called bioprosthesis           fixation process . Included among these are the methods
(Carpentier, Biological Tissues in Heart Valve Replacement, 30 described in U . S . Pat. No . 4,729,139 (Nashef) entitled
Butterworth ( 1972), Ionescu editor ). The type of biological            Selective Incorporation of a Polymer into Implantable Bio
tissues used as bioprostheses include cardiac valves, blood              logical Tissue to Inhibit Calcification ; U .S . Pat. No . 4 ,885 ,
vessels, skin , dura mater, pericardium , small intestinal sub    005 (Nashef et al.) entitled Surfactant Treatment of Implant
mucosa (" SIS tissue ” ), ligaments and tendons . These bio -     able Biological Tissue To Inhibit Calcification ; U . S . Pat. No .
logical tissues typically contain connective tissue proteins 35 4 ,648,881 (Carpentier et al.) entitled Implantable Biological
(i.e ., collagen and elastin ) that act as the supportive frame-  Tissue and Process For Preparation Thereof ; U . S . Pat. No .
work of the tissue . The pliability or rigidity of each biologi - 4 , 976 ,733 (Girardot) entitled Prevention of Prosthesis Cal
cal tissue is largely determined by the relative amounts of              cification ; U .S . Pat. No. 4 ,120,649 (Schechter) entitled
collagen and elastin present within the tissue and /or by the    Transplants; U . S . Pat. No . 5 ,002,566 (Carpentier ) entitled
physical structure and configuration of its connective tissue 40 Calcification Mitigation of Bioprosthetic Implants; EP
framework . Collagen is the most abundant connective tissue              103947A2 ( Pollock et al.) entitled Method For Inhibiting
protein present in most tissues . Each collagen molecule is             Mineralization of Natural Tissue During Implantation , and
made up of three (3 ) polypeptide chains intertwined in a                U .S . Pat. No. 5,215 ,541 (Nashef et al.) entitled Surfactant
coiled helical configuration .                                           Treatment of Implantable Biological Tissue to Inhibit Cal
   The techniques used for chemical fixation of biological 45 cification. Recently a new technique of calcium mitigation
tissues typically involve the exposure of the biologicaltissue           by high temperature fixation of the tissue in glutaraldehyde
to one or more chemical fixatives (i.e ., tanning agents ) that          has been developed and was described in U . S . Pat. No .
form cross - linkages between the polypeptide chains within              5, 931, 969 (Carpentier et al.) entitled Methods And Appara
a given collagen molecule (i. e., intramolecular crosslink -             tus For Treating Biological Tissue To Mitigate Calcification .
ages), or between adjacent collagen molecules (i.e., inter- 50 Although some of these techniques have proven to be
molecular crosslinkages ).                                               efficient in reducing calcification , there remains a need in the
   Examples of chemical fixative agents that have been                   art for further improvements of the existing techniques or for
utilized to crosslink collagenous biological tissues include :           the development of new calcification -mitigating techniques
formaldehyde , glutaraldehyde, dialdehyde starch , hexam      to lessen the propensity for post- implantation calcification of
ethylene diisocyanate and certain polyepoxy compounds. Of 55 fixed bioprosthetic tissues.
the various chemical fixatives available , glutaraldehyde has
been the most widely used since the discovery of its anti                            SUMMARY OF THE INVENTION
immunological and antidegenerative effects by Dr. Carpen
tier in 1968 . See Carpentier, A ., J. Thorac. Cardiovascular       The present invention provides methods for treating tissue
Surgery , 58 : 467-69 (1969). In addition , glutaraldehyde is 60 to inhibit post implant calcification whereby fixed , unfixed
one of the most efficient sterilization agents . Glutaraldehyde          or partially fixed tissue is immersed in or otherwise con
is used as the fixative and the sterilant for many commer -              tacted with a pre -treated glutaraldehyde solution . In a pre
cially available bioprosthetic products , such as porcine bio -          ferred embodiment of the present invention , the glutaralde
prosthetic heart valves ( e . g ., the Carpentier -Edwards               hyde solution is heat -treated prior to its contact with the
stented porcine Bioprosthesis), bovine pericardial heart 65 tissue. Preferably, the glutaraldehyde solution is heated to a
valves ( e . g ., Carpentier - Edwards® Pericardial Bioprosthe           first temperature for a first period of time. The temperature
sis ) and stentless porcine aortic valves (e .g ., Edwards               of the glutaraldehyde solution is then adjusted to a second



                                                            Appx202
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temperature (preferably lower than the first temperature ),           heating of the solution is carried out at a temperature
before contacting the bioprosthetic tissue .                         between about 20° C . to 90° C ., more preferably between
   The first temperature to which the glutaraldehyde solution        about 37° C . and 60° C ., and most preferably about 45° C .,
is heated is sufficiently high , and is maintained for suffi -        for one hour to six months, preferably one day to two
ciently long, to cause the free aldehyde content and pH of the 5 months . In the preheated solution , the tissue is heat treated
glutaraldehyde solution to fall by a predetermined amount.            between about 30° C . and 70° C ., and more preferably about
Preferably, the prior heat treating of the glutaraldehyde             50° C ., for about one day to two months. In another
solution causes the free aldehyde concentration of the solu           embodiment, the tissue is heat treated in a nonpreheat treated
tion to decrease by about 25 % , preferably by about 50 % . physiologic            solution wherein the pH has been adjusted
 The glutaraldehyde solution may be buffered so that the pH 10
is initially in the range of about 7 .2 to 7 . S , preferably about U between 5 .0 and 7.0 , preferably 6 .0 .
7 . 4 . After the heating has been carried out, the pH of the            The method of the present invention results in a decrease
solution will typically have fallen to approximately 5 . 0 to         in the tissue 's propensity to calcify after being implanted
7 .0 , preferably 6 . 0 . Due to the preheating of the glutaralde     within the body of a human or animal patient. Prior to ,
hyde solution , the solution does not significantly changeInge its
                                                               its 15 concurrently with
                                                                   15 concurrently   with ,, or
                                                                                             or after
                                                                                                alter undergoing treatment with
                                                                                                      undergoing treatment      the
                                                                                                                           with me
chemical characteristics when used to treat the tissue later in       pre - treated glutaraldehyde, the tissue may be chemically
the procedure .                                                   fixed by exposing the tissue to one or more chemical
   In a preferred embodiment, the glutaraldehyde solution is fixatives or cryopreserved by freezing the tissue in accor
heated to a first temperature of at least 20° C ., but preferably dance with well known techniques .
not more than 90° C . More preferably , the glutaraldehyde 20 Further in accordance with the invention , there are pro
solution is heated to a temperature between about 60° C . to      vided bioprosthetic devices or articles that are formed ,
SO° C ., and most preferably about 70° C . -5° C . The               wholly or partially , of tissue that has been treated in accor
glutaraldehyde solution may become somewhat yellow in                dance with the various embodiments of the method of the
color during this heat -treatment step . The timeperiod during        present invention . Examples of biological tissues of human
which the first temperature mustbemaintained will typically 25 or animal origin which may be used in bioprosthetic devices
vary inversely with the first temperature (Le., lower tem -           or articles of the present invention include , but are not
peratures will require a longer period of time to cause a             necessarily limited to : heart valves; venous valves ; blood
decrease in free aldehyde content and/ or a fall in pH ) .            vessels; ureter ; tendon ; dura mater; skin ; pericardium ; car
Preferably , the glutaraldehyde is heated to the first tempera -      tilage ( e .g ., meniscus); ligament; bone; intestine ( e .g ., intes
ture for a period of time between about one hour and six 30 tinal wall ); small intestinal submucosa (“ SIS tissue” ), and
months, and more preferably about 1 day to 2 months . periostium .
 Thereafter, the solution is filtered and adjusted to a second  Further in accordance with the present invention , there are
temperature before adding the tissue. Preferably, this second provided methods for treating diseases and disorders of
temperature may be in the range of about 30° C . to 70° C ., mammalian patients , by implanting bioprosthetic materials
preferably about 40 -60° C ., and more preferably about 50° 35 that have undergone the calcification mitigating treatment of
C . + 5° C .                                                   the various embodiments of the method of the present
   In another embodiment of the present invention , glutar -          invention . Such treatment methods include , but are not
aldehyde solution is not heat treated but the pH of the               limited to , a ) the surgical replacement of diseased heart
glutaraldehyde solution is adjusted to a pH within the range          valves with bioprosthetic heart valves that have been treated
of about 5 .0 to 7 . 0 , and preferably to about 6 . 0 . The 40 with glutaraldehyde in accordance with the present inven
pretreated glutaraldehyde solution , whether by preheating or        tion , b ) the repair or bypassing of blood vessels by implant
pH adjustment, is then used to treat the tissue, preferably at       i ng biological vascular grafts that have been treated with
a temperature in the range of about 30° C . to 70° C ., more           glutaraldehyde in accordance with the present invention , c )
preferably at a temperature between about 40° C . to 60° C .,         the surgical replacement or repair of torn or deficient liga
and most preferably , at a temperature of about 50° C . - 5° C . 45 ments by implanting bioprosthetic ligaments that have been
In a preferred embodiment, the tissue is treated for a period       treated with glutaraldehyde in accordance with the present
of time between about one hour to six months, and more                invention and , d ) the repair, reconstruction , reformation ,
preferably for about one day to two months . For example , at         enhancement, bulking , ingrowth , reconstruction or regen
a temperature of about 50° C ., the preferred period of time          eration of native tissues by implanting one or more biopoly
is between about 5 days to 10 days, and most preferably , for 50 meric or bioprosthetic tissue scaffolds that have been treated
about seven days .                                                   with glutaraldehyde in accordance with the present inven
   The heat- treated or pH adjusted glutaraldehyde solution           tion (e. g ., tissue engineering with a natural tissue or biopoly
may, in some cases, also be used as a terminal sterilization         meric scaffold ) .
solution such that the calcification -decreasing treatment              Still further in accordance with this invention , the various
with previously treated glutaraldehyde and a terminal ster - 55 embodiments of the method of mitigating post -implantation
ilization may be carried out simultaneously with the same       calcification of bioprosthetic tissues offer significant advan
solution and/ or in a single container.                               tages over previous practices wherein glutaraldehyde was
    The heat-treated glutaraldehyde solutions may also con -         heated in the presence of the tissue , as the present invention
tain other chemicals to enhance its efficacy , such as surfac -      allows the desirable features of the heat treatment to be
tants ( e . g ., Tween® 80 ), alcohol ( e . g ., ethanol) and / or alde- 60 achieved prior to any contact between the glutaraldehyde
hydes (e. g ., formaldehyde ).                                              solution and the tissue, and also allows the temperature of
   In another embodiment of the method of the present                 the glutaraldehyde solution to be lowered to about 30° C . to
invention , the tissue is heat treated in a preheated solution        70° C ., preferably about 40° C . to 60° C ., ormost preferably
other than glutaraldehyde , for example , any other fixative          at about 50° C . prior to any contact with the tissue . This
solution or a surfactant solution ( e . g ., Tween® 80 with or 65 lessens the potential for untoward or undesirable reactions to
without ethanol and /or formaldehyde), or a physiologic               the bioprosthetic tissue due to exposure to high free alde
solution (e.g., saline or a balanced salt solution ). The pre-        hyde concentrations and /or long term heat treatment at


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 temperatures above 60° C . It also allows for treatment of the by way of a physical barrier effect (i.e ., by retarding diffu
 tissue within realistic manufacturing time frames.               sion at the boundary layer ) and /orby chemically modifying
    Still further in accordance with this invention , themethod the structure and the surface charge of the tissue and thus its
of preheating the solution , and/or heating the tissue , offer    affinity to attract calcium ions . Heat-treated glutaraldehyde
better sterilization of both the solution and the tissue at the 5 can also be used to enhance sterilization by leaving the tissue
 different stages of the manufacturing process, including the in the heat- treated glutaraldehyde or by heating the tissue
 terminal stage. Further aspects and advantages of the present within the previously heat treated glutaraldehyde solution to
invention will become apparent to those skilled in the temperatures between about 37° C . and 60° C .
relevant art, upon reading and understanding the “ Descrip -       A . General Method for Mitigating Calcification of Bio
tion of Exemplary Embodiments ” set forth herebelow .        10 prosthetic Material
                                                                   FIG . 1 is a flow diagram that generally illustrates one
       BRIEF DESCRIPTION OF THE DRAWINGS                        embodiment of the method of the present invention . As
                                                                shown in FIG . 1 , the first step of the process is to heat treat
   FIG . 1 is a flow diagram of one embodiment of the           glutaraldehyde solution in the absence of tissue . It will be
method for mitigating calcification of a bioprosthetic mate - 15 appreciated that the concentration of glutaraldehyde in the
rial, in accordance with the present invention .                 starting solution may be varied . Thereafter, the solution
   FIG . 2 is a flow diagram of another embodiment of the                  concentration may be adjusted , if desired , prior to addition
method for preparing a bioprosthetic device in accordance                  of the tissue . It is believed that glutaraldehyde concentra
with the method of the present invention .                                 tions of as little as 0 . 1 % and as much as 25 % or more may
                                                                        20 be used during the heat- treating step . Reduced glutaralde
          DESCRIPTION OF THE EXEMPLARY                                     hyde concentrations of 0 .6 % to 2 . 5 % have , to date , been
                    EMBODIMENTS                                            successfully obtained and used by Applicant, and those
                                                                           skilled in the art will recognize that higher or lower con
   The following examples are provided for the purpose of                  centrations of glutaraldehyde may indeed prove to be advan
describing and illustrating a few exemplary embodiments of 25 tageous during the heat -treating step of the process . The
the invention only . One skilled in the art will recognize that preferred concentration for use during the heat -treating step
other embodiments of the invention are possible , but are not              (FIG . 1 ) is 1 .0 - 2 . 0 % . This heat -treating of the glutaralde
described in detail here. Thus, these examples are not                     hyde may be accomplished by heating of the solution until
intended to limit the scope of the invention in any way.                   the free aldehyde content of the solution has fallen about
   It has previously been reported that cross - linked biopros - 30 25 % or more and remains stable at that level ( e .g ., a solution
thetic tissue post-treated in 0 .625 % glutaraldehyde phos -        of 1 . 8 % falls to about 0 .6 % or less ). Initially , the solution
phate solution for 2 months at 50° C ., with fluid movement containing glutaraldehyde may be buffered to a pH of 7 .4
( e . g ., shaking ), exhibited less calcification in the rat subcu -      with a phosphate buffer , a non -phosphate buffer such as a
taneous and rabbit intramuscular implant models than con -                 HEPES buffer, or other suitable buffered solutions , and , in
trol cross - linked bioprosthetic tissue fixed in 0 .625 % glut- 35 such cases , heating of the solution to cause the free aldehyde
araldehyde phosphate solution under typical conditions (Le.,               content to fall will also cause the pH of the solution to fall .
room temperature for 1 - 14 days ). See 66 Ann . Thoracic                  In another embodiment of the present invention , rather than
Surgery 264 - 6 (1998 ). Tissues treated under these conditions            heat treating the glutaraldehyde solution , the pH may be
exhibited a characteristic tan to brown appearance . The                   adjusted from 7 .4 to a pH within the range of about 5 .0 to
heated 0 .625 % glutaraldehyde phosphate solution also dark - 40 7 .0 , preferably 6 .0 .
ened to an amber -brown color and the aldehyde concentra                      The heat -treating of the glutaraldehyde may be accom
tion within that solution dropped to about 0 . 3 % .                       plished by any suitable means. In this example , the glutar
   Since the above publication , the Applicant has discovered              aldehyde is pre -heated to and maintained at a temperature
that it is advantageous to conduct the heating step on the                 between about 20 - 90° C ., preferably between about 60°
glutaraldehyde solution prior to its contact with the tissue . 45 C . - 80° C ., and most preferably 70° C . - 5° C . for a sufficient
The heat-treated glutaraldehyde may then be cooled to a                    period of time to cause the free aldehyde concentration to
lower temperature and the tissue may then be added to the                  decrease by at least 25 % and to stabilize at a pH of
cooled glutaraldehyde solution under conditions of reduced       approximately 6 . 0 (i. e ., the pH of 6 . 0 corresponds to a free
severity, greater convenience, or both ( e. g ., shorter time,   aldehyde concentration of about 0 .3 - 0 .7 % ). Depending on
lower temperature , or both ). By heat-treating the glutaral- 50 the temperature used , the step of heat treating the glutaral
dehyde solution in the absence of the tissue , higher tem - dehyde may take anywhere from one hour to six months or
peratures, concentrations or both can be used during the                  more depending on the temperature used . The preferred
heat -treating process without risking or causing any adverse              method is to heat the glutaraldehyde solution to approxi
effect on the tissue. In another embodiment, the glutaralde                mately 70° C . - 5° C ., for approximately 1 day to 2 months
hyde solution can be buffered by adjusting the pH of the 55 or until the desired fall of at least 25 % or more in free
solution to within a range of about 5 .0 to 7 .0 , preferably aldehyde concentration and a pH of approximately 6 .0 , are
about 6 . 0 . Applicants have found that the buffered glutaral- observed .
dehyde solution has a similar, although slightly less , advan     After the heat- treatment of the glutaraldehyde has been
tageous effect as the heat-treated glutaraldehyde solution   completed the solution is cooled to a second temperature
   The mechanism by which the heat-treated glutaraldehyde 60 that does not cause damage to the tissue (e . g ., about 30° C .
mitigates post - implantation calcification is not presently               to 70° C ., preferably about 40° C . to 60° C ., or most
known with certainty . However , Applicants postulate that                 preferably at about SO° C .). An unfixed , partially - fixed , or
this calcification mitigating effect is due at least in part to the        fixed tissue is then contacted with the heat- treated glutaral
leaching of lipoproteins and calcium binding proteins and in    dehyde . Tissue that has been “ fully fixed ” in this regard
part to the formation of a calcification mitigating chemical 65 means that the tissue has been fixed to an extent suitable for
or moiety within the glutaraldehyde solution that acts to                  use as an implant, while " partially fixed ” means that the
limit or inhibit the fixation of calcium into the tissue, either           tissue has been fixed to some extent short of being fully



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 fixed . This tissue treatment step is preferably accomplished         Optional Neutralization of pH of Heat- Treated Glutaral
by immersing fixed , partially fixed or unfixed tissue in the dehyde Solution
heat- treated glutaraldehyde solution while maintaining the             After the glutaraldehyde has been heat -treated , the solu
 solution at about 30° C . to 70° C ., preferably about 40°bleC . 5 tion    is allowed to cool to about SO° C . and its pH may be
                                                                    aadjusted atbuffered
to 60° C ., ormost preferably at about 50° C . It is preferable 5 phosphate         step 24 back to approximately 7 .4 by adding
                                                                                           saline or some other suitable buffer.
that the pH of the solution be left at about 6 .0 prior to              2 . Harvesting , Preparation and Fixation of Tissue:
placement of the tissue within the solution . Thereafter, the          Harvesting /Preparation of Biological Tissue
temperature of the solution is maintained at approximately              The desired biological tissue is harvested from a human
50° C . with the tissue immersed in the solution to allow the        cadaver or animal donor , and prepared for subsequent fixa
heat-treated glutaraldehyde solution to interact with or t ion and treatment. The tissue is typically harvested by
modify the tissue. The tissue' s susceptibility to post-implant surgical cutting or removal from its host animal. Thereafter,
calcification will be significantly reduced after immersion            it is typically trimmed or cut to size and washed with sterile
for as little as one hour to as much as six months or more        water , basic salt solution , saline or other suitable washing
( depending primarily on the temperature used ), but typically 18 solution .
occurs within 1 to 15 days at 50° C .                             15      Fixation of Biological Tissue
   In another embodiment of the method of the present                      The biological tissuemay be fixed prior to , during or after
                                                                       its treatment with the heat- treated glutaraldehyde. In this
invention , the tissue may be heat treated in a surfactant             example , the tissue is fixed prior to undergoing the treatment
solution (e . g ., Tween® 80 with or without ethanol and / or          with heat- treated glutaraldehyde . This fixation is carried out
formaldehyde ) or in a physiologic solution (e .g . saline or a 20 by immersing the tissue in a solution of 0 .625 % by weight
balanced salt solution ) at a temperature between about 37°            glutaraldehyde buffered to a pH of approximately 7 .4 by a
C . and 60° C ., preferably about 45° C ., for about one hour          suitable buffer such as a phosphate buffer, for 1 - 14 days at
to six months, preferably about one to 15 days,and then heat           ambient temperature . In order to enhance fixation or steril
treated in a glutaraldehyde solution as described above .            ization other chemical compounds such as surfactants (e.g .
    Prior to , concurrently with or after the tissue treatment+ 2525 added
                                                                     Tween® 80 ) and /or ethanol and / or formaldehyde can be
                                                                             to the glutaraldehyde . It will be appreciated , however ,
 step , the tissue may be cryopreserved or otherwise pre that various               other fixatives may be used , such as aldehydes
served , i.e. by fixation .                                          (e .g., formaldehyde , glutaraldehyde , dialdehyde starch ) or
    B . An Example of a Method for Manufacturing a Fixed polyglycidyl ethers ( e. g ., Denacol 810 ), or heterologous
Heterologous Heart Valve Bioprosthesis Having Mitigated 30 bifunctional or multifunctional crosslinkers.
Propensity for Post -Implantation Calcification                         Rinsing of Tissue
    FIG . 2 is a flow diagram of a specific process for            After it has been removed from the fixative solution , the
manufacturing a bioprosthetic device, such as a stented or tissue is thoroughly rinsed with saline solution , basic salt
stentless porcine heart valve or bovine pericardial heart solution or free glutaraldehyde solution or some other suit
 valve of the type referred to herein . The following is a zs35 able3 . washing  solution .
                                                                         Treatment of Tissue with Heat- Treated Glutaraldehyde
description of the exemplary process shown in FIG . 2 .                to Mitigate Post- Implantation Calcification :
   1. Heat - Treating of Glutaraldehyde                                   Immersion of Tissue in Heat- Treated Glutaraldehyde
   Prepare Glutaraldehyde Solution                                     Solution
   Initially, an aqueous solution of 1. 8 % by weight glutar -            After the fixed tissue has been rinsed , it is treated with the
aldehyde is prepared in a clean , inert vessel (e. g., a vessel 40 pre -heat treated glutaraldehyde solution . The pre -heat
made of stainless steel, plastic or borosilicate glass ) and such treated glutaraldehyde solution is placed in a vessel such as
solution is then buffered to the pH of approximately 7 . 4 by          a stainless steel bath , cooled to and maintained at preferably
adding phosphate buffered saline solution .                            50° C . - 5° C . The fixed /rinsed tissue is then immersed in the
   Preheat Glutaraldehyde Solution in Absence of Tissue                heat-treated glutaraldehyde solution and the solution is
   The glutaraldehyde in the solution is then preheated . Such 45 continually maintained at 50° C . - 5° C . with the tissue
preheating of the glutaraldehyde is accomplished by heating immersed in the solution with or without fluid movement.
of the solution to about 70° C .: SoC and maintaining such The tissue's susceptibility to post- implant calcification will
temperature until the pH of the solution falls to approxi be significantly reduced after immersion for as little as one
mately 6 .0 . At this point, the color of the solution can be hour to as much as six months or more (depending primarily
 colorless to golden or brown . The fall of the solution pH to 50 on the temperature used ), but typically occurs within 6 to 8
6 .0 and the accompanying change in color to golden or solution   days at 50° C . - 5º . Thereafter, the tissue is removed from the
brown indicates that the preheating treatment has been                      . The tissue is typically brown in color at this time.
                                                                     Rinsing of Tissue
completed . This preheating step is typically completed after        After it has been removed from the heat-treated glutaral
 1- 14 days , preferably 6 - 8 days, ofmaintaining the solution
at the 70° C .- 5° C . temperature . Higher temperatures rang 55 dehyde      solution , the tissue is thoroughly rinsed with saline
                                                                  solution , basic salt solution or some other suitable washing
ing up to approximately 90° C . may be used , and the use of solution .
such higher temperatures will typically speed the desired fall       4 . Poststerilization , Assembly / Fabrication and Storage of
in free aldehyde concentration and accompanying change in             Bioprosthesis
pH ( e . g., a solution having a starting pH adjusted to 7 . 4 will 60 First Bioburden Reduction (BREP I)
fall to a pH of about6 .0 after approximately 1 -3 days at 90°            After the tissue has been fixed , treated with the heat
C .). Lower temperatures, ranging downward to approxi -                treated glutaraldehyde and rinsed , it is subjected to a first
mately 20° C ., may also be used , and the use of such lower           bioburden reduction treatment immersed in or otherwise
temperatures will typically cause the desired free aldehyde            contacted with a mixture containing i) a crosslinking agent,
content and pH changes to take longer. After the heat 65 ii) a denaturing agent and iii ) a surfactant (i.e ., a CDS
treatment of the solution has been carried out the solution is         solution ). One preferred CDS solution (described in U .S .
filtered .                                                             Pat. No . 4 , 885 , 005 and U .S . Pat. No . 4 ,648 , 881) is a mixture



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of i) formaldehyde , ii ) ethanol and ii ) surfactant (e .g.,        the tissue may be further trimmed or shaped (if necessary )
Tween® 80 surfactant, available from ICI Americas, Brant             and attached to or assembled with any non - biological com
ford , Ontario ). Such preferred CDS solution may also be ponents (e .g ., stents , frames, suture rings, conduits , seg
referred to by the acronym “ FETS ” and has a preferred ments of polyester mesh to prevent suture tear -through , etc .)
formulation as follows:                                  5 to form the desired bioprosthetic device . Examples of bio
   Formaldehyde 4 .0 . 1 .0 .4 % by weight                 prosthetic devices that are assembled of both biological
   Ethanol 22.0 . 1 . 2 . 2 % by weight                          tissue and non -biological components include stented por
   Tween® 80 1 .2 . . 0 . 2 % by weight                          cine bioprosthetic heart valves (e . g ., the Carpentier - Ed
   The tissue is preferably immersed in the CDS solution for wards® Bioprosthesis ), and bovine pericardial heart valves
2 hours to 7 days and typically about 2 hours . During this 10 (e . g ., Carpentier-Edwards® Pericardial Bioprosthesis ),
immersion period , the CDS solution is maintained at a           stentless porcine aortic valves that incorporate fabric rein
temperature of 4 - 50° C ., and preferably at about 20 - 37° C . forcements ( e. g ., Edwards PRIMA Plus® Stentless Aortic
   Those skilled in the art will appreciate that various         Bioprosthesis ), and conduit valves for bio -mechanical ven
alternative chemical compounds or solutions may be sub - tricular assist devices ( e. g ., the Novacor N - 100PC model),
stituted for each component of the CDS solution , as follows: 15 all available from Edwards Lifesciences LLC , Irvine , Calif.
   Potential Alternative Crosslinking Agents:                        Second Bioburden Reduction (BREP II )
    A . Aldehydes : formaldehyde , glutaraldehyde , paraform -       After the bioprosthesis has been fabricated and assembled
aldehyde , glyceraldehyde , glyoxal acetaldehyde or acrolein      it is subjected to a second bioburden reduction that is
   B . Epoxides : any of the various Denacols and their           essentially a repeat of the first bioburden reduction described
 individual reactive species, including mono , di, tri, and 20 above, however , in this second bioburden reduction step , the
multi- functionalized epoxides                                    solution is preferably maintained at about 37° C . for
    C . Carbodiimides                                             approximately 2 hours to 10 days , preferably about 9 hours.
    D . Mixed multifunctional molecules (e.g. aldehyde -epox         Terminal Heating and Storage
ide combination )                                                    After completion of the second bioburden reduction , the
    Potential Alternative Denaturing Agents :                  25 tissue (or bioprosthesis ) is rinsed with a suitable rinsing
   A . Alcohols /Solvents : e. g ., ethanol, isopropyl alcohol       solution ( such as isotonic saline or 0 .625 % glutaraldehyde
   B . Acidified Ethers : e . g ., sulfuric acid / ether mixture ,   solution ) and then ” placed in a terminal solution for storage
acetone, ethers of small alkyl size (methyl, ethyl, etc. but and sterilization . The preferred terminal solution is a glut
probably not beyond butyl)                                            araldehyde solution having a concentration of about 0 .2 to
   C . Ketones : e .g., methyl ethyl ketone (MEK )                 30 1 .0 % by weight glutaraldehyde , and most preferably about
   D . Commercial Solvent Systems: e .g ., GenesolveTM (Al- 0 .625 % by weight glutaraldehyde . This solution has a strong
lied Signal, Inc ., Morristown , N . J.)                              sterilizing effect that can be enhanced by a terminal heating
   E . Glycols : glycerol ethylene glycol, polyethylene glycol, of the solution .
low molecular weight carbowax                                             In this terminal sterilization step , the tissue (or biopros
   F. Chaotropic Agents : e. g ., urea , guanidine hydrochloride , 35 thesis ) is immersed in or contacted with the terminal solu
guanidine thiocyanate , potassium iodide                              tion and heated for a period of time sufficient to ensure
   G . High Concentration Salt Solutions : e . g ., lithium chlo     sterility of the bioprosthesis until the time of implantation .
ride , sodium chloride, cesium chloride .                            The period of heating varies depending upon the tempera
   Potential Alternative Surfactants:                          ture utilized , i.e., the lower the temperature the longer the
   ( these surfactant compounds can be used individually or 40 period of time. For example , from 1 or 2 hours to 1 month
in mixtures such as deoxycholate / Triton or commercially      for temperatures between about 50° C . and 20° C ., respec
available mixtures such as Micro - 80 / 90 .)                  tively . Preferably , the period of time is 1 to 6 days at 37° C .
   A . Anionic Surfactants: e. g., esters of lauric acid , includ    or 6 hours to 2 days at 50° C ., but one of skill in the art will
ing but not limited to sodium laurel sulfate (also called            recognize that these temperature or time values can be
sodium dodecyl sulfate )                                          45 modified within the scope of the invention .
   B . Alkyl sulfonic acid salts : e .g., 1 -decanesulfonic acid        In order to avoid additional transfer and manipulation, the
sodium salt                                                          terminal heating is preferably carried out in the sealed
   C . Non -ionic compounds: e . g ., compounds based on the         storage container or package in which the bioprosthesis will
polyoxyethylene ether structures, including Triton X - 100 ,         be shipped and stored until the time of implantation . The
114 , 405 , N - 101 (available commercially from Sigma 50 tissue (or bioprosthesis ) is aseptically deposited in the
Chemical , St. Louis , Mo. ) and related structures; Pluronic        storage container that has been pre - filled with the 0 .625 %
and Tetronic surfactants ( available commercially from               glutaraldehyde aqueous solution buffered to a pH of 7 .4 with
BASF Chemicals, Mount Olive, N .J.)                                sodium hydroxide, such that the tissue (or bioprosthesis ) is
   D . Alkylated Phenoxypolyethoxy Alcohols : e. g., NP40 , fully immersed in the buffered glutaraldehyde solution .
Nonidet P40 , Igepal, CA630 ,hydrolyzedlfunctionalized ani- 55 Thereafter, the container is sealed and placed at room
mal and plant compounds including Tween® 80 , Tween® temperature for at least 7 days, or in an oven at 37° C . for
20 , octyl- derivatives, octyl b - glucoside, octyl bthioglucopy - 24 hours, or at 50° C . for 6 hours to enhance the sterilization
ranoside, deoxycholate and derivatives thereof, zwitterionic power of glutaraldehyde . Thereafter , the container is cooled
compounds, 3 -( [cholamidopropyl] -dimethyl amino )- 1 -pro - to room temperature and shipped to the hospital or other
panesulfonate (CHAPS), 3 - ([cholamidopropyl]-dimethyl 60 location( s ) where it is stored until the time of use of the
amino )- 2-hydroxy- 1-propanesulfonat -e (CHAPSO ) (avail            bioprosthesis .
able from Pierce Biotec Company, Rockford , 111 .).                     In another embodiment, the terminal heating is carried out
   Fabrication /Assembly                                         before placing the tissue or bioprosthesis in the storage
   After the first bioburden reduction has been completed , container .
the tissue maybe again rinsed with a suitable rinsing solution 65 In some cases, glutaraldehyde that has been heat- treated
such as isotonic saline or 0 .625 % glutaraldehyde and trans -   in accordance with this invention may be used as the
ported into a clean room or aseptic environment. Thereafter, terminal solution and, in such cases , it may be possible to


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shorten or completely eliminate the previous step of immers         tissue in a solution of formaldehyde, ethanol and polyoxy
ing the tissue in previously heat - treated glutaraldehyde ,        ethylene sorbitan monooleate .
opting instead to accomplish someor all of the treatment of            9. The method of claim 6, wherein the first bioburden
the tissue by heat-treated glutaraldehyde until the last step of reduction treatment is performed before the assembling .
storage, i.e., concurrently with the terminal sterilization step . 5 10 . The method of claim 9 , further comprising subjecting
   While the foregoing is a complete description of the implantable                  hionrosthes to a second bioburden reduction
                                                                      implantable bioprosthesis
preferred embodiments of the invention , various alterna              treatment    before the packaging.
tives , modifications, and equivalents may be used . More                 11 . The method of claim 10 , wherein the second biobur
over, it will be obvious that certain other modifications may
be practiced within the scope of the appended claims.may "10 den            reduction treatment comprises immersing the biological
                                                                      tissue with a mixture comprising one or more of a cross
   What is claimed is :
   1 . A method for mitigating post-implantation calcification linking    12 .
                                                                                agent, a denaturing agent and a surfactant.
                                                                               The method of claim 10 , wherein the second biobur
of a bioprosthetic implant material comprising :
   heating a glutaraldehyde solution to a temperature of den               reduction treatment comprises immersing the biological
      about 70° C . + / - 5° C . for about 6 -8 days ;             15 tissue
                                                                         S in a solution of formaldehyde, ethanol and polyoxy
   immersing a biological tissue in the glutaraldehyde solu -         ethylene sorbitan monooleate .
      tion after the heating ;                                    13 . The method of claim 12 , wherein the second biobur
  assembling an implantable bioprosthesis using the bio - den reduction treatment solution is maintained at 37° C . for
     logical tissue after the immersing;                       approximately 2 hours to 10 days .
  packaging the implantable bioprosthesis in a sealed pack - 2014 . The method of claim 1 , wherein the terminal steril
     age ; and                                                 ization process uses a terminal sterilization solution .
  subjecting the packaged implantable bioprosthesis to a          15 . The method of claim 14 , wherein the terminal steril
     terminal sterilization process .                          ization solution is a glutaraldehyde solution having a con
  2 . The method of claim 1, wherein the biological tissue is centration of about 0 .2 to 1.0 % by weight glutaraldehyde .
unfixed prior to being immersed in the glutaraldehyde 25               16 . The method of claim 14 , wherein the terminal steril
solution .                                                      ization solution is heated to a temperature of between 20° to
   3 . The method of claim 1 , wherein the biological tissue is 50° C . for 1 or 2 hours to 1 month .
fixed or partially - fixed before being immersed in the glut-      17 . The method of claim 14 . wherein the terminal steril
araldehyde solution .                                           ization solution is heated to a temperature of 37° C . for 1 to
   4 . The method of claim 1, wherein the glutaraldehyde 30
solution is heated until a free aldehyde concentration of the         18 . The method of claim 14 , wherein the terminal steril
glutaraldehyde solution decreases by at least 25 % .
   5 . The method of claim 1, wherein the glutaraldehyde 6ization           solution is heated to a temperature of about 50° C . for
                                                                     hours to 2 days.
solution is heated until a pH of the glutaraldehyde solution
is approximately 6 .0 .                                        35 . 19the. The method of claim 1 , further comprising maintain
   6 . The method of claim 1 , further comprising subjecting ing            glutaraldehyde solution in which the biological tissue
                                                                  is immersed at a temperature of about 30° C . to about 70° C .
the biological tissue to a first bioburden reduction treatment. for    about 1 hour to 6 months .
   7 . The method of claim 6 , wherein the first bioburden
reduction treatment comprises immersing the biological ing the. The   20       method of claim 5 , further comprising maintain
                                                                            glutaraldehyde solution in which the biological tissue
tissue in a mixture comprising one or more of a crosslinking 40 is. immersed      at a temperature of about 50° C . for about 7 to
agent, a denaturing agent and a surfactant.                        10  days  .
   8 . The method of claim 6 , wherein the first bioburden
reduction treatment comprises immersing the biological                                     *    *   *      *




                                                         Appx207
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                          CERTIFICATE OF SERVICE

      The undersigned counsel hereby certifies that on October 18, 2022, the

foregoing CORRECTED OPENING BRIEF AND ADDENDUM OF

APPELANTS         EDWARDS         LIFESCIENCES          CORPORATION          AND

EDWARDS LIFESCIENCES LLC was filed using the Court’s CM/ECF system,

which will send notice of such filing to all registered CM/ECF users..



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                                  Edwards Lifesciences LLC
              Case: 22-1877   Document: 27   Page: 212   Filed: 11/07/2022



                     CERTIFICATE OF COMPLIANCE
            UNDER FEDERAL RULES OF APPELLATE PROCEDURE
                 32(a)(7) AND FEDERAL CIRCUIT RULE 32

           Counsel for Appellants Edwards Lifesciences Corporation and Edwards

Lifesciences LLC certifies that the brief contained herein has a proportionally

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